Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 1 of 190
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

JS 44 (Rev. 02/19)

provided by local rules of court. This form, approved by the Judicial Conference of the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

nited States in September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS
TERRY BETHMAN

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

JAMES J. MCELDREW

MCELDREW YOUNG, 123 SOUTH BROAD STREET, SUITE 2250,
PHILADELPHIA, PA 19109, PHONE: (215)-545-8800

DEFENDANTS

NOTE:

Attorneys (if Known)

 

County of Residence of First Listed Defendant

SEE ATTACHMENT

SEE ATTACHED LIST

(IN U.S. PLAINTIFF CASES ONLY)

SEE ATTACHMENT

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

Wl. BASIS OF JURISDICTION (Place an “X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government 13 Federal Question On a PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State I (3 1 Incorporated or Principal Place 04 oO4
of Business In This State
0 2. US. Government a 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 an
Defendant (indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O03 © 3. Foreign Nation O06 O6
Foreign Country ‘ ‘
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
CONTRACT. fe TORTS ee _ -FORFEITURE/PENALTY. — |. 2 BANKRUPTCY = 2] OTHER STATUTES

    

 

  

 

     
   

 

G 375 False Claims Act

 

 

 

 

 

110 Insurance PERSONAL INJURY PERSONAL INJURY  |0 625 Drug Related Seizure 422 Appeal 28 USC 158
© 120 Marine 0 310 Airplane 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal O 376 Qui Tam (31 USC
G 130 Miller Act © 315 Airplane Product Product Liability OD 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability O 367 Health Care/ © 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical : REY RIGHTS | 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (1 820 Copyrights O 430 Banks and Banking
G 151 Medicare Act © 330 Federal Employers’ Product Liability G 830 Patent 450 Commerce
O 152 Recovery of Defaulted Liability ( 368 Asbestos Personal (1 835 Patent - Abbreviated GO 460 Deportation
Student Loans (7 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) CF 345 Marine Product Liability © 840 Trademark Corrupt Organizations
G 153 Recovery of Overpayment Liability PERSONAL PROPERTY [2 = EABOR = SOCIAL SECURITY: =} 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle 0 370 Other Fraud O 710 Fair Labor Standards OG 861 HIA (1395ff/) 0 485 Telephone Consumer
O 160 Stockholders’ Suits © 355 Motor Vehicle C1 371 Truth in Lending Act O 862 Black Lung (923) Protection Act
© 190 Other Contract Product Liability © 380 Other Personal 0 720 Labor/Management J 863 DIWC/DIWW (405(g)) [0 490 Cable/Sat TV
195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI O 850 Securities/Commodities/
0 196 Franchise injury 1 385 Property Damage D 740 Railway Labor Act 0 865 RSI (405(g)) Exchange
0 362 Personal Injury - Product Liability O 751 Family and Medical G 890 Other Statutory Actions
_Medical Malpractice . Leave Act O 891 Agricultural Acts
| REAL PROPERTY = | CIVIL: RIGHTS. |) PRISONER PETITIONS © |0) 790 Other Labor Litigation =: FEDERAL TAX:SUITS: || 893 Environmental Matters
OG 210 Land Condemnation CI 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement -]|0 870 Taxes (U.S. Plaintiff 1 895 Freedom of Information
O 220 Foreclosure C441 Voting 0 463 Alien Detainee Income Security Act or Defendant) Act
1 230 Rent Lease & Ejectment 1 442 Employment 1 510 Motions to Vacate O 871 IRS—Third Party 0 896 Arbitration
O 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 0 899 Administrative Procedure
© 245 Tort Product Liability Accommodations 530 General Act/Review or Appeal of
© 290 All Other Real Property 1 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: G 462 Naturalization Application 0D 950 Constitutionality of
1) 446 Amer. w/Disabilities -| 540 Mandamus & Other [0 465 Other Immigration State Statutes
Other 0 550 Civil Rights Actions
© 448 Education 1 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X”" in One Box Only)

O11 Original Ko Removed from O 3  Remanded from O 4 Reinstated or © 5 Transferred from © 6 Multidistrict 0 8 Multidistrict

 

Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Cea inger ghee are filing (Do not cite jurisdigng siqtutes unless diversity):
pe) (J: S.C See hur | on

 

VI. CAUSE OF ACTION

Brief description of cause:
fi APMC ow (

 

6 XDISUAZL Product Lice bility

 

 

 

 

 

VIL. REQUESTED IN 1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes (No
VIL RELATED CASE(S)
IF ANY (See instructions): JUDGE . DOCKET NUMBER
e
DATE Le la
10/41/2019 A EF Kz. Co bY ) CL~__-
FOR OFFICE USE ONLY ~
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 2 of 190

COMPLETE LIST OF DEFENDANTS:

1.

10.

ii.

12.

13.

14.

15.

16.

17.

18.

19.

20.

21.

BELL FLAVORS AND FRAGRANCES, INC
500 ACADEMY DRIVE
NORTHBROOK IL 60062
FIRST CHOICE INGREDIENTS, INC.
C/O THOMAS J. ATKINSON N112 W. 19528 MEQUON ROAD
GERMANTOWN WI 53022
THERMO FISHER SCIENTIFIC, INC
1601 CHERRY STREET
PHILADELPHIA PA 19102
GIVAUDAN FLAVORS CORPORATION
CT CORPORATION SYSTEM 4400 EASTON COMMONS WAY SUITE 125
COLUMBUS OH 43219
INTERNATIONAL FLAVORS AND FRAGRANCES, INC.
2595 INTERSTATE DRIVE SUITE 103
HARRISBURG PA 17110
KERRY, INC.
C/O CT CORPORATION 116 PINE STREET SUITE 320
HARRISBURG PA 17101
KRAFT HEINZ INGREDIENTS CORPORATION
C/O CT CORPORATION 2001 MARKET STREET 5TH FLOOR
PHILADELPHIA PA 19103
MCCORMICK AND COMPANY, INC.
C/O CSC-LAWYER INCORPORATING SERVICE COMPANY 7 ST. PAUL ST., SUITE 820
BALTIMORE MD 21202
ROHA U.S.A., L.L.C
C/O SPENSERV, INC. 1 N. BRENTWOOD BLVD. SUITE 1000
ST. LOUIS MO 63105
SENSIENT COLORS LLC
C/O CT CORPORATION SYSTEM 301 S. BEDORD STREET SUITE 1
MADISON WI 53703
SENSIENT TECHNOLOGIES CORPORATION
C/O CT CORPORATION 2001 MARKET STREET 5TH FLOOR
PHILADELPHIA PA 19103
UNIVAR USA, INC.
C/O CT CORPORATION SYSTEMS 116 PINE STREET SUITE 320
HARRISBURG PA 17101
BERJE, INC.
C/O KIM BLEIMANN 700 BLAIR ROAD
CARTERET NJ 07008
CITRUS & ALLIED ESSENCES, LTD
65 S. TYSON AVENUE
FLORAL PARK NY 11001
ELAN CHEMICAL CO. INC.
C/O JOCELYN MANSHIP 268 DOREMUS AVENUE
NEWARK NJ 07105
O'LAUGHLIN INDUSTRIES
150 MORRIS AVENUE SUITE 207
SPRINGFIELD NJ 07081
PHOENIX AROMAS AND ESSENTIAL OILS HOLDINGS, INC.
17 ALGONQUIN CIRCLE
AIRMONT NY 10952-5231
EMORAL, INC. F/K/A POLAROME INTERNATIONAL, INC.
200 THEODORE CONRAD DRIVE
JERSEY CITY NJ 07305
CENTROME, INC.
ALIAS: ADVANCED BIOTECH
10 TAFT ROAD
TOTOWA NJ 07512
FLAVOR CONSULTANTS, INC.
2875 COLEMAN STREET
NORTH LAS VEGAS NV 89032
PENTA INTERNATIONAL CORPORATION
C/O GRACE VOLPE 50 OKNER PARKWAY
22.

23.

24.

25.

Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 3 of 190

LIVINGSTON NJ 07039

JOHN DOES 1-10
UNKNOWN

UNKNOWN PA 19109
JANE DOES 1-10
UNKNOWN

UNKNOWN PA 19109
ABC PARTNERSHIPS 1-10
UNKNOWN

UNKNOWN PA 19109
XYZ CORPORATIONS/BUSINESS ENTITIES 1-10
UNKNOWN

UNKNOWN PA 19109
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 4 of 190

Attachment List of Known Attorneys

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Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19

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Philadelphia, PA 19102

Attorneys for Defendants

Sensient Colors LLC and

Sensient Technologies Corporation

Page 5 of 190
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 6 of 190

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Sensient Technologies Corporation

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Cincinnati, OH 45202
Attorneys for Defendant
Givaudan Flavors Corporation
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 7 of 190

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

TERRY BETHMAN
CIVIL ACTION

Plaintiff,

Vv.
BELL FLAVORS AND FRAGRANCES,

INC., ef al. ; NO .
Defendants.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for '
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (_ )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases.) (x)
(f) Standard Management — Cases that 3 not fall into any one of the other tracks. =)
i
Yu)

10/11/2019 “f, Y) I~ Thermo Fisher Scientific, Inc.
Date ~ Uttorney-at-law Attorney for

215-864-9600 215-523-9708 smedina@conradobrien.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 8 of 190
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff 1139 W. Front Street, Berwick, PA 18603

 

Address of Defendant: See attached list

 

Place of Accident, Incident or Transaction: Be RK ewce ie p, i.

 

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions: . “en
1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No ro

previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No Be
pending or within one year previously terminated action in this court? JL
3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No [4
numbered case pending or within one year previously terminated action of this court? “
oo
. : : ways wen
4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No [<4

case filed by the same individual?

I certify that, to my knowledge, the within case [2 is / ys not rel Oe to any case now pending or within one year previously terminated action in
this court except as noted above.

oare, 10/11/2019 Lb se Mk 318990

Attorney-at-Law / Pra Se Plainafy Attorney 1D. # (if applicable)

 

 

CIVIL: (Place a \ in one category only)

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
| 1. Indemnity Contract, Marine Contract, and All Other Contracts CO 1. Insurance Contract and Other Contracts
[] 2. FELA [J] 2. Airplane Personal Injury
C1] 3. Jones Act-Personal Injury (] 3. Assault, Defamation
L] 4. Antitrust Cl 4. Marine Personal Injury
H 5. Patent [] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations C] 6. Other Personal Injury (Please specify):
Cl 7. Civil Rights 7. Products Liability
EJ 8. Habeas Corpus LI 8. Products Liability — Asbestos
H 9. Securities Act(s) Cases LJ 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, G be yer A * Med (A4— __, counsel of record or pro se plaintiff, do hereby certify:
a

[7 Porsuan to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

“
[ | Relief other than monetary damages is sought. fo :
fo,

DATE: io [re [149

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

ZI¥ GTO

tf Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

Civ. 609 (5/2018)

 
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 9 of 190
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff 1139 W. Front Street, Berwick, PA 18603

 

Address of Defendant: See attached list

 

Place of Accident, Incident or Transaction: Be RK ewce ie p, i.

 

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions: . “en
1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No ro

previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No Be
pending or within one year previously terminated action in this court? JL
3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No [4
numbered case pending or within one year previously terminated action of this court? “
oo
. : : ways wen
4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No [<4

case filed by the same individual?

I certify that, to my knowledge, the within case [2 is / ys not rel Oe to any case now pending or within one year previously terminated action in
this court except as noted above.

oare, 10/11/2019 Lb se Mk 318990

Attorney-at-Law / Pra Se Plainafy Attorney 1D. # (if applicable)

 

 

CIVIL: (Place a \ in one category only)

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
| 1. Indemnity Contract, Marine Contract, and All Other Contracts CO 1. Insurance Contract and Other Contracts
[] 2. FELA [J] 2. Airplane Personal Injury
C1] 3. Jones Act-Personal Injury (] 3. Assault, Defamation
L] 4. Antitrust Cl 4. Marine Personal Injury
H 5. Patent [] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations C] 6. Other Personal Injury (Please specify):
Cl 7. Civil Rights 7. Products Liability
EJ 8. Habeas Corpus LI 8. Products Liability — Asbestos
H 9. Securities Act(s) Cases LJ 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, G be yer A * Med (A4— __, counsel of record or pro se plaintiff, do hereby certify:
a

[7 Porsuan to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

“
[ | Relief other than monetary damages is sought. fo :
fo,

DATE: io [re [149

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

ZI¥ GTO

tf Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

Civ. 609 (5/2018)

 
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 10 of 190

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TERRY BETHMAN )
Plaintiff, 5
Vv. Case No,
BELL FLAVORS AND FRAGRANCES, 5
INC., et al. )
Defendants. )

DEFENDANTS’ JOINT NOTICE OF REMOVAL

PLEASE TAKE NOTICE THAT Defendants Citrus & Allied Essences, Ltd., Elan
Chemical Co., Inc., First Choice Ingredients, Inc., Givaudan Flavors Corporation, International
Flavors & Fragrances Inc., Kerry, Inc., Kraft Heinz Ingredients Corp., McCormick and
Company, Inc., Penta International Corporation, Sensient Colors LLC, Sensient Technologies
Corporation, Thermo Fisher Scientific Inc., and Univar USA Inc., (collectively, “Defendants”),
through their respective attorneys and pursuant to 28 U.S.C. § 1332, 28 U.S.C. § 1441, and 28
U.S.C. § 1446, hereby submit this Joint Notice of Removal. As grounds for removal, Defendants
state as follows:

1. On September 6, 2019, Plaintiff Terry Bethman filed a Complaint captioned Terry
Bethman v. Bell Flavors and Fragrances, Inc., et al., in the Court of Common Pleas of
Philadelphia County, State of Pennsylvania, under Case I.D. No. 190900703 (the “State Court
Action”). In accordance with 28 U.S.C. § 1446(a), attached hereto as Exhibit A is a true and
correct copy of Plaintiffs Complaint with Notice to Defend (“Complaint”). All defendants that

have appeared to date in the State Court Action consent to and jointly file this removal.
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 11 of 190

2. The Complaint alleges that Plaintiff Terry Bethman was exposed to flavoring
products containing diacetyl and acetyl propionyl manufactured and/or supplied by Defendants
and that she developed diacetyl-induced lung disease and Flavoring Related Bronchiolitis
Obliterans Syndrome (FRBOS) as a result of this alleged exposure. (Complaint {fj 2, 44-46.)

3. Pursuant to the provisions of 28 U.S.C. § 1446(a), attached hereto as Exhibit B is
a true and correct copy of all other process, pleadings, and orders served upon Defendants in this
case.

4. Plaintiff's Complaint was served on Defendant Thermo Fisher Scientific Inc. on
September 11, 2019 (See Exhibit C, Declaration of Jason H. Nash (“Nash Decl.”) dated October
10, 2019, § 4.) This removal is timely pursuant to 28 U.S.C. § 1446(b). See also Delalla v.
Hanover Ins., 660 F.3d 180, 184 (3d Cir. 2011) (joining “the majority of circuits and adopt[ing]
the later-served rule,” under which “‘each defendant get[s] his own thirty days to remove after
being served’”), quoting Destfino v. Reiswig, 630 F.3d 952, 955 (9th Cir. 2011).

5. This lawsuit is a civil action within the meaning of 28 U.S.C. §§ 1441(a) and
1446(b), which govern the removal of civil actions to the district courts of the United States. As
detailed, infra, complete diversity of citizenship exists in this case and removal is appropriate
because: (i) Plaintiff on information and belief is a citizen of Pennsylvania, and no Defendant in
this case is a citizen of Pennsylvania; and (ii) the amount in controversy exceeds the sum or
value of $75,000. This action accordingly is a civil action over which this Court has original
jurisdiction under 28 U.S.C. § 1332(a) and it is removable pursuant to 28 U.S.C. §§ 1441 (a) and

1446(b).
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 12 of 190

6.

There Is Complete Diversity Of Citizenship

Upon information and belief, Plaintiff is a citizen of Berwick, Pennsylvania.

(Complaint { 1 (“Plaintiff Terry Bethman is an adult individual that resides at 1139 W. Front

Street, Berwick, PA 18603”).)

7.

Plaintiffs Complaint names twenty-one (21) corporate entities as defendants, two

of which erroneously are alleged to be citizens of the State of Pennsylvania as a result of their

purported principal places of business: (i) Thermo Fisher Scientific Inc.; and (ii) Kraft Heinz

Ingredients Corp. (Complaint §§ 5, 9.) The other nineteen (19) named defendants are not

alleged to have any connection to, much less to be citizens of, the State of Pennsylvania:

(i.)

(ii.)

(iii)

(iv.)

(v.)

(vi.)

(vii.)

(viii.)

(ix.)

Bell Flavors and Fragrances is alleged to be an Illinois corporation with its
principal place of business in Northbrook, Illinois. (Complaint { 3.)

First Choice Ingredients, Inc. is alleged to be a Wisconsin corporation with its
principal place of business in Wisconsin. (Complaint {[ 4.)

Givuadan Flavors Corporation is alleged to be a Delaware corporation with its
principal place of business in Cincinnati, Ohio. (Complaint { 6.)

International Flavors and Fragrances, Inc. is alleged to be a New York corporation
with its principal place of business in New York, New York. (Complaint 7.)

Kerry, Inc. is alleged to be a Delaware corporation with its principal place of
business in Illinois. (Complaint § 8.)

McCormick & Company, Inc. is alleged to be a Maryland corporation with its
principal place of business in Sparks, Maryland. (Complaint § 10.)

Roha USA, Inc. is alleged to be a Missouri corporation with its principal place of
business in Missouri. (Complaint J 11.)

Sensient Colors, LLC is alleged to be a Delaware corporation with its principal
place of business in Missouri. (Complaint § 12.)

Sensient Technologies Corporation is alleged to be a Wisconsin corporation with
its principal place of business in Milwaukee, Wisconsin. (Complaint { 13.)
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 13 of 190

(x.) Univar USA, Inc. is alleged to be a Washington corporation with its principal
place of business in Redmond, Washington. (Complaint { 14.)

(xi.)  Berje, Inc. is alleged to be a New York corporation with its principal place of
business in New Jersey. (Complaint { 16.)

(xii.) Citrus and Allied Essence, LTD is alleged to be a New York corporation with its
principal place of business in New York. (Complaint { 17.)

(xiii.) Elan Chemical Co., Inc. is alleged to be a New Jersey Corporation with its
principal place of business in New Jersey. (Complaint { 18.)

(xiv.) O’Laughlin Industries is alleged to be a New Jersey Corporation with its principal
place of business in New Jersey. (Complaint { 19.)

(xv.) Phoenix Aromas and Essential Oils Holdings, Inc. is alleged to be a New York
corporation with its principal place of business in Norwood, New Jersey.
(Complaint ¥ 20.)

(xvi.) Emoral Inc., f/k/a Polarome International, Inc. is alleged to be a New York
corporation with its principal place of business in New Jersey. (Complaint { 21.)

(xvii.) Centrome, Inc. d/b/a Advanced Biotech is alleged to be a New Jersey corporation
with its principal place of business in New Jersey. (Complaint {j 22.)

(xviii.) Flavors Consultants, Inc. is alleged to be a Nevada corporation with its principal
place of business in Nevada. (Complaint { 23.) and

(xix.) Penta International Corporation is alleged to be a New Jersey corporation with its
principal place of business in New Jersey. (Complaint 24.)

8. Defendant Thermo Fisher Scientific Inc. does not maintain its principal place of
business in and is not a citizen of the State of Pennsylvania. Thermo Fisher Scientific Inc. is,
and at the time of the filing of the Complaint was, a corporation organized and existing under the
laws of the State of Delaware, with its principal place of business in Waltham, Massachusetts.
(Nash Decl. { 5); 28 U.S.C. § 1332(c)(1) (for purposes of diversity, “a corporation shall be
deemed to be a citizen of every State and foreign state by which it has been incorporated and of

the State or foreign state where it has its principal place of business”).
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 14 of 190

9, Defendant Kraft Heinz Ingredients Corp. does not maintain its principal place of
business in and is not a citizen of the State of Pennsylvania. Kraft Heinz Ingredients Corp. is,
and at the time of the filing of the Complaint was, a corporation organized and existing under the
laws of the State of Delaware, with its principal place of business in Glenview, Illinois. (See
Exhibit D, Declaration of Ernest J. Bernabei, III dated October 9, 2019, {[ 5); 28 U.S.C. §
1332(c)(1).

10. The citizenship of fictitious defendants is ignored for purposes of removal. 28
U.S.C. § 1441(b); Soliman v. Philip Morris Inc., 311 F.3d 966, 971 (9th Cir. 2002) (holding that
the inclusion of Doe defendants in a complaint did not defeat diversity jurisdiction).

11. Pursuant to 28 U.S.C. § 1332, as amended, complete diversity of citizenship
therefore exists as between all parties in this case.

The Amount In Controversy Exceeds $75,000

12. This is a complex toxic tort products liability action in which Plaintiff demands
general and special damages “in excess of $50,000,” for “respiratory injuries,” pain and
suffering, medical expenses, and lost earnings. (See e.g. Complaint §[ 61, Prayer for Relief.)

13. Counsel for Thermo Fisher Scientific Inc. has reviewed reports of verdicts and
settlements in cases in this judicial district in actions claiming injuries of the nature alleged by
Plaintiff. Based on that review and on prior litigation involving Plaintiff's claimed injury of
bronchiolitis obliterans, it is reasonably believed that if Plaintiff succeeded in proving all of the
allegations in this action, she would demand and would recover in excess of $75,000, exclusive

of interest and costs. (Nash Decl. { 6.)
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 15 of 190

14. Pursuant to 28 U.S.C. § 1446(d), Defendants promptly will provide written notice
of removal of the action to Plaintiff and will file a copy of this Notice of Removal with the Clerk
of the Court of Common Pleas of Philadelphia County, State of Pennsylvania.

WHEREFORE, the above-entitled action is hereby removed from the Court of Common
Pleas of Philadelphia County, State of Pennsylvania to the United States District Court for the

Eastern District of Pennsylvania.

Date: October 11, 2019 Respectfully Submitted,
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aly

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Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 20 of 190

CERTIFICATE OF SERVICE

I hereby certify that that a true and correct copy of the foregoing Defendants’ Joint
Notice of Removal was served upon the following counsel of record by U.S. Mail, postage
prepaid, on October 11, 2019:

James J. McEldrew, III, Esq.

McEldrew Young

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Philadelphia, PA 19109

Attorney for Plaintiff

I further certify that that a true and correct copy of the foregoing Defendants’ J oint

Notice of Removal was served by U.S. Mail, postage prepaid, on October 11, 2019, upon the

following:
Roha U.S.A., L.L.C. Centrome, Inc.
c\o Spensery, Inc. 10 Taft Road
1 N. Brentwood Blvd., Suite 1000 Totowa, NJ 07512

St. Louis, MO 63105
Phoenix Aromas and Essential Oils

Berje, Inc. Holdings, Inc.
c\o Kim Bleimann 17 Algonquin Circle
700 Blair Road Airmont, NY 10952-5231
Carteret, NJ 07008

Emoral, Inc.
Bell Flavors and Fragrances, Inc. F\K\A Polarome International, Inc.
500 Academy Drive 200 Theodore Conrad Drive
Northbrook, IL 60062 Jersey City, NJ 07305
O’ Laughlin Industries Flavor Consultants, Inc.
150 Morris Avenue, Suite 207 2875 Coleman Street

Springfield, NJ 07081 North Pas Vegas, NV 89032

 

Forney jor Dajondant T hermo Fisher
Scientific Inc.

 

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Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 21 of 190

EXHIBIT A
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 22 of 190

Court of Common Pleas of Philadelphia County
Trial Division

Civil Cover Sheet

 

 

 

DEFENDANT'S NAME

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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BERWICK PA 18-03 NORTHBROOK IL 60062
PLAINTIFF'S NAME DEFENDANT'S NAME
FIRST CHOICE INGREDIENTS, INC.
PLAINTIFF'S ADDRESS DEFENDANTS AD!
c/o THOMAS 3, ATKINSON N112 #. 219528 MEQUON
ROAD
GERMANTOWN WI 53022
PLAINTIFP'S NAME DEFENDANT'S HARE
THERMO FISHER SCIENTIFIC, INC
PLAINTIFF'S ADDRESS DEFENDANTS ADDR
1601 CHERRY P STREET
PHILADELPHIA PA 19102
TOTAL HUMBER OF PLAINTIFFS TOTAL NUMBER OF DEFENDANTS COMMENCEMENT OF ACTION
1 25 [4 Comptaint [7] Petition Action C7] Notice of Appeal
(1 writ of Summons pm] Transfer From Other Jurisdictions
AMQUNT th CONTROVERSY COURT PROGRAMS
(7) arbitration (1 Moss Ton [1 commerce (7 sentoment
TJ] $50,000.00 or tess C2) tury Savings Action Minor Court Appeal CT Minors
[4 More than ssucnt.oy =) NonJory Petition [) statutory Appeals T wvsurvival
Cther, a a _
CARE TYPE AND CODE
2P - PRODUCT LIABILITY
STATUTORY BASIS FOR CAUSE OF ACTION
RELATED PENDING CASES (LIST 8Y GASE CAPTION AND DOCKET NUMBER} FILED 18 CASE SUBJECT TO
COORDINATION ORDER?
PRO PROTHY ves Ho
A. SILIGRINI

 

 

TO THE PROTHONOTARY:

Kindly enter my appearance on behalf of Plaintifi/Petitioner/Appellant:

Papers may be strved at the address set forth below.

TERRY BETHMAN

 

 

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SIGRATURE OF FILING ATTORNEY OR PARTY
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DATE SUBMITTED
Friday, September 06, 2019, 01:56 pm

 

 

FINAL COPY (Approved by tha Prothanotary Clark)

 
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 23 of 190

COMPLETE LISt OF DEFENDANTS;

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C/O GRACE VOLPE 50 OKNER PARKWAY

 
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 24 of 190

LIVINGSTON NJ 07039

22. JOHN DOES 1-10
UNKNOWN
UNKNOWN PA 19109

23. JANE DOES 1-10
UNKNOWN
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24. ABC PARTNERSHIPS 1-10
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25. XYZ CORPORATIONS/BUSINESS ENTITIES 1-10
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UNKNOWN PA 191093

 
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 25 of 190

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ifan meeldrewyoung.c: Attorneys for Plaintiffs
TERRY BETHMAN IN THE COURT OF COMMON PLEAS
1139 W, Front Street PHILADELPHIA COUNTY
Berwick, PA 18603
Plaintiff, SEPTEMBER TERM

v. NO.:
BELL FLAVORS AND FRAGRANCES, INC. JURY TRIAL DEMANDED

.

500 Academy Drive
Northbrook, IL 60062
And
FIRST CHOICE INGREDIENTS, INC.
c/o Thomas J. Atkinson
NIL2 W 19528 Mequon Rd.
Germantown, WI 53022
And
THERMO FISHER SCIENTIFIC, INC.
1601 Cherry St.
Philadelphia, PA 19102 i
And : i
GIVAUDAN FLAVORS CORPORATION
CT Corporation System |
4400 Easton Commons Way i
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And
INTERNATIONAL FLAVORS AND
FRAGRANCES, INC.
2595 Laterstate Dr.
Suite 103
Harrisburg, PA 17110
And
KERRY, INC.
c/o CT Corporation
116 Pine Street
Suite 320
Harrisburg, PA 17101
And i
KRAFT HEINZ INGREDIENTS CORP |
c/o CT Corporation :
2001 Market Street
5 Floor
Philadelphia, PA 19103 .
And j
MCCORMICK AND COMPANY, INC.

|

 

Case 1D: 1yog0g703
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 26 of 190

 

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INTERNATIONAL, INC,

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Case ID: 190900703
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 27 of 190

 

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c/o Grace Volpe

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And

JOHN DOES 1-10

And

JANE DOES 1-10

And

ABC PARTNERSHIPS I-10

And

XYZ CORPORATIONS/BUSINESS ENTITIES 1-10
Defendants.

 

 

NOTICE TO DEFEND

 

 

 

NOTICE

You have been sued In court. If you wish to defend against the
claims set forth in the following pages, you must take action within
twenty (20) days after this complaint and notice are served, by
enterlug 2 writtes appearance persoaally or by attorney aud Nilng
in writing with the court your defenses or objections to the clalms
set forth against you. You are warned that If you fall to da sa the
case mny proceed without you and a judgment: may be entered
agaiast you by the court without further notice for any money
clalmted In the complaint of for any other claim or relief requested
by the plafntiff. You may fose money or property or other rights
Important to you.
You should take thls paper to pour lawyer at once, Ef you do not have
a lawyer or cannot afford one, go to or telephone the office set forth
below to find out where you can get legal help. |

Philadelphia Bar Association

Lawyer Referral
and Information Service
One Reading Center
Phiindelphia, Pencsylvania 19107
(235) 238-6333
TYY (15) 451-6197

 

 

AVISO

Le han demandado a usted en Jo corte, Si usted quiere defenderse
de estas demandas expuestas en as paginas siguientes, usted lene
veinte (20) diss de plazo at partir de In fecha de Is demanda y la
aotifcacion. Hace falta ascentar una compurencia escritn o co
persona o con un abogado y entregar a Ja corte en forma escrita
aus defensas o sux objeclones s ins demandes en contra de su
persona, Sea avisado que sl usted no se deflende, ta corte famara
medidas y puede continuar In demanda en contra saya sin previo
avizo o notifieacton. Ademtas, ta corte puede decider a favor del
demandante y requlere que usted cumpts con tadas las provisiones
de esta demands. Usted puede perder dinero o sus propledades u
otros derechos importantes para usted,

Lieve esta demanda a un abogado lrimediatemente. Si no dene
abogaifo o si no tlene ef dinero suflelente de pagar ial servicio, Vaper
en persona o ilame por telefone a la oficina euya dirececion se
encuentra eserita abajo para averiguar donde se puede conseguir
asistencia legal.

Asocincion De Licentindos De Filndetfia
Serviclo De Referencia E
Informacion Legal
One Reading Center
Filadelfia, Pennsylvania 19107
(215) 238-4333
TTY (215) 451-6197

 

Case TD: b9u900703

 
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 28 of 190

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Attorneys for Plaintiffs

 

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Plaintiff,

Vv.

BELL FLAVORS AND FRAGRANCES, INC.

500 Academy Drive

Northbrook, IL 60062

And

FIRST CHOICE INGREDIENTS, INC.

c/o Thomas J. Atkinson
_N112 W 19528 Mequon Rd.

Germantown, WI 53022

And

THERMO FISHER SCIENTIFIC, INC.

160] Cherry St.

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And

GIVAUDAN FLAVORS CORPORATION

CT Corporation System

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Columbus, OH 43219

And

INTERNATIONAL FLAVORS AND

FRAGRANCES, INC.

2595 Interstate Dr,

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Harrisburg, PA 17110

And

KERRY, INC.

e/g CT Corporation

116 Pine Street

Suite 320

Harrisburg, PA 17101

 

COURT OF COMMON PLEAS -
PHILADELPHIA COUNTY

SEPTEMBER TERM, 2019
No.:

JURY TRIAL DEMANDED

Case ID: 190900703
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 29 of 190

And |
KRAFT HEINZ INGREDIENTS CORP
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And

Case ID: 190900703
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 30 of 190

O’LAUGHLIN INDUSTRIES

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And i

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17 Algonquin Circle

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And

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JOHN DOES 1-10

And

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ABC PARTNERSHIPS 1-10

And

XYZ CORPORATIONS/BUSINESS ENTITIES I-1
Defendants.

 

COMPLAINT
Plaintiff Terry Bethman, residing at the above captioned address, by way of Complaint and Jury
Demand against each of the above captioned Defendants, individually and collectively, alleges and states
as follows:
1. Plaintiff Terry Bethman is an adult individual that resides at 1139 W. Front Street, Berwick,

PA 18603.

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2. Plaintiff was, all times relevant to this Complaint, employed by Wise Foods, Inc.
(hereinafter “Wise”). Plaintiff worked for Wise from 1983 to the present. During the course of Plaintiff's
employment at Wise, Plaintiff was exposed to diacetyl and acetyl propionyl.

3. Defendant Beil Flavors and Fragrances is an Illinois corporation with its principal place of
business in Northbrook, Hlinois. Aslatt times relevant hereto, Bell Flavors and Fragrances was doing
business in Pennsylvania. Bell Flavors and Fragrances was in the chain of distribution of the diacetyl and
acetyl propionyl that injured Plaintiff, More specifically, Bell Flavors and Fragrances purchased raw
diacetyl and acetyl propionyl and flavoring formulations containing diacetyl and acetyl propiony] from its
co-defendants and possibly others. Bell Flavors and Fragrances then formulated the diacety] and acetyl
propionyl and the flavoring formulatiops containing diacetyl and acety! propiony! into flavoring blends and
supplied them to Wise. The timing and nature of the exact products Bell Flavors and Fragrances supplied
to Wise appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum
Bell Flavors and Fragrances supplied to Wise diacetyl-containing flavor blends. Plaintiff does not know the
full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations, Bell
Flavors and Fragrances supplied to Wise. This information will be revealed in discovery.

4. Defendant First Choice Ingredients, Inc. is a Wisconsin corporation with a principal place
of business in Wisconsin. First Choice Ingredients, Inc. was doing business in Pennsylvania. First Choice
Ingredients was in the chain of distribution of the diacetyl and acety! propionyl that injured Plaintiff. More
specifically, First Choice ngreiet purchased raw diacetyl and acetyl propionyl and flavoring
formulations containing diacetyl and acetyl propionyl from its co-defendants and possibly others. First
Choice Ingredients then formulated! the diacetyl and acetyl propionyl and the flavoring formulations
containing diacetyl and acetyl propionyl into flavoring blends and supplied them to Wise, The timing and
nature of the exact products First Choice Ingredients supplied to Wise appear to be closely guarded trade
secrets, Nonetheless, Plaintiff has ascertained that at a minimum First Choice Ingredients supplied to Wise
diacetyl-containing favor blends. Plaiotiff does not know the full names and timing of all diacetyl and
acetyl propionyl, whether in raw form or in formulations, First Choice Ingredients supplied to Wise. This

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information will be revealed in discovéry.

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5. Defendant Thermo ee Scientific, Inc, is 4 Delaware corporation. Thermo Fisher
Scientific, Inc. has its principal place of business in Philadelphia, Pennsylvania. Thermo Fisher Scientific,
Inc. maintains a registered agent in Dauphin County, Pennsylvania at the address set forth above. At all
times relevant hereto, Thermo Fisher Scientific, Inc. was doing business in Pennsylvania, Thermo Fisher
Scientific, Inc. was in the chain of distribution of the diacetyi and acetyl propionyl that injured Plaintiff.
More specifically, Thermo Fisher Scientific, Inc. purchased raw diacetyl and acetyl propionyl and flavoring
formulations containing diacetyl and acetyl propiony! from its co-defendants and possibly others. Thermo
Fisher Scientific, Inc. then formulated the diacetyl and acetyl propionyl and the flavoring formulations
containing diacetyl and acetyl propionyl into flavoring blends and supplied them to Wise. The timing and
nature of the exact products Thermo Fisher Scientific, Inc. supplied to Wise appear to be closely guarded
trade secrets, Nonetheless, Plaintiff has ascertained that at a minimum Thermo Fisher Scientific, Inc.
supplied to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names and timing of all
diacetyl and acetyl propionyl, whether in raw form or in formulations, Thermo Fisher Scientific, Inc.
supplied to Wise. This information will be revealed in discovery.

6. Givaudan Flavors Corporation (“Givaudan”) is a Delaware corporation with its principal
place of business in Cincinnati, Ohio. At all times relevant hereto, Givaudan Flavors Corporation was
doing business in Pennsylvania. Givaudan was in the chain of distribution of the diacetyl and acetyl
propionyl that injured Plaintiff. Moreispecifically, Givaudan purchased raw diacetyl and acetyl propionyl
and flavoring formulations containing diacetyl and acetyl propionyl from its co-defendants and possibly
others. Givaudan then formulated the diacety] and acetyl propionyl and the flavoring formulations
containing diacetyl and acetyl propionyl into flavoring blends and supplied them to Wise. The timing and
nature of the exact products Givaudan supplied to Wise appear to be closely guarded trade secrets.
Nonetheless, Plaintiff has ascertained that at a mininaum Givaudan supplied to Wise diacety]-containing
flavor blends. Plaintiff does not know the full names and timing ofall diacetyl and acetyl propionyl, whether

in raw form or in formulations, Givaudin supplied to Wise. This information will be revealed in discovery.

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7, Defendant International Flavors and Fragrances, Inc. is a New York corporation with its
principle place of business in New York: New York. International Flavors and Fragrances, Inc. maintains
a registered agent in Dauphin County, Pennsylvania at the address set forth above. At all relevant times,
International Flavors was doing business in Pennsylvania. Intemational Flavors maintains a registered agent
in Pennsylvania. International Flavors and Fragrances, Inc. was in the chain of distribution of the diacetyl
and acetyl propionyl that injured Plaintiff More specifically, Internationa! Flavors and Fragrances, Inc.
purchased raw diacetyl and acetyl propiony! and flavoring formulations containing diacetyl and acety!
propiony! from its co-defendants and possibly others. Intemational Flavors and Fragrances, Inc. then
formulated the diacetyl and acetyl propionyl and the flavoring formulations containing diacetyl and acetyl
propionyl into flavoring blends and supplied them to Wise. The timing and nature of the exact products
international Flavors and Fragrances, Inc. supplied to Wise appear to be closely guarded trade secrets.
Nonetheless, Plaintiff has ascertained that at a minimum International Flavors and Fragrances, Inc. supplied
to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names and timing of all diacety]
and acetyl propiony], whether in raw form or in formulations, International Flavors and Fragrances, Inc.
supplied to Wise. This information will be revealed in discovery.

8. Defendant Kerry, Ine, is a Delaware corporation with its principal place of business in
Ulinois. Kerry, Inc. maintains a registered agent in Dauphin County, Pennsylvania. At all times relevant
hereto, Kerry, Inc., was doing business in Pennsylvania, Kerry, Inc. was in the chain of distribution of the
diacetyl and acetyl propiony] that if Plaintiff. More specifically, Kerry, Inc. purchased raw diacetyl
and acetyl propiony] and flavoring formulations containing diacetyl and acetyl propiony! from its co-
defendants and possibly others. Kerry, Inc, then formulated the diacetyl and acetyl propionyl and the
fiavoring formulations containing diacetyl and acetyl propionyl into flavoring blends and supplied them to
Wise. The timing and nature of the exact Kerry, Inc. supplied to Wise appear to be closely guarded trade
secrets. Nonetheless, Plaintiff bas ascertained that at a minimum Keny, Inc. supplied to Wise diacetyl-
containing flavor blends, Plaintiff does not know the full names and timing of all diacetyl and acetyl

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propionyl, whether in raw form or in formulations, Kerry, Inc. supplied to Wise. This information will be

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revealed in discovery.
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9. Defendant Kraft Heinz Ingredients Corp. is a Delaware corporation with its principal place
of business in Pittsburgh, PA. Kraft Heinz Ingredients Corp, maintains a registered agent in Philadelphia,
Pennsylvania. At all times relevant, hereto, Kraft Heinz Ingredients Corp. was doing business in
Pennsylvania. Kraft Heinz Ingredients Corp. was in the chain of distribution of the diacetyl and acetyl
propionyl that injured Plaintiff. More specifically, Kraft Heinz Ingredients Corp. purchased raw diacetyl
and acetyl propionyl and flavoring formulations containing diacetyl and acetyl propiony! from its co-
defendants and possibly others. Kraft Heinz Ingredients Corp. then formulated the diacetyl and acetyl
propionyl and the flavoring formulations containing diacety] and acetyl propiony! into flavoring blends and
supplied them to Wise. The timing and nature of the exact Kraft Food Ingredients supplied to Wise appear
to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Kraft Heinz
Ingredients Corp. supplied to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names
and timing of all diacetyl and acetylipropionyl, whether in raw form or in formulations, Kraft Heinz
Ingredients Corp. supplied to Wise. This information will be revealed in discovery.

10. Defendant MeConnite & Company, Inc. is a Maryland corporation with its principal place
of business in Sparks, Maryland. At all times relevant hereto, McCormick & Company, Inc. was doing
business in Pennsylvania. McCormick and Company, Inc. was in the chain of distribution of the diacetyl
and acetyl propiony] that injured Plaintiff. More specifically, McConnick and Company, Inc. purchased
raw diacetyl and acetyl propiony! and flavoring formulations containing diacetyl and acetyl propionyl from
its co-defendants and possibly others, McConnick and Company, Inc. then formulated the diacetyl and
acetyl propionyl and the flavoring formulations containing diacetyl and acetyl propionyl into flavoring
blends and supplied them to Wise. The timing and nature of the exact McCormick and Company, Inc.
supplied to Wise appear to be closely guarded trade secrets, Nonetheless, Plaintiff has ascertained that at a
minimum McCormick and Company, Inc. supplied to Wise diacetyl-containing flavor blends. Plaintiff does
not know the full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in

formulations, McCormick and Company, Inc. supplied to Wise. This information will be revealed in

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discovery.

11, Defendant Roha USA, Inc. is a Missouri corporation with its principal place of business in
Missouri. At all times relevant hereto, Roha USA, Inc. was doing business in Pennsylvania, Roha USA,
Inc. was in the chain of distribution; of the diacetyl and acetyl propiony! that injured Plaintiff. More
specifically, Roha USA, Inc, purchased raw diacetyl and acetyl propionyl and flavoring formulations
containing diacetyl and acetyl sropha from its co-defendants and possibly others Roha USA, Inc. then
formulated the diacetyl and acetyl propionyl and the flavoring formulations containing diacetyl and acetyl
propionyl into flavoring biends and supplied them to Wise. The timing and nature of the exact Roha USA,
Inc. supplied to Wise appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that
at a minimum Roha USA, Inc. supplied to Wise diacetyl-containing flavor blends, Plaintiff does not mow
the full names and timing of all diacetyl and acety] propiony], whether in raw form or in formulations Roha
USA, Inc. supplied to Wise. This information will be revealed in discovery.

12, Defendant Sensient dolor, LLC is a Delaware corporation with a principal place of
. business in Missouri. At all times relevant hereto, Sensient Colors, Inc. was doing business in Pennsylvania.
Sensient Colors, Inc. was in the chain of distribution of the diacetyl and acetyl propiony! that injured
Plaintiff. More specifically, Sensient Glos, Inc. purchased raw diacetyl and acetyl propiony! and flavoring
formulations containing diacetyl and acetyl propiony! from its co-defendants and possibly others Sensient
Colors, Inc. then formulated the diacety! and acety! propionyl and the flavoring formulations containing
diacetyl and acetyl propionyl into favoring blends and supplied them to Wise. The timing and nature of the
exact Sensient Colors, Inc, supplied| to Wise appear to be closely guarded trade secrets. Nonetheless,

Plaintiff has ascertained that at e minimum Sensient Colors, Inc. supplied to Wise diacetyl-containing flavor

blends. Plaintiff does not know the full names and timing of all diacetyl and acetyl propionyi, whether in

 

raw form or in formulations Sensient Colors, Inc. supplied to Wise. This information will be revealed in
discovery.

13. Defendant Sensient Technologies Corporation is a Wisconsin corporation with its principal

 

place of business in Milwaukee, Wisconsin. Sensient Technologies Corporation is registered to do business

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in Pennsylvania and has a registered address in Philadelphia, Pennsylvania. At all times relevant hereto,
Sensient Technologies Corporation was doing business in Pennsylvania. Sensient Technologies
Corporation was in the chain of distribution of the diacetyl and acetyl propionyl that injured Plaintiff. More
specifically, Sensient Technologies Corporation purchased raw diacetyl and acety! propionyl and flavoring
formulations containing diacetyl and acetyl propionyl from its co-defendants and possibly others Sensient
Technologies Corporation then formulated the diacetyl and acetyl propiony! and the flavoring formulations
containing diacetyl and acetyl Propionyl into flavoring blends and supplied them to Wise. The timing and
nature of the exact Sensient Technologies Corporation supplied to Wise appear to be closely guarded trade
secrets. Nonetheless, Plaintiff has ascertained that at a minimum Sensient Technologies Corporation
supplied to Wise diacetyl-containing flavor blends, Plaintiff does not know the full names and timing of all
diacety] and acetyl propionyl, whether in raw form or in formulations Sensient Technologies Corporation
supplied to Wise. This information will be revealed in discovery.

!4. Defendant Univar USA, INC. is a Washington corporation, with its principal place of
business in Redmond, Washington. Univar USA, INC. is registered in the Commonwealth of Pennsylvania
to do business and has a registered address in Dauphin County, Pennsylvania. At all mes relevant hereto,
Univar USA, INC, was doing business in Pennsylvania. Univar USA, INC. was in the chain of distribution
of the diacetyl and acetyl propionyl that injured Plaintiff. More specifically, Univar USA, INC. purchased
raw diacetyl and acety! propiony! and Inavoring formulations containing diacety] and acetyl propiony! from
its co-defendants and possibly others Univar USA, INC. then formulated the diacetyl and acetyl propiony!
and the flavoring formulations containing diacetyl and acetyl propiony] into flavoring blends and supplied
them to Wise. The timing and nature of the exact Univar USA, INC, supplied to Wise appear to be closely
guarded trade secrets, Nonetheless, Pibintft has ascertained that at a minimum Univar USA, INC. supplied
to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names and timing of all diacetyl
and acety] propiony!, whether in raw form or in formulations Univar USA, INC. supplied to Wise. This
information will be revealed in discovery.

15. Defendants Bell Flavors and Fragrances; First Choice Ingredients; Thermo Fisher

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Scientific, Inc; Givaudan Flavors Corporation; Intemational Flavors and Fragrances, Inc.; Kerry, Inc.;
Kraft Heinz Ingredients Corp; McCormack and Company, Inc.; Roha USA, Inc.; Sensient Colors, Inc.;
Sensient Technologies Corporation! and Univar USA, INC, are direct suppliers of diacetyl and acetyl
propiony! to Wise; and shail be referred to, collectively, herein as “Direct Supplier Defendants”.

16. Defendant Berje, Inc. was and is a New York corporation with its principal place of
business in New Jersey, At all relevant times, Berje, Inc. was doing business in Pennsylvanie. Berje, Inc.
was in the chain of distribution of the diacetyl and acetyl propiony! that injured Plaintiff. The timing and
nature of the exact products Berje, Inc. supplied to Direct Supplier Defendants appear to be closely guarded
trade secrets, Nonetheless, Plaintiff hai ascertained that at a minimum Berje, Inc. supplied raw diacetyl and
raw acetyl propionyl to Direct Supplier Defendants. Direct Supplier Defendants then formulated Berje,
Inc.’s diacetyl and acetyl propiony! ino flavoring products and supplied them to Wise. Plaintiff does not
know the full names and timing ofall diacetyl and acetyl propionyl, whether in raw form or in formulations,
Berje, Inc. supplied to Direct Supplier Defendants. This information will be revealed in discovery.

17. Defendant Citrus and Allied Essences, LTD. is a New York corporation with a principal
place of business in New York. ‘At ail relevant times, Citrus was doing business in Pennsylvania, Citrus
was in the chain of distribution of the/diacetyl and acetyl propionyl that injured Plaintiff. The timing and
nature of the exact products Citrus supplied to Direct Supplier Defendants appear to be closely guarded
trade secrets. Nonetheless, Plaintiff hds ascertained that at a minimum Citrus supplied raw diacetyl and raw
acetyl propionyl to Direct Supplier Defendants, Direct Supplier Defendants then formulated Citrus’ diacetyl
and acetyl propiony! into flavoring products and supplied them to Wise. Plaintiff does not know the full
names and timing of all diacetyl end acetyl propionyl, whether in raw form or in formulations, Citrus
supplied to Direct Supplier Defendants. This information will be revealed in discovery.

18. Defendant Elan Chemical Co., Inc. is a New Jersey Corporation with a principal place of
business in New Jersey. At all times relevant hereto, Elan Chemical Co., Inc. was doing business in
Pennsy!ivania. Elan Chemical Co., Inc. was in the chain of distribution of the diacetyl and acetyl propiony!
that injured Plaintiff. The timing and nature of the exact products Elan Chemical Co., Inc. supplied to Direct

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Supplier Defendants appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that
at a minimum Elan Chemical Co., Inc. supplied raw diacetyl and raw acetyl propionyl to Direct Supplier
Defendants. Direct Supplier Defenddnts then formulated Elan Chemical Co., Inc.’s flavorings containing
diacetyl and acetyl propionyl inte flavoring products and supplied them to Wise. Plaintiff does not know
the full names and timing of ali diacetyl and acety] propionyl, whether in raw form or in formulations, Elan
Chemical Co., Inc. supplied to Direct Supplier Defendants . This information will be revealed in discovery.

19. Defendant O* Laughlin Industries is a New Jersey Corporation with a principal place of
business in New Jersey. At all times relevant hereto, O*Laughlin Industries as doing business in
Pennsylvania. O’Laughlin Industries was in the chain of distribution of the diacetyl and acetyl propiony]
that injured Plaintiff. The timing and nature of the exact products O'Laughlin Industries supplied to Direct
Supplier Defendants and Wise appear to be closely guarded trade secrets. Nonetheless, Plaintiff has
ascertained that at a minimum, O’Laughlin Industries supplied raw diacetyl and raw acetyl propionyl to
Direct Supplier Defendants, Direct Supplier Defendants then formulated O’ Laughlin Industries’ flavoring
into flavoring products and supplied them to Wise. Plaintiff does not know the full names and timing of all
diacetyl and acetyl propiony], whether in raw form or in formulations, O’Laughlin Industries supplied to
Direct Supplier Defendants. This information will be revealed in discovery.

20. Defendant Phoenix Aromas and Essential Oils Holdings, Inc. is a New York corporation
with a principal place of business in Norwood, New Jersey. At all times relevant hereto, Phoenix Aromas
and Essential Oils was doing business in Pennsylvania. Phoenix Aromas and Essential Oils was in the chain
of distribution of the diacetyl and acetyl propiony] that injured Plaintiff. The timing and nature of the exact
products Phoenix Aromas and Essential Oils supplied to Direct Supplier Defendants appear to be closely
guarded trade secrets. Nonetheless, Plaintiff has ascertained that st a minimum Phoenix Aromas and
Essential Oils supplied raw diacetyl] an raw acetyl propiony] to Direst Supplier Defendants. Direct Supplier
Defendants then formulated Phoenix Aromas and Essential Oils diacetyl and acetyl propiony! into flavoring
products and supplied them to Wise. Plaintiff does not know the full names and timing of all diacetyl and

acetyl propionyl, whether in raw form or in formulations, Phoenix Aromas and Essential Oils supplied to

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Direct Supplier Defendants. This information will be revealed in discovery.

21, Defendant Emoral Inc., f/k/a Polarome International, Inc. is a New York Corporation with
its principal place of business in New Jersey. At all times relevant hereto, Emoral Inc., f/k/a Polarome
international, Inc. was doing business in Pennsylvania. Emoral Inc., f/k/a Polarome International, Inc. was
in the chain of distribution of the diacetyl and acetyl propionyl that injured Plaintiff. The timing and nature
of the exact products Emoral Inc., fk/a Polarome International, Inc. supplied to Direct Supplier Defendants
appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Emoral
Inc., f/k/a Polarome International, Inc. supplied raw diacetyl and raw acetyl propionyl to Direct Supplier
Defendants. Direct Supplier Defendants then formulated Emoral Inc., f/k/a Polarome International, Inc.
diacetyl and acetyl propiony! into flavoring products and supplied them to Wise. Plaintiff does not know

. the full names and timing of all diacetyl and acetyl propionyi, whether in raw form or in formulations,
Emoral Inc., fk/a Polarome Intemational, Inc. supplied to Direct Supplier Defendants. This information
will be revealed in discovery. |

22. Defendant Centrome, Inc. d/b/a Advanced Biotech is a New Jersey corporation with its
principal place of business in New Jersey. At all relevant times, Centrome, Inc. d/b/a Advanced Biotech
was doing business in Pennsylvania. |Centrome, Inc. d/b/a Advanced Biotech’s principal place of business
is in Totowa, NJ. Centrome, Inc. d/b/a Advanced Biotech was in the chain of distribution of the diacetyl
and acetyl propionyl that injured Plalntif The timing and nature of the exact products Centrome, Inc. d/b/a
Advanced Biotech supplied to Direct Supplier Defendants appear to be closely guarded trade secrets.
Nonetheless, Plaintiff has ascertained that at a minimum Centrome, Inc. d/b/a Advanced Biotech supplied
raw diacetyl and raw acetyl propionyl to Direct Supplier Defendants, Direct Supplier Defendants then
formulated Centrome, Inc. d/b/a Advanced Biotech diacetyl and acety] propionyl into flavoring products
and supplied them to Wise. Plaintiff does not know the full names and timing of all diacety! and acetyl
propionyl, whether in raw form or in|formulations, Centrome, Inc. d/b/a Advanced Biotech supplied to
Direct Supplier Defendants. This informnation will be revealed in discovery.

23. Defendant Flavor Consultants, Inc. is a Nevada corporation with a principal place of

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business in Nevada, At all relevant; tines, Flavor Consultants, Inc. was doing business in Pennsylvania,
Flavor Consultants, Inc. was in the chain of distribution of the diacetyl and acety] propionyl that injured
Plaintiff. The timing and nature of the exact products Flavor Consultants, Inc, supplied to Direct Supplier
Defendants appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a
minimum Flavor Consultants, Inc. supplied raw diacetyl and raw acetyl propionyl to Direct Supplier
Defendants. Direct Supplier Defendants then formulated Flavor Consultants, Inc. diacetyl and acetyl
propionyl into flavoring products and supplied them to Wise. Plaintiff does not know the full names and
timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations, Flavor Consultants, Inc.
supplied to Direct Supplier Defendants. This information will be reveaied in discovery.

24. Defendant Penta International Corporation is a New Jersey corporation, with its principal
place of business in New Jersey. At all relevant times, Penta International Corporation was doing business
in Pennsylvania. Penta International Corporation was in the chain of distribution of the diacetyl and acety]
propiony] that injured Plaintiff. The timing and nature of the exact products Penta Intemational Corporation

| supplied to Direct Supplier Defendants appear to be closely guarded trade secrets. Nonetheless, Plaintiff
has ascertained that at a minimum Penta International Corporation supplied raw diacetyl and raw acetyl

propiony! to Direct Supplier Defendants. Direct Supplier Defendants then formulated Penta International

 

Corporation diacetyl and acetyi propionyl into flavoring products and supplied them to Wise. Plaintiff does
not know the full names and timing of ali diacetyl and acetyl propionyl, whether in raw form or in
formulations, Penta International Compération supplied to Direct Supplier Defendants. This information will
be' revealed in discovery.

25. Defendants Berje, Ine; Citrus & Allied Essentials: Elan Chemical Co., Inc.; O”Laughlin
Industries; Phoenix Aromas and Essential Oils Holdings, Inc.; Emoral Inc., f//a Polarome International,
Inc,; Centrome, Inc. d/b/a Advanced Biotech; Flavor Consultants, Inc.; and Penta International Corporation
were indirect suppliers of diacetyl and acetyl propionyl to Wise. These Defendants shall be referred to,

collectively, as “Indirect Supplier Defendant” through this Complaint.

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26. Defendants, John Does (1-10) and Defendants, Jane Does (1-10), fictitious names, the real
names being unknown, are individuals involved with the indirect and/or direct suppliers of diacety) and/or
acetyl] propionyl. |

27. Each of the individual Defendants named herein was acting as an agent, servant, or
employee of one or more of the corporate Defendants named herein, thus giving rise to claims of ostensible,
apparent, and/or vicarious Liability.

28. Defendants, ABC Companies (1-10) and Defendants, XYZ Corporations/Business Entities
(1-10), fictitious names, the real names being unknown, are corporations or other legal entities involved
with the with the indirect and/or direct suppliers of diacetyl and/or acety] propionyl.

29. At all times relevant! hereto, Direct Supplier Defendants acted by and/or through their
agents, servants, employces and/or waremen.

30. = At all times relevant hhereto, Indirect Supplier Defendants acted by and/or through their
agents, servants, employees and/or workmen.

31. At all times relevant hereto, Defendants, ABC Companies (1-10) and Defendants, XYZ
Corporations/Business Entities (1-10), acted by and/or through their agents, servants, employees and/or
workmen.
rads COMMON TO ALL COUNTS

32.  Diacetyl and acetyl propionyl are chemical food additives used in the flavor manufacturing

industry. |

33.  Diacetyl and acetyl propionyl are severely toxic and poisonous when used independently,

handled, mixed, blended, incorporated, into a finished product, and/or in any manner that allows or creates
exposure to fumes and vapors. ;

34. Exposure to diacetyl and acety] propionyl can cause damage to the respiratory system.

33. ‘It has been known and reported in the flavoring and fragrance industry since at least 1986

when the first civil cases began to be filed that diacetyl exposure causes lung diseases.

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36. In 1993, BASF, a flavor manufacturer utilizing diacetyl in its products, concluded a study
that examined diacetyl's effect on rats. The BASF study involved the forced inhalation exposure of diacetyl
to three groups of 10 rats over a four-hour period, The first group of rats was forced to inhale low
concentrations of diacetyl, while the second and third groups were forced to inhale moderate and high levels
of diacetyl, respectively. None of the rats exposed to low levels of diacetyl died during the study, while all
of the rats exposed to moderate and high levels died within seven days of exposure. Notably, rats exposed
to moderate and high levels resulted in an abundance of symptoms indicative of respiratory tract injury. The
report was not released to the public, But it was available to the flavoring industry through the Flavor and
Extract Manufacturers Association, , |

37. In 2002, the National Institute for Occupational Safety and Health (NIOSH), a division of
the Occupational Safety and Health Administration (OSHA) released 2 paper titled, “Clinical Bronchiolitis
Obliterans in Workers at a Microwave-Popcorn Plant.” In the paper, NIOSH concluded that there was a
strong relationship between exposure ‘ diacetyl and airway obstruction.

38. In 2002, NIOSH reldased a paper titled, “Necrosis of Nasal and Airway Epitheliwmn in Rats
Inhaling Vapors of Artificial Butter Flooring ” In that paper, NIOSH concluded that concentrations of butter
flavoring that contained diacetyl are damaging to airways.

39. Im 2004 the Centers for Disease Control and Prevention (CDC) published NIOSH
publication number 2004-110 titled, “Freventing Lung Disease in Workers Who Use or Make Flavorings.”
The publication warned that workers dsing flavoring chemicals are particularly susceptible to developing
severe lung diseases,

40. Since the early 20004 there have been numerous articles published in scientific journals
that relate exposure to diacetyl to severe lung diseases, including, but not limited to bronchiolitis obliterans.

41. Acetyl propiony! is structurally very similar to diacetyl. Published reports on the toxicity
of acetyl propiony! were first published in abstract form in 2010.

42, A peer-reviewed publication from NIOSH documents that in laboratory studies, acute

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inhalation exposures to acety] propioriy| cause airway epithelial damage that is similar to diacetyl.

43. Defendants knew orishould have known of the hazardous nature, risks, and side effects of
diacetyl and acety! propionyl both at the time of sale and when Plaintiff was exposed to diacetyl and acetyl
propiony!.

44. On September 11, 2018, after undergoing pulmonary testing, Plaintiff was diagnosed with
diacetyl-induced lung disease. Upon undergoing an HRCT, on July 24, 2019, Plaintiff was specifically
diagnosed with Flavoring Related Bronchiolitis Obliterans Syndrome (FRBOS).

45, Before September 11, 2018, Plaintiff neither knew nor discovered nor could have known
or discovered that her lung injuries could have been related in any way to her exposure to diacetyl and acetyl
propionyl. |

46. Between 1983 and the present, Plaintiff worked at Wise’s facilities located at 228 Raseley
Street, Berwick, PA 18603. Plaintiff worked with and around products containing diacetyl and acetyl
propionyl that Indirect Supplier Defendants supplied to Direct Supplier Defendants or directly to Wise in
the ordinary course of Plaintiffs employment and over the course of years regularly, routinely, and
repeatedly inhaled vapors and fumes of diacetyl and acetyl propiony) supplied by Defendants.

47. Indirect Supplier Defendants’ diacetyl and acetyl propiony] and flavorings containing
diacetyl and acetyl propionyl were incorporated inte the flavoring products by Direct Supplier Defendants.
Direct Supplier Defendants then supplied them to Wise. Plaintiff then worked with and around those
products in the ordinary course of Plaintiff's employment for Wise and regularly, routinely, and repeatedly
over the course of years inhaled vapors and fumes of diacety] and acetyl propiony] supplied by Defendants.

. 48. Asa result of Plaintif’ employment, Plaintiff was exposed to the fumes and vapors of
diacetyl and acety] propionyl. The fumes and vapors entered Plaintiff's lungs.

49. As a result of repetitive exposure to diacetyl and acetyl propiony|, Plaintiff developed lung
problems.

50. Defendants knew that Plaintiff's continuous exposure could harm Plaintiff. Defendants

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knew there was a high probability Plaintiff would develop lung injuries.

5S}. At all times relevant to this Complaint, Plaintiff was unaware of the hazards and risks
associated with diacetyl and acetyl propionyl, and that the levels to which Plaintiff was exposed and the
manner in which Plaintiff was exposed could cause permanent lung injury.

52. At all times relevant to this Complaint, Plaintiff used diacety! and acetyl propionyl in an

intended or reasonably foreseeable way.
FIRST CAU F ACTION
Strict Liability: Manufacturing Defect
(Against DIRECT SUPPLIER DEFENANTS)

53. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

54. In the ordinary course of its business, Direct Supplier Defendants designed, manufactured,
labeled, supplied, and distributed, and sold flavoring products containing diacetyl and acetyl propionyl for
use by Wise and supplied those products to Wise.

55. The products Direct Supplier Defendants supplied to Wise were defective in that they were

produced in a substandard condition,|the end products differed from the intended end products, and the

 

products departed from the intended design. The products were defective because they were in a condition
that permitted the release of vapors and fumes of toxins capable of causing respiratory injuries to workers
exposed to those fines.

56. The health risks associated with Direct Supplier Defendants’ products were not open and
obvious or of a type that is a matter of common knowledge. Direct Supplier Defendants knew or should
have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend

the dangerous condition of the products containing diacetyl and acetyl propionyl.

 

57. Asaresult of these manufacturing defects, the products were unreasonably dangerous. The
products were dangerous to an extent beyond that which would be contemplated by the ordinary person

who worked with and used the products, with the ordinary knowledge common to the community as to its

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characteristics, Such an ordinary person with such knowledge would not contemplate that exposure to the

products could cause respiratory injuries.

58. The products were in this defective and unreasonably dangerous condition at the time the
products left Direct Supplier Defendants’ control.

59. The products were in this defective and unreasonably dangerous condition when the
Plaintiff was exposed to the products ip the ordinary course of Plaintiff's employment.

60. —- Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of
Plaintiff's employment for Wise and fo the purposes for which the products were supplied.

61. As a proximate resut of the condition of the products and Plaintiff's exposure to the
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products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred necessary medical
expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Piaintiff derpands judgment against Direct Supplier Defendants in excess of
$50,000.00, costs of this suit, and anylother relief which this Court may deem appropriate.

SECOND CAUSE OF ACTION
Strict Liability: Design Defect
(Against DIRECT SUPPLIER DEFENDANTS)

62. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

63. Inthe ordinary course of its business, Direct Supplies Defendants designed, manufactured,
labeled, supplied, and distributed, andisold flavoring products containing diacetyl and acetyl propionyl for
use by Wise,

64. The products Direct Supplier Defendants supplied to Wise were defective in one or more

of the following respects:

a. They were more dangerous than an ordinary consumer would expect when used in an
intended or reasonably| foreseeable manner;

b. The foreseeable risks associated with the design or formulation of the products exceeded
the benefits associated with the design or formulation, in that:

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i. The nature and magnitude of the risk of harm associated with the design
or formulation of the products, in light of the intended and reasonably
foresteable uses, modifications, and alterations of diacetyl and acetyl
propionyl, outweighed the intended or actual utility of said designs and
form lations;

i. Userg of the products, including the Plaintiff, would not likely be aware,
whether based on wamings, general knowledge, or otherwise, of the risks
of harm;

iii, It was likely that the design or formulation of the flavorings containing
diacetyl and acetyl propionyl in the products would cause harm in light of
their, intended and reasonably foreseeable uses, modifications. and
alterations;

iv. Theré were no performance or safety advantages associated with the
design or formulation of the products; and

v. Direct Supplier Defendants possessed both the technical and economic

feasibility of using an alternative design or formulation when the products
left its control.

65, At the time of the design, formulation, manufacture, processing, distribution, sale, and/or
use of Direct Supplier Defendants’ products, the products were defective as designed when put to the use
anticipated by Direct Supplier Defendants due to their capacity to cause respiratory illnesses and diseases.
The products were defective because they were in a condition that permitted the release of vapors and fumes
of toxins capable of causing respiratory injuries to workers exposed to those fumes.

66. As a result of Direct Supplier Defendants’ products’ propensity to cause respiratory
disease, the products were unreasonably dangerous and defective when put to the intended and reasonably
foreseeable use anticipated by Direct Supplier Defendants,

67. The health risks associated with Direct Supplier Defendants’ products were not open and
obvious, or of a type that is a matter of common knowledge. Direct Supplier Defendants knew or should
have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend
the dangerous condition of the products containing diacetyl and acetyl propionyl.

68. Plaintiffs harm was not caused by an inherent characteristic of Direct Supplier

Defendants’ products that was a generic aspect of the products that could not be eliminated without

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substantially compromising the products’ usefulness or desirability.

69. A practical and technically feasible alternative design or formulation or packaging was
available for the products that would have prevented the harm to the Plaintiff without substantially
impairing the usefulness or intended purpose of the products,

70. The products were inithis defective and unreasonably dangerous condition at the time the
products left Direct Supplier Defendants’ control,

71. The products were in this defective and unreasonably dangerous condition when the
Plaintiff was exposed to the products in the ordinary course of Plaintiff's employment.

72. Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of

 

Plaintiff's employment for Wise and for the purposes for which the products were supplied.

73. As a proximate result of the condition of the products and Plaintiff's exposure to the
products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred necessary medical
expenses, sustained lost earings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Direct Supplier Defendants in excess of
$50,000.00, costs of this suit, and any ther relief which this Court may deem appropriate.
- THIRD CAUSE OF ACTION
Strict Liability: Failure to Warn
(Against DIRECT SUPPLIER DEFENDANT)

74. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

75. Inthe ordinary course of its business, Direct Supplier Defendants designed, manufactured,
labeled, supplied, and distributed, and.sold flavoring products containing diacetyl and acetyl propionyl for
use by Wise. The products were defettive because they were in a condition that permitted the release of
vapors and fumes of toxins capable oficausing respiratory injuries to workers exposed to those fumes.

76. Direct Supplier Defendants knew or should have known at the time of extracting,

formulating, manufacturing, supplying, distributing, and selling diacety! and acetyl propionyl that diacetyl

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and acetyl propiony! had risks, such as being hazardous, toxic, poisonous, and knew or should have known
that prolonged use or repeated exposure by the Plaintiff could lead to serious injury or death.

77. Direct Supplier Defendants designed, formulated, manufactured, processed, distributed,
marketed, sold, and supplied diacetyl and acetyl propionyl without adequate instructions on safe use to
reduce and/or eliminate exposure thereto, and/or without adequate warnings that the products contained
substances that are dangerous to health and life and cause severe respiratory diseases.

78. Direct Supplier Defendants failed to provide the post-marketing warnings or instructions
that a manufacturer exercising reasonable care would have provided concerning the risk, in light of the
likelihood that the products would cause Plaintiff's injuries and in light of the likely serious nature of these
injuries.

79.  Nowaming was given that the diacetyl and acetyl propiony! in Direct Supplier Defendants’
products were of a highly toxic and lpoisonous nature, should only be used with specialized protective
equipment, would have cumulative ; increases in their hazardous, toxic, and poisonous effects with
prolonged use or repeated exposure, dnd would be highly toxic and poisonous when used as an ingredient
for the purposes of making food flavorings for the food flavoring industry.

80. Direct Supplier Defendants failed to comply with 29 CFR 1910.1200 regarding hazard
communications in its safety data sheets and otherwise. Direct Supplier Defendants failed to comply with
this section by failing to evaluate the chemicals it supplied to Wise, failing to monitor the medical and
scientific literature, failing to include hazard information that it knew or should have known in its safety
data sheets and/or container labeling that were transmitted to Wise, failing to transmit safety data sheets
and/or container labeling to Wise, failing to timely update the safety data sheets and/or container labeling
it sent to Wise, and in other ways.

Bi. The health risks associated with Direct Supplier Defendants’ products were not open and
obvious, or of a type that is a matter of common knowledge. Direct Supplier Defendants knew or should

have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend

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the dangerous condition of the diacetyl and acetyl propionyl.

82. As aresult of Direct Supplier Defendants’ failure to adequately instruct and wam of the
dangerous characteristics of the products, the products were defective and unreasonably dangerous when
put to the use reasonably anticipated by Direct Supplier Defendants,

83. The products were inthis defective and unreasonably dangerous condition at the time the
products left Direct Supplier Defendaits control.

84. The products were in this defective and unreasonably dangerous condition when the
Plaintiff was exposed to the products in the ordinary course of Plaintiff’s employment.

85. Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of
Plaintiff's employment for Wise and for the purposes for which the products were supplied.

86. As a proximate result of the condition of the products and Plaintiff's exposure to the

products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred necessary medical

 

expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Direct Supplier Defendants in excess of
$50,000.00, costs of this suit, and any other relief which this Court may deem appropriate.

FOURTH CAUSE OF ACTION
Negligence
(Against DIRECT SUPPLIER DEFENDANTS)
87. Plaintiff incorporates by reference paragraphs | through 52 of this Complaint.
88. In the ordinary course,of its business, Direct Supplier Defendants designed, manufactured,

labeled, supplied, and distributed, and sold flavoring products containing diacetyl and acetyl propiony! for
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use by Wise.
89. At all times relevant 10 this Complaint, Direct Supplier Defendants had a duty to use
reasonable care in the manufacturing, design, distribution, and sale of the aforesaid diacetyl and acetyl

propionyl. Direct Supplier Defendants: failed to use reasonable care.

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90. In disregard of the aforesaid duties Direct Supplier Defendants were guilty of one or more
of the following careless and negligent acts or omissions:

a, Manufacturing, producing, processing, promoting, formulating, creating, developing,
designing, selling, and distributing diacetyl and acetyl propionyl without using reasonable
care in adopting a safe plan or design;

b. Manufacturing, producing, processing, promoting, formulating, creating, developing,
designing, selling, and distributing diacetyl and acetyl propiony! without thorough and
adequate testing before the product was in the stream of commerce, and while the product
was in the stream of commerce;

c. Failing to undertake sufficient studies and conduct necessary tests to determine whether or
not diacetyl] and acetyl propionyl were safe for its intended use;

 

d. Failing to acquire and maintain the knowledge of an expert to manufacture, produce,
process, promote, formulate, create, develop, design, sell, distribute, and/or supply their
products free from defects and/or latent defects;

e. Failing to disclose and/or adequately wam of product defects and/or hazards, which duty
continued even after the sale of said diacetyl and acetyl propionyl;

f. Failing to provide adequate instructions, guidelines, and safety precautions to those whom
it was reasonably foreseeable would use diacetyl and acetyl propiony);

 

g. Failing to disclose andjinform users that there were altemative products or designs;

h. Representing that diacetyl and acetyl propiony} were safe for its intended use when in fact,
Direct Supplier Defendants knew and/or should have known the product was not safe for its
intended purposes; and/or

i, Continuing to manufacture and sell diacetyl and acetyl propiony! with the knowledge that
diacetyl and acetyl propionyl were unsafe and dangerous;

j. Failing to recall or retrofit diacetyl and acetyl propiony! after it was sold.

k. Failing to comply with 29 CFR 1910.1200 regarding hazard communications in its safety
data sheets and otherwise, failing to evaluate the chemicals it supplied to Wise, failing to
monitor the medical and scientific literature, failing to include hazard information that it
knew or should have known in its safety data sheets and/or container labeling that were
transmitted to Wise, failing to transmit safety data sheets and/or container labeling to Wise,
failing to timely update the safety data sheets and/or container labeling it sent to Wise, and
in other ways.

91. Direct Supptier Defendants failed to use due care under the circumstances and were thereby
negligent in the performance of their duties to the Plaintiff

92. The diacetyl and acetyl propiony! were used by the Plaintiff in a way that was reasonably

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foreseeable and intended by Direct Supplier Defendants. The products containing diacetyl and acetyl
propionyl were unsafe for the use for which they were intended, The products were unsafe because they
were in a condition that permitted the:release of vapors and fumes of toxins capable of causing respiratory
injuries to workers exposed to those fumes and were not accompanied by adequate warnings.

93. It would have been economically feasible for Direct Supplier Defendants to reduce the risk

 

of harm by manufacturing an alternative product or design.

94. As a proximate result of the condition of the products and Plaintiff's exposure to the
products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incusred necessary medical
expenses, sustained lost eamings, and!was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Direct Supplier Defendants for a monetary
award in excess of $50,000.00, costs of this suit, and any other relief which this Court may deem
appropriate. |

FIFTH CAUSE OF ACTIO
Strict Liability: Manufacturing Defect
(Against INDIRECT SUPPLIER DEFENDANTS)

95. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint,

96. In the ordinary course of its business, Indirect Supplier Defendants designed,
manufactured, labeled, supplied, and distributed products containing diacetyl and acety! propiony] for use
by Direct Supplier Defendants, who then supplied products containing the diacetyl and acetyl propiony] to
Wise. Indirect Supplier Defendants also supplied products containing diacetyl and acety! propiony! directly
to Wise.

97, The products Indirect Supplier Defendants supplied to Direct Supplier Defendants and
Wise were defective in that they were produced in a substandard condition, the end products differed from
the intended end products, and the products departed from the intended design. The products were defective

because they were in a condition that permitted the release of vapors and fumes of toxins capable of causing

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respiratory injuries to workers exposed to those fumes.

98. The health risks bssociated with Indirect Supplier Defendants’ products were not open and
obvious or of a type that is a matter of common knowledge. Indirect Supplier Defendants knew or should ©
have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend
the dangerous condition of the diacetyl and acetyl propicnyl.

99. As a result of these manufacturing defects, the diacetyl and acetyl propionyl were
unreasonably dangerous. The diacetyliand acety] propionyl were dangerous to an extent beyond that which
would be contemplated by the ordinary person who worked with and used the products, with the ordinary
knowledge common to the community as to its characteristics. Such an ordinary person with such
knowledge would not contemplate that exposure to the diacetyl and acetyl propionyl could cause respiratory
injuries.

100. The diacety! and acetyl propionyl were in this defective and unreasonably dangerous
condition at the time the products left Indirect Supplier Defendants’ control.

101. The diacetyl and acetyl propionyl were in this defective and unreasonably dangerous
condition when the Plaintiff was exposed to the products in the ordinary course of Plaintiff's employment.

102, Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of
Plaintiff's employment for Wise and for the purposes for which the products were supplied.

103. As a proximate result of the condition of the products and Plaintiff's exposure to the
products, the Plaintiff suffered respiratory ‘injuries, endured pain and suffered, incurred necessary medical
expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgement against Indirect Supplier Defendants in excess of
$50,000.00, costs of this suit, and any other relief which this Court may deem appropriate.

SIXTH CAUSE OF ACTION
Strict Liability: Design Defect

(Against INDIRECT SUPPLIER DEFENDANTS)

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104, Plaintiff incorporates by reference paragraphs | through 52 of this Complaint.

105. In the ordinary course of its business, Indirect Supplier Defendants designed,
manufactured, labeled, supplied, and distributed diacety! and acetyl propiony] for use by Direct Supplier
Defendants, who then supplied products containing the diacetyl and acetyl propiony] to Wise.

106. The diacety! and acety] propiony! Indirect Supplier Defendants supplied to Direct Supplier
Defendants were defective in one or more of the following respects:

a. They were more dangerous than an ordinary consumer would expect when used in an
intended or reasonably foreseeable manner,

b. The foreseeable risks associated with the design or formulation of the diacetyl and acetyl
propionyl exceeded the benefits associated with the design or formulation, in that:

i, The nature and magnitude of the risk of harm associated with the design
or formulation of the diacetyl and acetyl propionyl, in light of the intended
and rersonably foreseeable uses, modifications, and alterations of diacetyl
and|acetyl propionyl, outweighed the intended or actual utility of said
designs and formulations;

ii, Usets of the diacetyl and acetyl propionyl, including the Plaintiff, would
not likely be aware, whether based on warnings, general knowledge, or
otherwise, of the risks of harm;

ili, It was likely that the design or formulation of the flavorings containing
diacetyl and acety! propiony! in the products would cause harm in light of
their |intended and reasonably foreseeable uses, modifications, and
alterations;

iv. There were no performance or safety advantages associated with the
design or formulation of the diacetyl and acety! propiony]; and

v. Indirect Supplier Defendants possessed both the technical and economic
feasibility of using an alternative design or formulation when the diacetyl
and acetyl propionyl left its control.

107, At the time of the design, formulation, manufacture, processing, distribution, sale, and/or
use of Indirect Supplier Defendants’ diacetyl and acetyl propionyl, the diacetyl and acetyl propiony] were
defective as designed when put to the use anticipated by Indirect Supplier Defendants due to their capacity

to cause respiratory illnesses and diseases. The products were defective because they were in a condition

that permitted the release of vapors and fumes of toxins capable of causing respiratory injuries to workers

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exposed to those fumes.

108. Asa result of Indirect Supplier Defendants’ diacetyl and acety] propionyl’s propensity to
cause respiratory disease, the diacetyl and acetyl propiony] were unreasonably dangerous and defective
when put to the intended and reasonably foreseeable use anticipated by Indirect Supplier Defendants.

109. The health risks associated with Indirect Supplier Defendants’ products were not open and
obvious, or of a type that is a matter of common knowledge. Indirect Supplier Defendants knew or should
have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend
the dangerous condition of the diacety! and acetyl propionyl.

110, Plaintiff’s harm was not caused by an inherent characteristic of Indirect Supplier
Defendants’ products that was a generic aspect of the diacetyl and acetyl propionyl that could not be

eliminated without substantially compromising the diacetyl and acetyl propionyl’s usefulness or

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desirability.
lh oA practical and technically feasible alternative design or formulation or packaging was

available for the diacety! and acetyl propiony! that would have prevented the harm to the Plaintiff without

substantially impairing the usefulness or intended purpose of the diacetyl and acetyl propionyl.

112. The diacety] and acetyl propiony! were in this defective and unreasonably dangerous
condition at the time the products left Indirect Supplier Defendants’ control.

113. The diacetyl and acety! propionyl were in this defective and unreasonably dangerous
condition when the Plaintiff was exposed to the diacetyl and acetyl propionyl in the ordinary course of
Plaintiff's employment.

114. Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of
Plaintiff's employment for Wise and for the purposes for which the diacetyl and acetyl propionyl were
supplied,

115. As a proximate result of the condition of the diacetyl and acetyl propionyl and Plaintiff's

exposure to the products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred

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necessary medical expenses, sustained lost earnings, and was otherwise injured.
WHEREFORE, Plaintiff deriands judgment against Indirect Supplier Defendants in excess of
$50,000.00, costs of this suit, and ony: other relief which this Court may deem appropriate.
SEVENTH CAUSE OF ACTION
Strict Liability: Failure to Warn
(Against INDIRECT SUPPLIER DEFENDANTS)

116. Plaintiff incorporates by reference paragraphs | through 52 of this Complaint.

117. In the ordinary course of its business, Indirect Supplier Defendants designed,
manufactured, labeled, supplied, and distributed diacetyl and acetyl propionyl for use by Direct Supplier
Defendants, who then supplied products containing the diacetyl and acetyi propiony! to Wise. The products
were defective because they were in a condition that permitted the release of vapors and fumes of toxins
capable of causing respiratory injuries to workers exposed to those fumes.

118. Indirect Supplier Defendants knew or should have known at the time of extracting,
formulating, manufacturing, supplying, distributing, and selling diacety! and acetyl propiony! that diacetyl
and acetyl propiony] had risks, such as being hazardous, toxic, poisonous, and knew or should have known
that prolonged use or repeated exposure by the Plaintiff could lead to serious injury or death.

119, Indirect Supplier Defendants designed, formulated, manufactured, processed, distributed,
marketed, sold, and supplied diacety! and acetyl propionyl without adequate instructions on safe use to
reduce and/or eliminate exposure thereto, and/or without adequate warnings that the products contained
substances that are dangerous to health and life and cause severe respiratory diseases.

120, Indirect Supplier Defendants failed to provide the post-marketing warnings or instructions
that a manufacturer exercising reasonable care would have provided concerning the risk, in light of the
likelihood that the diacetyl and acetyl propiony! would cause Plaintiff's injuries and in light of the likely
serious nature of these injuries.

121, No warning was given that the diacetyl and acetyl propionyi were of a highly toxic and

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poisonous nature, should only be used with specialized protective equipment, would have cumulative
increases in their hazardous, toxic, and poisonous effects with prolonged use or repeated exposure, and
would be highly toxic and poisonous when used as an ingredient for the purposes of making food flavorings
for the food flavoring industry,

122. Indirect Supplier Defendants failed to comply with 29 CFR 1910.1200 regarding hazard
communications in its safety data sheets and otherwise. Indirect Supplier Defendants failed to comply with
this section by failing to evaluate the chemicals it supplied to Wise, failing to monitor the medical and
scientific literature, failing to include hazard information that it knew or should have known in its safety
data sheets and/or container Jabeling that were transmitted to Direct Supplier Defendants and Wise, failing
to transmit safety data sheets and/or container labeling to Direct Supplier Defendants and Wise, failing to
timely update the safety data sheets and/or container labeling it sent to Direct Supplier Defendants and
Wise, and in other ways. i

123. The health risks associated with Indirect Supplier Defendants’ diacetyl and acetyl
propiony! were not open and obvious, or of a type that is a matter of common knowledge. Indirect Supplier
Defendants’ knew or should have kttown the Plaintiff, as well as other similarly situated employees, did
not and would not comprehend the dangerous condition of the diacetyl and acetyl propionyl.

124. Asa result of Indirect Supplier Defendants’ failure to adequately instruct and warn of the
dangerous characteristics of the diacetyl and acetyl propionyl, the diacety! and acetyl propiony] were
defective and unreasonably dangerous when put to the use reasonably anticipated by Indirect Supplier
Defendants.

125. The diacetyl and acetyl propionyl were in this defective and unreasonably dangerous
condition at the time the products ie& Indirect Supplier Defendants’ control,

126. The diacety! and acetyl propionyl were in this defective and unreasonably dangerous
condition when the Plaintiff was exposed to the diacetyl and acetyl propionyl in the ordinary course of

Plaintiff's employment.

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127, Plaintiff used the dpa and acetyl propiony! in a reasonably foreseeable manner in the
ordinery course of Plaintiff's employment for Wise and for the purposes for which the diacetyl and acetyl
propiony! were supplied. |

128. Asa proximate result of the condition of the diacetyl and acety] propiony! and Plaintiff's
exposure to the diacetyl and acetyl propionyl, the Plaintiff suffered respiratory injuries, endured pain and
suffered, incurred necessary medical expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Indirect Supplier Defendants in excess of
$50,000.00, costs of this suit, and any other relief which this Court may deem appropriate,

EIGHTH CAUSE OF ACTION
| Negligence
(Against INDIRECT SUPPLIER DEFENDANTS)

129. Plaintiff incorporates by reference paragraphs | through 52 of this Complaint.

130. In the ordinary course of its business, Indirect Supplier Defendants designed,
manufactured, labeled, supplied, and distributed diacetyl and acetyl propionyl for use by Direct Supplier
Defendants, who then supplied products containing the diacetyl and acetyl propionyl to Wise.

131. At all times relevant to this Complaint, Indirect Supplier Defendants had a duty to use
reasonable care in the manufacturing, design, distribution, and sale of the aforesaid diacetyl and acetyl
propionyl, Indirect Supplier Defendants failed to use reasonable care.

132. In disregard of the aforesaid duties Indirect Supplier Defendants was guilty of one or more
of the following careless and negligent acts or omissions:

a. Manufacturing, producing, processing, promoting, formulating, creating, developing,
designing, selling, and distributing diacetyl and acetyl propionyl without using reasonable
care in adopting a safe plan or design;

b. Manufacturing, producing, processing, promoting, formulating, creating, developing,
designing, selling, and distributing diacetyl and acetyl propiony] without thorough and
adequate testing before the product was in the stream of commerce, aud while the product
was in the stream of commerce;

c. Failing to undertake sufficient studies and conduct necessary tests to determine whether or

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not diacety] and acety| propiony] were safe for their intended use;

d. Failing to acquire anid maintain the knowledge of an expert to manufacture, produce,
process, promote, formulate, create, develop, design, sell, distribute, and/or supply its
products free from defects and/or latent defects;

e. Failing to disclose and/or adequately warm of product defects and/or bazards, which duty
continued even after the sale of said diacetyl and acety! propiony};

f. Failing to provide adequate instructions, guidelines, and safety precautions to those whom
it was reasonably foreseeable would use diacetyl and acetyl propiony!;

g. Failing to disclose and inform users that there were alternative products or designs;

h. Representing that diacety} and acetyl propiony! were safe for its intended use when in fact,
Indirect Supplier Defendants knew and/or should have known the product was not safe for
its intended purposes; and/or

i, Continuing to manufacture and sell diacetyl and acetyl propiony! with the knowledge that
diacetyl and acetyl propiony! were unsafe and dangerous;

J. Failing to recall or retrofit diacety! and acetyl propiony! after it was sold.

k. Failing to comply with 29 CFR 1910.1200 regarding hazard communications in its safety
data sheets and otherwise, failing to evaluate the chemicals it supplied to Direct Supplier
Defendants and Wise,; failing to monitor the medical and scientific literature, failing to
include hazard information that it knew or should have known in its safety data sheets and/or

-, container labeling that were transmitted to Indirect Supplier Defendants and Wise, failing
to transmit safety data sheets and/or container labeling to Indirect Supplier Defendants and

Wise, failing to timely update the safety data sheets and/or container labeling it sent to
Indirect Supplier Defendants and Wise, and in other ways.

133. Indirect Supplier Defendants failed to use due care under the circumstances and was
thereby negligent in the performance of its duties Lo the Plaintiff.

134. The diacetyl and acetyl propionyl were used by the Plaintiff in a way that was reasonably
foreseeable and intended by Indirect Supplier Defendants. The products containing diacetyl and acetyl
propiony! were unsafe for the use for which they were intended, The products were unsafe because they
were in a condition that permitted the release of vapors and fumes of toxins capable of causing respiratory
injuries to workers exposed to those fumes and were not accompanied by adequate warnings.

135. It would have been economically feasible for Indirect Supplier Defendants to reduce the

risk of harm by manufacturing an altpmative product or design.

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136. As a proximate result of the condition of the diacetyl and acetyl propionyl and Plaintiff's
exposure to the diacetyl and acetyl ptopionyl, the Plaintiff suffered respiratory injuries, endured pain and
suffered, incurred necessary medical expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgment ageinst Indirect Supplier Defendants in excess of

$50,000.00, casts of this suit, and any, other relief which this Court may deem appropriate.

 

Respectfully Submitted,
McELDREW YOUNG
DATE: September 6, 2019 JAMES J. McELDREW, Il, Esquire

DANIEL PURTELL, Esquire
LAUREN C. FANTINI, Esquire
Attomeys for Plaintiff

32
Case 11): 190900703
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 60 of 190

MERIFICATION

Terry Bethman Verifies that she is fhq Plaintiff herein, and that the faots set forth in the foregoing
Complaint are true and correct to the pest of her knowledge, information and belief. The
undersigned understands that false stftements herein are made subject to the penalties of 18 Pa.

C.S. Section 4904 relating to unsworf falsification to authorities.

flikteg/ te

Dutes:_ Seed 06, 40/9 :

 

Case 1D: 190900703
T/Tiaseg SaBSShSSTet el wold GTI6Q B1Ge-3H-das
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 61 of 190

EXHIBIT B
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 62 of 190

Court of Common Pleas of Philadelphia County
Trial Division

Civil Cover Sheet

 

 

 

 

 

PLAINTIFF'S NAME DEFENDANT'S NAME

TERRY BETHMAN BELL FLAVORS AND FRAGRANCES, INC
PLAINTIFF'S ADDRESS DEFENDANT'S ADDRESS

1139 W. FRONT STREET 500 ACADEMY DRIVE

BERWICK PA 18603 NORTHBROOK IL 60062
PLAINTIFF'S NAME DEFENDANT'S NAME

FIRST CHOICE INGREDIENTS, INC.

PLAINTIFF'S ADDRESS

DEFENDANT'S ADDRESS
c/o T

HOMAS J. ATKINSON N11i2 W. 19528 MEQUON
ROAD

GERMANTOWN WI 53022

 

 

 

 

 

 

PLAINTIFF'S NAME DEFENDANT'S NAME
THERMO FISHER SCIENTIFIC, INC

PLAINTIFF'S ADDRESS DEFENDANT'S ADDRESS
1601 CHERRY STREET
PHILADELPHIA PA 19102

TOTAL NUMBER OF PLAINTIFFS TOTAL NUMBER OF DEFENDANTS COMMENCEMENT OF ACTION

1 25. t ve Complaint -" 71 Petition Action [J] Notice of Appeal
ao 4 : i¢ of Summons __ [2] Transfer From Other Jurisdictions

 

 

 

 

 

 

AMOUNT IN CONTROVERSY COURT PROGRAMS
oO C1 Arbitration
$50,000.00 or less Bd tury
EX] More than $50,000.00 C] NonJuryes,
(1 other: Bede

   
 

[7] Settlement
[ Minors
C1 w//survival

S : = “Commerce
a8 CJ Minor Court Appeal
S _E2: statutory Appeals

 

 

 

 

 

 

 

CASE TYPE AND CODE
2P - PRODUCT LIABILITY

 

 

 

STATUTORY BASIS FOR CAUSE OF ACTION

 

 

 

 

 

 

 

 

 

 

RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER) FILER IS CASE SUBJECT TO
- COORDINATION ORDER?
PRO PROTHY YES NO
SEP 06 2019
A. SILIGRINI
TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: TERRY _BETHMAN
Papers may be served at the address set forth below.
NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY ADDRESS
JAMES J. MCELDREW MCELDREW YOUNG
123 SOUTH BROAD STREET
PHONE NUMBER FAX NUMBER SUITE 2250
(215) 545-8800 (215) 545-8805 PHILADELPHIA PA 19109
SUPREME COURT IDENTIFICATION NO. E-MAIL ADDRESS
36411 jim@mceldrewyoung.com
SIGNATURE OF FILING ATTORNEY OR PARTY DATE SUBMITTED
JAMES MCELDREW Friday, September 06, 2019, 01:56 pm

 

 

FINAL COPY (Approved by the Prothonotary Clerk)

 
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COMPLETE LIST OF DEFENDANTS:

 

1.

10.

11.

12.

13.

14.

15.

16.

17.

18.

19.

20.

21.

BELL FLAVORS AND FRAGRANCES, INC
500 ACADEMY DRIVE
NORTHBROOK IL 60062
FIRST CHOICE INGREDIENTS, INC.
C/O THOMAS J. ATKINSON N112 W. 19528 MEQUON ROAD
GERMANTOWN WI 53022
THERMO FISHER SCIENTIFIC, INC
1601 CHERRY STREET
PHILADELPHIA PA 19102
GIVAUDAN FLAVORS CORPORATION
CT CORPORATION SYSTEM 4400 EASTON COMMONS WAY SUITE 125
COLUMBUS OH 43219
INTERNATIONAL FLAVORS AND FRAGRANCES, INC.
2595 INTERSTATE DRIVE SUITE 103
HARRISBURG PA 17110
KERRY, INC.
C/O CT CORPORATION 116 PINE STREET SUITE 320
HARRISBURG PA 17101
KRAFT HEINZ INGREDIENTS CORPORATION
C/O CT CORPORATION 2001 MARKET STREET 5TH FLOOR
PHILADELPHIA PA 19103
MCCORMICK AND COMPANY, INC.
C/O CSC-LAWYER INCORPORATING SERVICE COMPANY 7 ST. PAUL ST., SUITE 820
BALTIMORE MD 21202
ROHA U.S.A., L.L.C
C/O SPENSERV, INC. 1 N. BRENTWOOD BLVD. SUITE 1000
ST. LOUIS MO 63105
SENSIENT COLORS LLC
C/O CT CORPORATION SYSTEM 301 S. BEDORD STREET SUITE 1
MADISON WI 53703
SENSIENT TECHNOLOGIES CORPORATION
C/O CT CORPORATION 2001 MARKET STREET 5TH FLOOR
PHILADELPHIA PA 19103
UNIVAR USA, INC.
C/O CT CORPORATION SYSTEMS 116 PINE STREET SUITE 320
HARRISBURG PA 17101
BERJE, INC.
C/O KIM BLEIMANN 700 BLAIR ROAD
CARTERET NJ 07008
CITRUS & ALLIED ESSENCES, LTD
65 S. TYSON AVENUE
FLORAL PARK NY 11001
ELAN CHEMICAL CO. INC.
C/O JOCELYN MANSHIP 268 DOREMUS AVENUE
NEWARK NJ 07105
O'LAUGHLIN INDUSTRIES
150 MORRIS AVENUE SUITE 207
SPRINGFIELD NJ 07081
PHOENIX AROMAS AND ESSENTIAL OILS HOLDINGS, INC.
17 ALGONQUIN CIRCLE
ATRMONT NY 10952-5231
EMORAL, INC. F/K/A POLAROME INTERNATIONAL, INC.
200 THEODORE CONRAD DRIVE
JERSEY CITY NJ 07305
CENTROME, INC.
ALIAS: ADVANCED BIOTECH
10 TAFT ROAD
TOTOWA NJ 07512
FLAVOR CONSULTANTS, INC.
2875 COLEMAN STREET
NORTH LAS VEGAS NV 89032
PENTA INTERNATIONAL CORPORATION
C/O GRACE VOLPE 50 OKNER PARKWAY
22.

23.

24.

25.

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LIVINGSTON NJ 07039

JOHN DOES 1-10
UNKNOWN
UNKNOWN PA 19109
JANE DOES 1-10
UNKNOWN
UNKNOWN PA 19109
ABC PARTNERSHIPS 1-10
UNKNOWN
UNKNOWN PA 19109
XYZ CORPORATIONS/BUSINESS ENTITIES 1-10
UNKNOWN
UNKNOWN PA 19109
Case 2:19-cv-04735-GEKP

McELDREW YOUNG

James J. McEldrew, HI, Esquire
Daniel Purtell, Esquire

Lauren Fantini, Esquire
36411/310376/93862

123 South Broad Street, Suite 2250
Philadelphia, PA 19109

(215) 545-8800

jim@mceeldrewyoung.com

lfantini@mceldrewyoung.com

Document 1 Filed 10/11/19 Page 65 of 190

THIS IS A MAJOR JURY MATTER?! 24
Office

06 §

Attomeys for Plaintiffs

 

 

TERRY BETHMAN
1139 W. Front Street
Berwick, PA 18603
Plaintiff,

|
dpurtell@mceldrewyoung.com
|
Vv.

i

BELL FLAVORS AND FRAGRANCES, INC.

500 Academy Drive :
Northbrook, IL 60062

And

FIRST CHOICE INGREDIENTS, INC.
c/o Thomas J. Atkinson

N112 W 19528 Mequon Rd.

Germantown, WI 53022

And

THERMO FISHER SCIENTIFIC, INC.
1601 Cherry St.
Philadelphia, PA 19102
And . |
GIVAUDAN FLAVORS CORPORATION
CT Corporation System

4400 Easton Commons Way

Suite 125

Columbus, OH 43219

And
INTERNATIONAL FLAVORS AND:
FRAGRANCES, INC.
2595 Interstate Dr.

Suite 103

Harrisburg, PA 17110

And

KERRY, INC.

clo CT Corporation

116 Pine Street

Suite 320

Harrisburg, PA 17101 :
And
KRAFT HEINZ INGREDIENTS CORP i
c/o CT Corporation :
2001 Market Street

5% Floor

Philadelphia, PA 19103
And |
MCCORMICK AND COMPANY, INC.

PHILADELPHIA COUNTY

SEPTEMBER TERM
NO.:

JURY TRIAL DEMANDED

 

IN THE COURT OF COMMON PLEAS

 

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Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 66 of 190

c/o CSC-Lawyers Incorporating Service Company
7 St. Paul St.
Suite 820

Baltimore MD 21202
And

ROHA U.S.A., L.L.C.
c/o Spenserv, Inc.

1 N. Brentwood Blvd
Suite 1000

St. Louis, MO 63105

And |
SENSIENT COLORS LLC

c/o CT Corporation System

301 S. Bedord St.

Suite 1

Madison WI 53703 |

And |
SENSIENT TECHNOLOGIES CORPORATION
c/o CT Corporation ,

2001 Market Street

5% Floor i
Philadelphia, PA 19103

And |
UNIVAR USA, INC.

c/o CT Corporation Systems

116 Pine Street

Suite 320
Harrisburg, PA 17101

And

BERJE, INC.

c/o Kim Bleimann

700 Blair Road

Carteret, NJ 07008.

And |
CITRUS & ALLIED ESSENCES, LTD. |

65 S. Tyson Ave.

Floral Park, NY 11001

And

ELAN CHEMICAL CO., INC,

c/o Jocelyn Manship

268 Doremus Ave.

Newark, NJ 07105

And

O’ LAUGHLIN INDUSTRIES

150 Morris Ave., Ste. 207
Springfield, NJ 07081 |

And
PHOENIX AROMAS AND ESSENTIAL OILS
HOLDINGS, Inc.

17 Algonquin Circle
Airmont, New York, 10952-5231

And

EMORAL, INC. F/K/A POLAROME
INTERNATIONAL, INC.
200 Theodore Conrad Dr.

Jersey City, NJ 07305

 

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And

CENTROME, INC. D/B/A ADVANCED BIOTECH

10 Taft Road

Totowa, NJ 07512

And

FLAVOR CONSULTANTS, INC.

2875 Coleman Street

North Las Vegas, NV 89032

And

PENTA INTERNATIONAL CORPORATION

c/o Grace Volpe |

50 Okner Parkway

Livingston, NJ 07039

And

JOHN DOES 1-10

And

JANE DOES 1-10

And

ABC PARTNERSHIPS 1-10

And

XYZ CORPORATIONS/BUSINESS ENTITIES 1-10
Defendants.

 

 

‘NOTICE TO DEFEND

NOTICE

You have been sued in court. If you wish to defend against the
claims set forth in the following pages, you must take action within
twenty (20) days after this complaint and notice are served, by
entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims
set forth against you. You are warned that if you fail to do so the
case may proceed witheut you and a judgment. may be entered
against you by the court without further notice for any money
claimed in the complaint of for any other claim or relief requested
by the plaintiff. You may lose money or property or other rights
important to you.

You should take this paper to your lawyer at once. If you do not have
a lawyer or cannot afford one, go to or telephone the office set forth
below to find out where you can get legal help.

Philadelphia Bar Association
Lawyer Referral
and Information Service
One Reading Center
Philadelphia, Pennsylvania 19107
(215) 238-6333
TTY (215) 451-6197

 

 

AVISO

Le han demandado a usted en la corte. Si usted quiere defenderse
de estas demandas expuestas en las paginas siguientes, usted tiene
veinte (20) dias de plazo al partir de la fecha de la demanda y la
notificacion. Hace falta ascentar una comparencia escrita o en
persona o con un abogado y entregar a la corte en forma escrita
sus defensas o sus objeciones a las demandas en contra de su
persona. Sea avisado que si usted no se defiende, la corte tomara
medidas y puede continuar Ia demanda en contra suya sin previo
aviso o notificacion. Ademas, la corte puede decider a favor del
demandante y requiere que usted cumpla con todas las provisiones
de esta demanda. Usted puede perder dinero o sus propiedades u
otros derechos importantes para usted.

Lieve esta demanda a un abogado immediatamente. Si no tiene
abogado o si no tiene el dinero suficiente de pagar tal servicie. Vaya
en persona o flame por telefono a la oficina cuya direccion se
encuentra escrita abajo para averiguar donde se puede conseguir
asistencia legal,

Asociacion De Licenciados De Filadelfia
Servicio De Referencia E
Informacion Legal
One Reading Center
Filadelfia, Pennsylvania 19107
(218) 238-6333
TTY (215) 451-6197

 

Case ID: 190900703

 
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McELDREW YOUNG THIS IS AMAJOR JURY MATTER
James J. McEldrew, III, Esquire

Daniel Purtell, Esquire

Lauren Fantini, Esquire

3641 1/310376/93862

123 South Broad Street, Suite 2250

Philadelphia, PA 19109

(215) 545-8800

jim@mceldrewyoung.com

dpurtell@mceldrewyoung.com

 

lfantini@mceldrewyoung.com Attorneys for Plaintiffs
TERRY BETHMAN : COURT OF COMMON PLEAS -
1139 W. Front Street : PHILADELPHIA COUNTY
Berwick, PA 18603 , :
: SEPTEMBER TERM, 2019

: Plaintiff, : No.:
Vv. | .

JURY TRIAL DEMANDED
BELL FLAVORS AND FRAGRANCES, INC.
500 Academy Drive |
Northbrook, IL 60062
And

FIRST CHOICE INGREDIENTS, INC.
c/o Thomas J. Atkinson
_N112 W 19528 Mequon Rd.
Germantown, WI 53022 |
And
THERMO FISHER SCIENTIFIC, INC.
1601 Cherry St. |
Philadelphia, PA 19102
And
GIVAUDAN FLAVORS CORPORATION
CT Corporation System
4400 Easton Commons Way
Suite 125
Columbus, OH 43219
And
INTERNATIONAL FLAVORS AND
FRAGRANCES, INC.
2595 Interstate Dr.
Suite 103
Harrisburg, PA 17110
And
KERRY, INC.
c/o CT Corporation
116 Pine Street
Suite 320
Harrisburg, PA 17101

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Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 69 of 190

|
|
And
KRAFT HEINZ INGREDIENTS CORP
c/o CT Corporation
2001 Market Street
5% Floor |
Philadelphia, PA 19109
And
MCCORMICK AND COMPANY, INC.
c/o CSC-Lawyers Incorporating Service Company
7 St. Paul St.
Suite 820
Baltimore MD 21202
And
ROHA U:S.A., L.L.C.
c/o Spenserv, Inc.
1 N. Brentwood Blvd |
Suite 1000
St. Louis, MO 63105
And
SENSIENT COLORS LLC
c/o CT Corporation System |
301 S. Bedord St.
Suite 1
Madison WI 53703
And
SENSIENT TECHNOLOGIES CORPORATION
c/o CT Corporation
2001 Market Street
5" Floor
Philadelphia, PA 19103
And
UNIVAR USA, INC. |
c/o CT Corporation Systems
116 Pine Street
Suite 320
Harrisburg, PA 17101
And
BERJE, INC,
c/o Kim Bleimann
700 Blair Road
Carteret, NJ 07008.
And
CITRUS & ALLIED ESSENCES, Lt
65 S. Tyson Ave.
Floral Park, NY 11001
And
ELAN CHEMICAL Co., INC.
c/o Jocelyn Manship
268 Doremus Ave. |
Newark, NJ 07105
And

Case ID: 190900703
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19

O’LAUGHLIN INDUSTRIES
150 Morris Ave., Ste. 207
Springfield, NJ 07081

And

PHOENIX AROMAS AND ESSENTIAL OILS
HOLDINGS, Inc.

17 Algonquin Circle

Airmont, New York, 10952-5231
And

EMORAL, INC. F/K/A POLAROME
INTERNATIONAL, INC. |

200 Theodore Conrad Dr. |

Jersey City, NJ 07305 :

And

CENTROME, INC. D/B/A ADVANCED BIOTECH
10 Taft Road

Totowa, NJ 07512

And

FLAVOR CONSULTANTS, INC.

2875 Coleman Street

North Las Vegas, NV 89032

And

PENTA INTERNATIONAL CORPORATION

c/o Grace Volpe

50 Okner Parkway

Livingston, NJ 07039

And

JOHN DOES 1-10

And

JANE DOES 1-10

And

ABC PARTNERSHIPS 1-10

And

XYZ CORPORATIONS/BUSINESS ENTITIES 1-1

 

Defendants.

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COMPLAINT

Plaintiff Terry Bethman, residing at the above captioned address, by way of Complaint and Jury

Demand against each of the above captioned Defendants, individually and collectively, alleges and states

as follows:

1. Plaintiff Terry Bethman is an adult individual that resides at 1139 W. Front Street, Berwick,

PA 18603.

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2. Plaintiff was, all timnes relevant to this Complaint, employed by Wise Foods, Inc.
(hereinafter “Wise”). Plaintiff worked for Wise from 1983 to the present. During the course of Plaintiff's
employment at Wise, Plaintiff was exposed to diacetyl and acetyl propiony].

3. Defendant Bell Flavors and Fragrances is an Illinois corporation with its principal place of
business in Northbrook, Illinois. At all times relevant hereto, Bell Flavors and Fragrances was doing
business in Pennsylvania. Bell Flavors and Fragrances was in the chain of distribution of the diacetyl and
acetyl propionyl that injured Plaintiff. More specifically, Bell Flavors and Fragrances purchased raw
diacetyl and acetyl propionyl and flavoring formulations containing diacetyl and acetyl propionyl from its
co-defendants and possibly others. Bell Flavors and Fragrances then formulated the diacetyl and acetyl
propiony] and the flavoring formulations containing diacetyl and acetyl propiony] into flavoring blends and
supplied them to Wise. The timing and nature of the exact products Bell Flavors and Fragrances supplied
to Wise appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum

Bell Flavors and Fragrances supplied to Wise diacetyl-containing flavor blends. Plaintiff does not know the

|

full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations, Bell
Flavors and Fragrances supplied to Wise. This information will be revealed in discovery.

4. Defendant First Choice Ingredients, Inc. is a Wisconsin corporation with a principal place
of business in Wisconsin. First Choice Ingredients, Inc. was doing business in Pennsylvania. First Choice
Ingredients was in the chain of distribution of the diacetyl and acetyl propiony] that injured Plaintiff. More
specifically, First Choice Ingredient purchased raw diacetyl and acetyl propionyl and flavoring
formulations containing diacetyl and acetyl propionyl from its co-defendants and possibly others. First
Choice Ingredients then formulated the diacetyl and acetyl propionyl and the flavoring formulations
containing diacetyl and acetyl propionyl into flavoring blends and supplied them to Wise. The timing and
nature of the exact products First Choice Ingredients supplied to Wise appear to be closely guarded trade
secrets. Nonetheless, Plaintiff has ascertained that at a minimum First Choice Ingredients supplied to Wise
diacetyl-containing flavor blends. Plaintiff does not know the full names and timing of all diacetyl and

acetyl propionyl, whether in raw form or in formulations, First Choice Ingredients supplied to Wise. This

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Case ID: 190900703
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 72 of 190

information will be revealed in discovery.
I

5. Defendant Thermo Fisher Scientific, Inc. is a Delaware corporation. Thermo Fisher
Scientific, Inc. has its principal place of business in Philadelphia, Pennsylvania. Thermo Fisher Scientific,
Inc. maintains a registered agent in Dauphin County, Pennsylvania at the address set forth above. At all
times relevant hereto, Thermo Fisher Scientific, Inc. was doing business in Pennsylvania. Thermo Fisher
Scientific, Inc. was in the chain of distribution of the diacetyl and acetyl propionyl that injured Plaintiff.
More specifically, Thermo Fisher Scientific, Inc. purchased raw diacetyl and acetyl propionyl and flavoring
formulations containing diacetyl and acetyl propiony] from its co-defendants and possibly others. Thermo
Fisher Scientific, Inc. then formulated the diacetyl and acetyl propionyl and the flavoring formulations
containing diacetyl and acetyl propionyl into flavoring blends and supplied them to Wise. The timing and
nature of the exact products Thermo Fisher Scientific, Inc. supplied to Wise appear to be closely guarded
trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Thermo Fisher Scientific, Inc.
supplied to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names and timing of all
diacetyl and acetyl propionyl, whether in raw form or in formulations, Thermo Fisher Scientific, Inc.
supplied to Wise. This information will be revealed in discovery.

6. Givaudan Flavors Corporation (““Givaudan”) is a Delaware corporation with its principal
place of business in Cincinnati, Ohio, At all times relevant hereto, Givaudan Flavors Corporation was
doing business in Pennsylvania. Givaudan was in the chain of distribution of the diacetyl and acetyl
propiony] that injured Plaintiff. More specifically, Givaudan purchased raw diacetyl and acetyl propionyl
and flavoring formulations containing diacetyl and acetyl propionyl from its co-defendants and possibly
others. Givaudan then formulated the diacetyl and acetyl propionyl and the flavoring formulations
containing diacetyl and acetyl propionyl into flavoring blends and supplied them to Wise. The timing and
nature of the exact products Givaudan supplied to Wise appear to be closely guarded trade secrets.
Nonetheless, Plaintiff has ascertained that at a minimum Givaudan supplied to Wise diacetyl-containing

flavor blends. Plaintiff does not know the full names and timing of all diacetyl and acetyl propionyl, whether

in raw form or in formulations, Givaudan supplied to Wise. This information will be revealed in discovery.

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Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 73 of 190

7. Defendant International Flavors and Fragrances, Inc. is a New York corporation with its
principle place of business in New York, New York. International Flavors and Fragrances, Inc. maintains
a registered agent in Dauphin County, Pennsylvania at the address set forth above. At all relevant times,
International Flavors was doing business in Pennsylvania. International Flavors maintains a registered agent
in Pennsylvania. International Flavors and Fragrances, Inc. was in the chain of distribution of the diacetyl

and acetyl propionyl that injured Plaintiff. More specifically, International Flavors and Fragrances, Inc.

 

purchased raw diacetyl and acetyl propionyl and flavoring formulations containing diacetyl and acetyl
propionyl from its co-defendants and possibly others. International Flavors and Fragrances, Inc. then
formulated the diacetyl and acetyl propionyl and the flavoring formulations containing diacetyl and acetyl
propiony] into flavoring blends and supplied them to Wise. The timing and nature of the exact products
International Flavors and Fragrances, Inc. supplied to Wise appear to be closely guarded trade secrets.
Nonetheless, Plaintiff has ascertained that at a minimum International Flavors and Fragrances, Inc. supplied
to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names and timing of all diacetyl
and acetyl propionyl, whether in raw form or in formulations, International Flavors and Fragrances, Inc.
supplied to Wise. This information will be revealed in discovery.

8. Defendant Kerry, Ine, is a Delaware corporation with its principal place of business in
Illinois. Kerry, Inc. maintains a registered agent in Dauphin County, Pennsylvania. At all times relevant
hereto, Kerry, Inc., was doing business in Pennsylvania. Kerry, Inc. was in the chain of distribution of the
diacetyl and acetyl propionyl that bie Plaintiff. More specifically, Kerry, Inc. purchased raw diacetyl
and acetyl propiony] and flavoring formulations containing diacetyl and acetyl propionyl from its co-
defendants and possibly others. Kerry, Inc. then formulated the diacetyl and acetyl propionyl and the
flavoring formulations containing diacetyl and acetyl propionyl into flavoring blends and supplied them to
Wise. The timing and nature of the exact Kerry, Inc. supplied to Wise appear to be closely guarded trade
secrets. Nonetheless, Plaintiff has ascertained that at a minimum Kerry, Inc. supplied to Wise diacetyl-
containing flavor blends. Plaintiff does not know the full names and timing of all diacetyl and acetyl

propionyl, whether in raw form or in formulations, Kerry, Inc. supplied to Wise. This information will be

6
Case ID: 190900703

 
Case 2:19-cv-04735-GEKP Document1 Filed 10/11/19 Page 74 of 190

revealed in discovery.

9. Defendant Kraft Heinz Ingredients Corp. is a Delaware corporation with its principal place
of business in Pittsburgh, PA. Kraft Heinz Ingredients Corp. maintains a registered agent in Philadelphia,
Pennsylvania. At all times relevant) hereto, Kraft Heinz Ingredients Corp. was doing business in

Pennsylvania. Kraft Heinz Ingredients Corp. was in the chain of distribution of the diacetyl and acetyl

 

propionyl that injured Plaintiff. More specifically, Kraft Heinz Ingredients Corp. purchased raw diacetyl
and acetyl propionyl and flavoring formulations containing diacetyl and acetyl propionyl from its co-
defendants and possibly others. Kraft Heinz Ingredients Corp. then formulated the diacetyl and acetyl
propiony] and the flavoring formulations containing diacetyl and acetyl propionyl into flavoring blends and
supplied them to Wise. The timing and nature of the exact Kraft Food Ingredients supplied to Wise appear
to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Kraft Heinz
Ingredients Corp. supplied to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names
and timing of all diacetyl and acetyl] propionyl, whether in raw form or in formulations, Kraft Heinz
Ingredients Corp. supplied to Wise. This information will be revealed in discovery.

10. Defendant McCormick & Company, Inc. is a Maryland corporation with its principal place
of business in Sparks, Maryland. At all times relevant hereto, McCormick & Company, Inc. was doing
business in Pennsylvania. MeCormick and Company, Inc. was in the chain of distribution of the diacetyl
and acetyl propionyl that injured Plaintiff. More specifically, McCormick and Company, Inc. purchased
raw diacetyl and acetyl propionyl and flavoring formulations containing diacetyl and acetyl propiony] from
its co-defendants and possibly others.| McCormick and Company, Inc. then formulated the diacetyl and
acetyl propionyl and the flavoring formulations containing diacetyl and acetyl propionyl into flavoring
blends and supplied them to Wise. The timing and nature of the exact McCormick and Company, Inc.
supplied to Wise appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a
minimum McCormick and Company, Ine. supplied to Wise diacetyl-containing flavor blends. Plaintiff does
not know the full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in

formulations, McCormick and Company, Inc. supplied to Wise. This information will be revealed in

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discovery.

11. Defendant Roha USA, Inc. is a Missouri corporation with its principal place of business in
Missouri. At all times relevant hereto, Roha USA, Inc. was doing business in Pennsylvania. Roha USA,
Inc. was in the chain of distribution of the diacetyl and acetyl propionyl that injured Plaintiff. More
specifically, Roha USA, Inc. purchased raw diacetyl and acetyl propionyl and flavoring formulations
containing diacetyl and acetyl propionyl from its co-defendants and possibly others Roha USA, Inc. then
formulated the diacetyl and acetyl propiony! and the flavoring formulations containing diacetyl and acetyl
propionyl into flavoring blends and supplied them to Wise. The timing and nature of the exact Roha USA,
Inc. supplied to Wise appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that
at a minimum Roha USA, Inc. supplied to Wise diacetyl-containing flavor blends. Plaintiff does not know
the full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations Roha
USA, Inc. supplied to Wise. This information will be revealed in discovery.

12. Defendant Sensient Colors, LLC is a Delaware corporation with a principal place of
._ business in Missouri. At all times relevant hereto, Sensient Colors, Inc. was doing business in Pennsylvania.
Sensient Colors, Inc. was jin the chain of distribution of the diacetyl and acetyl propionyl that injured
Plaintiff. More specifically, Sensient Colors, Inc. purchased raw diacetyl and acetyl propiony! and flavoring
formulations containing diacetyl and acetyl propionyl from its co-defendants and possibly others Sensient
Colors, Inc. then formulated the diacetyl and acetyl propiony! and the flavoring formulations containing
diacetyl and acetyl propiony] into flavoring blends and supplied them to Wise. The timing and nature of the
exact Sensient Colors, Inc. supplied to Wise appear to be closely guarded trade secrets. Nonetheless,

Plaintiff has ascertained that at a minimum Sensient Colors, Inc. supplied to Wise diacetyl-containing flavor

 

blends. Plaintiff does not know the full names and timing of all diacetyl and acetyl propionyl, whether in

raw form or in formulations Sensient Colors, Inc. supplied to Wise. This information will be revealed in
discovery.
13. Defendant Sensient Technologies Corporation is a Wisconsin corporation with its principal

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place of business in Milwaukee, Wisconsin. Sensient Technologies Corporation is registered to do business

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in Pennsylvania and has a registered address in Philadelphia, Pennsylvania. At all times relevant hereto,
Sensient Technologies Corporation was doing business in Pennsylvania. Sensient Technologies
Corporation was in the chain of distribution of the diacetyl and acetyl propiony! that injured Plaintiff. More
specifically, Sensient Technologies Corporation purchased raw diacetyl and acetyl propionyl and flavoring
formulations containing diacetyl and acetyl propionyl from its co-defendants and possibly others Sensient
Technologies Corporation then formulated the diacetyl and acetyl propionyl and the flavoring formulations
containing diacetyl and acetyl propionyl into flavoring blends and supplied them to Wise. The timing and
nature of the exact Sensient Technologies Corporation supplied to Wise appear to be closely guarded trade
secrets. Nonetheless, Plaintiff has ascertained that at a minimum Sensient Technologies Corporation
supplied to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names and timing of all
diacetyl and acetyl propionyl, whether in raw form or in formulations Sensient Technologies Corporation
supplied to Wise. This information will be revealed in discovery.

14. Defendant Univar USA, INC. is a Washington corporation, with its principal place of
business in Redmond, Washington. Univar USA, INC. is registered in the Commonwealth of Pennsylvania
to do business and has a registered address in Dauphin County, Pennsylvania. At all times relevant hereto,
Univar USA, INC. was doing business in Pennsylvania. Univar USA, INC. was in the chain of distribution
of the diacetyl and acetyl propionyl that injured Plaintiff. More specifically, Univar USA, INC. purchased
raw diacetyl and acetyl] propionyl and flavoring formulations containing diacetyl and acetyl propionyl from
its co-defendants and possibly others Waivar USA, INC. then formulated the diacetyl and acetyl propionyl
and the flavoring formulations containing diacetyl and acetyl propiony] into flavoring blends and supplied
them to Wise. The timing and nature of the exact Univar USA, INC. supplied to Wise appear to be closely
guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Univar USA, INC. supplied

to Wise diacetyl-containing flavor blends. Plaintiff does not know the full names and timing of all diacetyl

and acetyl propionyl, whether in raw iform or in formulations Univar USA, INC. supplied to Wise. This

information will be revealed in discovery.

15. Defendants Bell Flavors and Fragrances; First Choice Ingredients; Thermo Fisher

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Scientific, Inc.; Givaudan Flavors Corporation; International Flavors and Fragrances, Inc.; Kerry, Inc.;
Kraft Heinz Ingredients Corp.; McCormack and Company, Inc.; Roha USA, Inc.; Sensient Colors, Inc.;
Sensient Technologies Corporation and Univar USA, INC. are direct suppliers of diacetyl and acetyl
propionyl to Wise; and shall be referred to, collectively, herein as “Direct Supplier Defendants”.

16. Defendant Berje, Inc, was and is a New York corporation with its principal place of
business in New Jersey, At all relevant times, Berje, Inc. was doing business in Pennsylvania. Berje, Inc.
was in the chain of distribution of the diacetyl and acetyl propionyl that injured Plaintiff. The timing and
nature of the exact products Berje, Ine! supplied to Direct Supplier Defendants appear to be closely guarded
trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Berje, Inc. supplied raw diacetyl and
raw acetyl propionyl to Direct Supplier Defendants. Direct Supplier Defendants then formulated Berje,
Inc.’s diacetyl and acetyl propiony] into flavoring products and supplied them to Wise. Plaintiff does not
know the full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations,
Berje, Inc. supplied to Direct Supplier Defendants. This information will be revealed in discovery.

17. Defendant Citrus and Allied Essences, LTD. is a New York corporation with a principal
place of business in New York. At all relevant times, Citrus was doing business in Pennsylvania. Citrus

was in the chain of distribution of the|diacetyl and acetyl propiony] that injured Plaintiff. The timing and

 

nature of the exact products Citrus supplied to Direct Supplier Defendants appear to be closely guarded

trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Citrus supplied raw diacetyl and raw

acetyl propionyl to Direct Supplier Defendants. Direct Supplier Defendants then formulated Citrus’ diacetyl

 

and acetyl propionyl into flavoring products and supplied them to Wise. Plaintiff does not know the full
names and timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations, Citrus
supplied to Direct Supplier Defendants This information will be revealed in discovery.

18. Defendant Elan Chemical Co., Inc. is a New Jersey Corporation with a principal place of
business in New Jersey. At all times relevant hereto, Elan Chemical Co., Inc. was doing business in
Pennsylvania. Elan Chemical Co., Inc.|was in the chain of distribution of the diacetyl and acetyl propionyl

that injured Plaintiff. The timing and nature of the exact products Elan Chemical Co., Inc. supplied to Direct

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Supplier Defendants appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that
at a minimum Elan Chemical Co., Inc. supplied raw diacetyl and raw acetyl propionyl to Direct Supplier
Defendants. Direct Supplier Defendants then formulated Elan Chemical Co., Inc.’s flavorings containing
diacetyl and acetyl propionyl into flavoring products and supplied them to Wise. Plaintiff does not know
the full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations, Elan
Chemical Co., Inc. supplied to Direct Supplier Defendants . This information will be revealed in discovery.

19. Defendant O’Laughlin Industries is a New Jersey Corporation with a principal place of
business in New Jersey. At all times relevant hereto, O’Laughlin Industries as doing business in
Pennsylvania. O’Laughlin Industries yas in the chain of distribution of the diacetyl and acetyl propionyl
that injured Plaintiff. The timing and thature of the exact products O’Laughlin Industries supplied to Direct
Supplier Defendants and Wise apport to be closely guarded trade secrets. Nonetheless, Plaintiff has
ascertained that at a minimum, O’Laughlin Industries supplied raw diacetyl and raw acetyl propionyl to
Direct Supplier Defendants. Direct Supplier Defendants then formulated O’Laughlin Industries’ flavoring
into flavoring products and supplied them to Wise. Plaintiff does not know the full names and timing of all
diacetyl and acetyl propionyl, whether in raw form or in formulations, O’ Laughlin Industries supplied to
Direct Supplier Defendants. This information will be revealed in discovery.

20. Defendant Phoenix Aromas and Essential Oils Holdings, Inc. is a New York corporation

with a principal place of business in Norwood, New Jersey. At all times relevant hereto, Phoenix Aromas
and Essential Oils was doing business in Pennsylvania. Phoenix Aromas and Essential Oils was in the chain
of distribution of the diacetyl and acetyl propionyl that injured Plaintiff. The timing and nature of the exact
products Phoenix Aromas and Essential Oils supplied to Direct Supplier Defendants appear to be closely
guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Phoenix Aromas and
Essential Oils supplied raw diacetyl and raw acetyl propionyl to Direct Supplier Defendants. Direct Supplier
Defendants then formulated Phoenix Aromas and Essential Oils diacetyl and acetyl propiony] into flavoring

products and supplied them to Wise. Plaintiff does not know the full names and timing of all diacetyl and

acetyl propionyl, whether in raw form or in formulations, Phoenix Aromas and Essential Oils supplied to

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Direct Supplier Defendants. This information will be revealed in discovery.

2i. Defendant Emoral Inc., f/k/a Polarome International, Inc. is a New York Corporation with
its principal place of business in New Jersey. At all times relevant hereto, Emoral Inc., f/k/a Polarome
International, Inc. was doing business \ Pennsylvania. Emoral Inc., f/k/a Polarome International, Inc. was
in the chain of distribution of the diacetyl and acetyl propiony] that injured Plaintiff. The timing and nature
of the exact products Emoral Inc., fla Polarome International, Inc. supplied to Direct Supplier Defendants
appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a minimum Emoral
Inc., f/k/a Polarome International, Inc. supplied raw diacetyl and raw acetyl propionyl to Direct Supplier
Defendants. Direct Supplier Defendants then formulated Emoral Inc., f/k/a Polarome International, Inc.
diacetyl and acetyl propionyl into flavoring products and supplied them to Wise. Plaintiff does not know
the full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations,
Emoral Inc., f/k/a Polarome International, Inc. supplied to Direct Supplier Defendants. This information
will be revealed in discovery. |

22. Defendant Centrome, Inc. d/b/a Advanced Biotech is a New Jersey corporation with its
principal place of business in New J ersey. “At all relevant times, Centrome, Inc. d/b/a Advanced Biotech
was doing business in Pennsylvania. Centrome, Inc. d/b/a Advanced Biotech’s principal place of business
is in Totowa, NJ. Centrome, Inc. d/b/a Advanced Biotech was in the chain of distribution of the diacetyl
and acetyl propionyl that injured. Plaintiff. The timing and nature of the exact products Centrome, Inc. d/b/a
Advanced Biotech supplied to Direct Supplier Defendants appear to be closely guarded trade secrets.
Nonetheless, Plaintiff has ascertained that at a minimum Centrome, Inc. d/b/a Advanced Biotech supplied
raw diacetyl and raw acetyl propionyl to Direct Supplier Defendants. Direct Supplier Defendants then
formulated Centrome, Inc. d/b/a Advanced Biotech diacetyl and acetyl propionyl into flavoring products
and supplied them to Wise. Plaintiff does not know the full names and timing of all diacetyl and acetyl
propionyl, whether in raw form or in| formulations, Centrome, Inc. d/b/a Advanced Biotech supplied to
Direct Supplier Defendants. This information will be revealed in discovery.

23. Defendant Flavor Consultants, Inc. is a Nevada corporation with a principal place of

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business in Nevada. At all relevant times, Flavor Consultants, Inc. was doing business in Pennsylvania.
Flavor Consultants, Inc. was in the chain of distribution of the diacetyl and acetyl propiony] that injured
Plaintiff. The timing and nature of the exact products Flavor Consultants, Inc. supplied to Direct Supplier
Defendants appear to be closely guarded trade secrets. Nonetheless, Plaintiff has ascertained that at a
minimum Flavor Consultants, Inc. supplied raw diacetyl and raw acetyl propionyl to Direct Supplier
Defendants. Direct Supplier Defendants then formulated Flavor Consultants, Inc. diacetyl and acetyl
propionyl into flavoring products and supplied them to Wise. Plaintiff does not know the full names and
timing of all diacetyl and acetyl propionyl, whether in raw form or in formulations, Flavor Consultants, Inc.
supplied to Direct Supplier Defendants. This information will be revealed in discovery.

24, Defendant Penta International Corporation is a New Jersey corporation, with its principal
place of business in New Jersey. At al relevant times, Penta International Corporation was doing business
in Pennsylvania. Penta International Corporation was in the chain of distribution of the diacetyl and acetyl
propionyl that injured Plaintiff. The timing and nature of the exact products Penta International Corporation
supplied to Direct Supplier Defendants appear to be closely guarded trade secrets. Nonetheless, Plaintiff
has ascertained that at a minimum Penta International Corporation supplied raw diacetyl and raw acetyl
propionyl to Direct Supplier Defendants. Direct Supplier Defendants then formulated Penta International
Corporation diacetyl and acetyl opi into flavoring products and supplied them to Wise. Plaintiff does
not know the full names and timing of all diacetyl and acetyl propionyl, whether in raw form or in
formulations, Penta International Corporation supplied to Direct Supplier Defendants. This information will
be revealed in discovery.

25. Defendants Berje, Inc.; Citrus & Allied Essentials; Elan Chemical Co., Inc.; O’Laughlin
Industries; Phoenix Aromas and Essential Oils Holdings, Inc.; Emoral Inc., f/k/a Polarome International,
Inc.; Centrome, Inc. d/b/a Advanced Biotech; Flavor Consultants, Inc.; and Penta International Corporation

were indirect suppliers of diacetyl and acetyl propionyl to Wise. These Defendants shall be referred to,

collectively, as “Indirect Supplier Defendants” through this Complaint.

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26. Defendants, John Does (1-10) and Defendants, Jane Does (1-10), fictitious names, the real
names being unknown, are individuals involved with the indirect and/or direct suppliers of diacetyl and/or
acetyl propionyl.

27. Each of the individual Defendants named herein was acting as an agent, servant, or
employee of one or more of the corporate Defendants named herein, thus giving rise to claims of ostensible,
apparent, and/or vicarious liability.

28. Defendants, ABC Companies (1-10) and Defendants, XYZ Corporations/Business Entities
(1-10), fictitious names, the real names being unknown, are corporations or other legal entities involved
with the with the indirect and/or direct suppliers of diacetyl and/or acetyl propiony].

29. At all times relevant hereto, Direct Supplier Defendants acted by and/or through their
agents, servants, employees and/or werkmen.

30. At all times relevant hereto, Indirect Supplier Defendants acted by and/or through their
agents, servants, employees and/or workmen.

31. At all times relevant hereto, Defendants, ABC Companies (1-10) and Defendants, XYZ
Corporations/Business Entities (1-10), acted by and/or through their agents, servants, employees and/or

workmen.

FACTS COMMON TO ALL COUNTS

 

 

32.  Diacetyl and acetyl propionyl are chemical food additives used in the flavor manufacturing
industry.

33.  Diacetyl and acetyl propionyl are severely toxic and poisonous when used independently,
handled, mixed, blended, incorporated: into a finished product, and/or in any manner that allows or creates
exposure to fumes and vapors. |

34. Exposure to diacetyl and acetyl propionyl can cause damage to the respiratory system.

35. It has been known and reported in the flavoring and fragrance industry since at least 1986

when the first civil cases began to be filed that diacetyl exposure causes lung diseases.
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36. In 1993, BASF, a flavor manufacturer utilizing diacetyl in its products, concluded a study
that examined diacetyl’s effect on rats. The BASF study involved the forced inhalation exposure of diacetyl
to three groups of 10 rats over a four-hour period. The first group of rats was forced to inhale low
concentrations of diacetyl, while the second and third groups were forced to inhale moderate and high levels
of diacetyl, respectively. None of the rats exposed to low levels of diacetyl died during the study, while all
of the rats exposed to moderate and high levels died within seven days of exposure. Notably, rats exposed
to moderate and high levels resulted in an abundance of symptoms indicative of respiratory tract injury. The
report was not released to the public, but it was available to the flavoring industry through the Flavor and
Extract Manufacturers Association.

37. In 2002, the National Institute for Occupational Safety and Health (NIOSH), a division of
the Occupational Safety and Health Administration (OSHA) released a paper titled, “Clinical Bronchiolitis
Obliterans in Workers at a Microwave-Popcom Plant.” In the paper, NIOSH concluded that there was a
strong relationship between exposure if diacetyl and airway obstruction.

38. = In 2002, NIOSH ie a paper titled, “Necrosis of Nasal and Airway Epithelium in Rats
Inhaling Vapors of Axtificial Butter Flavoring. ” In that paper, NIOSH concluded that concentrations of butter
flavoring that contained diacety] are damaging to airways.

39. In 2004 the Centers for Disease Control and Prevention (CDC) published NIOSH
publication number 2004-110 titled, “Preventing Lung Disease in Workers Who Use or Make Flavorings.”
The publication warned that workers using flavoring chemicals are particularly susceptible to developing
severe lung diseases. !

40. Since the early 20008 there have been numerous articles published in scientific journals
that relate exposure to diacetyl to severe lung diseases, including, but not limited to bronchiolitis obliterans.

41. Acetyl propiony]l is structurally very similar to diacetyl. Published reports on the toxicity

of acetyl propionyl were first published in abstract form in 2010.

42. A peer-reviewed publication from NIOSH documents that in laboratory studies, acute

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inhalation exposures to acetyl propiony! cause airway epithelial damage that is similar to diacetyl.

43. | Defendants knew or should have known of the hazardous nature, risks, and side effects of
diacetyl and acetyl propiony] both at the time of sale and when Plaintiff was exposed to diacetyl and acetyl
propionyl. |

44. On September 11, 201 8, after undergoing pulmonary testing, Plaintiff was diagnosed with
diacetyl-induced lung disease. Upon undergoing an HRCT, on July 24, 2019, Plaintiff was specifically
diagnosed with Flavoring Related Bronchiolitis Obliterans Syndrome (FRBOS).

45. Before September i, 2018, Plaintiff neither knew nor discovered nor could have known
or discovered that her lung injuries could have been related in any way to her exposure to diacetyl and acetyl
propionyl.

46. Between 1983 and the present, Plaintiff worked at Wise’s facilities located at 228 Raseley
Street, Berwick, PA 18603. Plaintiff worked with and around products containing diacetyl and acetyl
propiony] that Indirect Supplier Defendants supplied to Direct Supplier Defendants or directly to Wise in
the ordinary course of Plaintiff's em loyment and over the course of years regularly, routinely, and
repeatedly inhaled vapors and fumes of diacetyl and acetyl propionyl supplied by Defendants.

| 47. Indirect Supplier Defendants’ diacetyl and acetyl propionyl and flavorings containing
diacetyl and acetyl propionyl were incorporated into the flavoring products by Direct Supplier Defendants.
Direct Supplier Defendants then supplied them to Wise. Plaintiff then worked with and around those
products in the ordinary course of Plaintiff's employment for Wise and regularly, routinely, and repeatedly
over the course of years inhaled vapor, and fumes of diacetyl and acetyl propionyl supplied by Defendants.

48. Asa result of Plainti ie s employment, Plaintiff was exposed to the fumes and vapors of
diacety! and acetyl propionyl. The fumes and vapors entered Plaintiffs lungs.

49. _ Asarresult of repetitive exposure to diacetyl and acetyl propionyl, Plaintiff developed lung

problems.

50. Defendants knew that Plaintiff's continuous exposure could harm Plaintiff. Defendants

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knew there was a high probability Plaintiff would develop lung injuries.

51. At all times relevant to this Complaint, Plaintiff was unaware of the hazards and risks
associated with diacetyl and acetyl propionyl, and that the levels to which Plaintiff was exposed and the
manner in which Plaintiff was exposed could cause permanent lung injury.

52. At all times relevant to this Complaint, Plaintiff used diacetyl and acetyl propionyl in an
intended or reasonably foreseeable way.

FIRST CAUSE OF ACTION
Strict Liability: Manufacturing Defect
(Against DIRECT SUPPLIER DEFENANTS)

53. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

54. Inthe ordinary course of its business, Direct Supplier Defendants designed, manufactured,
labeled, supplied, and distributed, and sold flavoring products containing diacetyl and acetyl propionyl for
use by Wise and supplied those products to Wise.

55. The products Direct Supplier Defendants supplied to Wise were defective in that they were
produced in a substandard condition, |the end products differed from the intended end products, and the
products departed from the intended design. The products were defective because they were in a condition
that permitted the release of vapors and fumes of toxins capable of causing respiratory injuries to workers
exposed to those fumes.

56. The health risks assodiated with Direct Supplier Defendants’ products were not open and
obvious or of a type that is a matter of common knowledge. Direct Supplier Defendants knew or should
have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend
the dangerous condition of the products containing diacetyl and acetyl propionyl.

57, Asaresult of these manufacturing defects, the products were unreasonably dangerous. The

products were dangerous to an extent beyond that which would be contemplated by the ordinary person

who worked with and used the products, with the ordinary knowledge common to the community as to its

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characteristics. Such an ordinary person with such knowledge would not contemplate that exposure to the
products could cause respiratory injuries.

58. The products were in this defective and unreasonably dangerous condition at the time the
products left Direct Supplier Defendants’ control.

59. The products were in this defective and unreasonably dangerous condition when the
Plaintiff was exposed to the products ih the ordinary course of Plaintiff's employment.

60. Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of

 

Plaintiff's employment for Wise and for the purposes for which the products were supplied.

61. As a proximate result of the condition of the products and Plaintiff's exposure to the
products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred necessary medical
expenses, sustained lost earnings, and yas otherwise injured.

WHEREFORE, Plaintiff demands judgment against Direct Supplier Defendants in excess of
$50,000.00, costs of this suit, and any othe relief which this Court may deem appropriate.

SECOND CAUSE OF ACTION
Strict Liability: Design Defect
(Against DIRECT SUPPLIER DEFENDANTS)

62. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

63. —_ Inthe ordinary course of its business, Direct Supplies Defendants designed, manufactured,
labeled, supplied, and distributed, and sold flavoring products containing diacetyl and acetyl propionyl for
use by Wise.

64. The products Direct Supplier Defendants supplied to Wise were defective in one or more

of the following respects:

a. They were more dangerous than an ordinary consumer would expect when used in an
intended or reasonably| foreseeable manner;

b. The foreseeable risks associated with the design or formulation of the products exceeded
the benefits associated with the design or formulation, in that:

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i. The nature and magnitude of the risk of harm associated with the design
or formulation of the products, in light of the intended and reasonably
foresteable uses, modifications, and alterations of diacetyl and acetyl
propionyl, outweighed the intended or actual utility of said designs and
formulations;

ii. Users of the products, including the Plaintiff, would not likely be aware,
whether based on warnings, general knowledge, or otherwise, of the risks
of harm;

iii. It was likely that the design or formulation of the flavorings containing
diacetyl and acetyl propiony! in the products would cause harm in light of
their intended and reasonably foreseeable uses, modifications. and
alterations;

iv. There were no performance or safety advantages associated with the
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esign or formulation of the products; and

Vv. Direct Supplier Defendants possessed both the technical and economic
feasibility of using an alternative design or formulation when the products
left its control.

65. At the time of the design, formulation, manufacture, processing, distribution, sale, and/or
use of Direct Supplier Defendants’ products, the products were defective as designed when put to the use
anticipated by Direct Supplier Defendants due to their capacity to cause respiratory illnesses and diseases.
The products were defective because they were in a condition that permitted the release of vapors and fumes
of toxins capable of causing respiratory injuries to workers exposed to those fumes.

66. As a result of Direct Supplier Defendants’ products’ propensity to cause respiratory
disease, the products were unreasonably dangerous and defective when put to the intended and reasonably
foreseeable use anticipated by Direct Supplier Defendants.

67. The health risks associated with Direct Supplier Defendants’ products were not open and
obvious, or of a type that is a matter of common knowledge. Direct Supplier Defendants knew or should
have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend
the dangerous condition of the products containing diacetyl and acetyl propionyl.

68. = Plaintiff's harm was not caused by an inherent characteristic of Direct Supplier

Defendants’ products that was a generic aspect of the products that could not be eliminated without

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substantially compromising the products’ usefulness or desirability.

69. _A practical and technically feasible alternative design or formulation or packaging was
available for the products that aa have prevented the harm to the Plaintiff without substantially
impairing the usefulness or intended purpose of the products.

70. The products were inthis defective and unreasonably dangerous condition at the time the
products left Direct Supplier Defendants’ control.

71. | The products were in this defective and unreasonably dangerous condition when the
Plaintiff was exposed to the products in the ordinary course of Plaintiff's employment.

72. Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of
Plaintiffs employment for Wise and for the purposes for which the products were supplied.

73. As a proximate a of the condition of the products and Plaintiff's exposure to the
products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred necessary medical
expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Direct Supplier Defendants in excess of
$50,000.00, costs of this suit, and any other relief which this Court may deem appropriate.

THIRD CAUSE OF ACTION

Strict Liability: Failure to Warn

 

(Against DIRECT SUPPLIER DEFENDANT)

74. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

75. Inthe ordinary course of its business, Direct Supplier Defendants designed, manufactured,
labeled, supplied, and distributed, and:sold flavoring products containing diacetyl and acetyl propionyl for
use by Wise. The products were defective because they were in a condition that permitted the release of
vapors and fumes of toxins capable off causing respiratory injuries to workers exposed to those fumes.

76. Direct Supplier Defendants knew or should have known at the time of extracting,

formulating, manufacturing, supplying, distributing, and selling diacetyl and acetyl propionyl that diacetyl

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and acetyl propiony! had risks, such as being hazardous, toxic, poisonous, and knew or should have known
that prolonged use or repeated exposure by the Plaintiff could lead to serious injury or death.

77. Direct Supplier Defendants designed, formulated, manufactured, processed, distributed,
marketed, sold, and supplied diacetyl,and acetyl propionyl without adequate instructions on safe use to
reduce and/or eliminate exposure thereto, and/or without adequate warnings that the products contained
substances that are dangerous to health and life and cause severe respiratory diseases.

78. Direct Supplier Defendants failed to provide the post-marketing warnings or instructions
that a manufacturer exercising reasonable care would have provided concerning the risk, in light of the
likelihood that the products would cause Plaintiff’s injuries and in light of the likely serious nature of these
injuries.

79. No warning was given that the diacetyl and acetyl propiony] in Direct Supplier Defendants’
products were of a highly toxic and poisonous nature, should only be used with specialized protective
equipment, would have cumulative increases in their hazardous, toxic, and poisonous effects with
prolonged use or repeated exposure, and would be highly toxic and poisonous when used as an ingredient
for the purposes of making food flavorings for the food flavoring industry.

80. Direct Supplier Defendants failed to comply with 29 CFR 1910.1200 regarding hazard
communications in its safety data sheets and otherwise. Direct Supplier Defendants failed to comply with
this section by failing to evaluate the chemicals it supplied to Wise, failing to monitor the medical and
scientific literature, failing to include hazard information that it knew or should have known in its safety
data sheets and/or container labeling that were transmitted to Wise, failing to transmit safety data sheets
and/or container labeling to Wise, tila to timely update the safety data sheets and/or container labeling
it sent to Wise, and in other ways. |

81. The health risks associated with Direct Supplier Defendants’ products were not open and
obvious, or of a type that is a matter of common knowledge. Direct Supplier Defendants knew or should

have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend

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the dangerous condition of the diacetyl and acetyl propionyl.

82. As a result of Direct Supplier Defendants’ failure to adequately instruct and wam of the
dangerous characteristics of the products, the products were defective and unreasonably dangerous when
put to the use reasonably anticipated by Direct Supplier Defendants.

83. The products were in this defective and unreasonably dangerous condition at the time the
products left Direct Supplier Defendants’ control.

84. The products were in this defective and unreasonably dangerous condition when the
Plaintiff was exposed to the products in the ordinary course of Plaintiff's employment.

85. Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of
Plaintiff's employment for Wise and for the purposes for which the products were supplied.

86. As a proximate result of the condition of the products and Plaintiff's exposure to the
products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred necessary medical
expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Direct Supplier Defendants in excess of

$50,000.00, costs of this suit, and any other relief which this Court may deem appropriate.

 

FOURTH CAUSE OF ACTION
|

| Negligence
(Against DIRECT SUPPLIER DEFENDANTS)

87. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

88. In the ordinary course of its business, Direct Supplier Defendants designed, manufactured,
labeled, supplied, and distributed, and sold flavoring products containing diacetyl and acetyl propiony] for
use by Wise.

89. _ At all times relevant ito this Complaint, Direct Supplier Defendants had a duty to use

reasonable care in the manufacturing, design, distribution, and sale of the aforesaid diacetyl and acetyl

propionyl. Direct Supplier Defendants failed to use reasonable care.

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90. In disregard of the aforesaid duties Direct Supplier Defendants were guilty of one or more
of the following careless and negligent acts or omissions:

a. Manufacturing, producing, processing, promoting, formulating, creating, developing,
designing, selling, and distributing diacetyl and acetyl propionyl without using reasonable
care in adopting a safe plan or design;

b. Manufacturing, producing, processing, promoting, formulating, creating, developing,
designing, selling, and distributing diacetyl and acetyl propionyl without thorough and
adequate testing before the product was in the stream of commerce, and while the product
was in the stream of Commerce;

c. Failing to undertake sufficient studies and conduct necessary tests to determine whether or
not diacetyl and acetyl propionyl were safe for its intended use;

d. Failing to acquire and maintain the knowledge of an expert to manufacture, produce,
process, promote, formulate, create, develop, design, sell, distribute, and/or supply their
products free from defects and/or latent defects;

e. Failing to disclose and/or adequately warn of product defects and/or hazards, which duty
continued even after the sale of said diacetyl and acetyl propiony];

f. Failing to provide adequate instructions, guidelines, and safety precautions to those whom
it was reasonably roreppeable would use diacetyl and acetyl propionyl;

g. Failing to disclose and inform users that there were alternative products or designs;

h. Representing that diacetyi and acetyl propionyl were safe for its intended use when in fact,
Direct Supplier Defendants knew and/or should have known the product was not safe for its
intended purposes; and/or

i. Continuing to manufacture and seli diacetyl and acetyl propionyl with the knowledge that
diacetyl and acetyl propionyl were unsafe and dangerous;

j. Failing to recall or retrofit diacetyl and acetyl propiony] after it was sold.

k. Failing to comply with 29 CFR 1910.1200 regarding hazard communications in its safety
data sheets and otherwise, failing to evaluate the chemicals it supplied to Wise, failing to
monitor the medical and scientific literature, failing to include hazard information that it
knew or should have known i in its safety data sheets and/or container labeling that were
transmitted to Wise, failing to transmit safety data sheets and/or container labeling to Wise,

failing to timely update the safety data sheets and/or container labeling it sent to Wise, and
in other ways.

91. Direct Supplier Defendants failed to use due care under the circumstances and were thereby
negligent in the performance of their duties to the Plaintiff.
92. The diacetyl and acetyl propionyl were used by the Plaintiff in a way that was reasonably

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foreseeable and intended by Direct Supplier Defendants. The products containing diacetyl and acetyl
propiony! were unsafe for the use for which they were intended. The products were unsafe because they
were in a condition that permitted the.release of vapors and fumes of toxins capable of causing respiratory
injuries to workers exposed to those fumes and were not accompanied by adequate warnings.

93. It would have been economically feasible for Direct Supplier Defendants to reduce the risk
of harm by manufacturing an altemnative product or design.

94. ‘As a proximate result of the condition of the products and Plaintiff's exposure to the
products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred necessary medical
expenses, sustained lost earnings, and|was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Direct Supplier Defendants for a monetary
award in excess of $50,000.00, costs of this suit, and any other relief which this Court may deem
appropriate. |

FIFTH CAUSE OF ACTION

 

Strict Liability: Manufacturing Defect
(Against INDIRECT SUPPLIER DEFENDANTS)

95. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

96. In the ordinary course of its business, Indirect Supplier Defendants designed,
manufactured, labeled, supplied, and biistributed products containing diacetyl and acetyl propionyl for use
by Direct Supplier Defendants, who t en supplied products containing the diacetyl and acetyl propionyl to
Wise. Indirect Supplier Defendants also supplied products containing diacetyl and acetyl propiony! directly
to Wise. |

97. The products Indirect Supplier Defendants supplied to Direct Supplier Defendants and
Wise were defective in that they were produced in a substandard condition, the end products differed from

the intended end products, and the products departed from the intended design. The products were defective

because they were in a condition that permitted the release of vapors and fumes of toxins capable of causing

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respiratory injuries to workers exposed to those fumes.

98. The health risks associated with Indirect Supplier Defendants’ products were not open and

|
obvious or of a type that is a matter of common knowledge. Indirect Supplier Defendants knew or should
have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend

|
the dangerous condition of the diacetyl and acetyl propionyl.

99. _—As a result of these manufacturing defects, the diacetyl and acetyl propionyl were

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t

unreasonably dangerous. The diacetyl |and acetyl propionyl were dangerous to an extent beyond that which
would be contemplated by the ordinary person who worked with and used the products, with the ordinary
knowledge common to the community as to its characteristics. Such an ordinary person with such
knowledge would not contemplate that exposure to the diacetyl and acety! propionyl could cause respiratory
injuries.

100. The diacetyl and acetyl propionyl were in this defective and unreasonably dangerous
condition at the time the products left Indirect Supplier Defendants’ control.

101. The diacetyl and acetyl propionyl were in this defective and unreasonably dangerous
condition when the Plaintiff was exposed to the products in the ordinary course of Plaintiff's employment.

102. Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of
Plaintiff's employment for Wise and for the purposes for which the products were supplied.

103. As a proximate result of the condition of the products and Plaintiff's exposure to the
products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred necessary medical
expenses, sustained lost earnings, and) was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Indirect Supplier Defendants in excess of
$50,000.00, costs of this suit, and any other relief which this Court may deem appropriate.

Sint CAUSE OF ACTION
Strict Liability: Design Defect

|
(Against INDIRECT SUPPLIER DEFENDANTS)

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104. Plaintiff incorporates |by reference paragraphs 1 through 52 of this Complaint.

105. In the ordinary course of its business, Indirect Supplier Defendants designed,

manufactured, labeled, supplied, and distributed diacetyl and acetyl propionyl for use by Direct Supplier
Defendants, who then supplied products containing the diacetyl and acetyl propiony] to Wise.

106. The diacetyl and acetyl propiony! Indirect Supplier Defendants supplied to Direct Supplier
Defendants were defective in one or more of the following respects:

a. They were more dangerous than an ordinary consumer would expect when used in an
intended or reasonably foreseeable manner;

b. The foreseeable risks associated with the design or formulation of the diacetyl and acetyl
propionyl exceeded the benefits associated with the design or formulation, in that:

i. The nature and magnitude of the risk of harm associated with the design
or formulation of the diacetyl and acetyl propionyl, in light of the intended
and reasonably foreseeable uses, modifications, and alterations of diacetyl
and acetyl propionyl, outweighed the intended or actual utility of said
designs and formulations;

ii. Users of the diacetyl and acetyl propionyl, including the Plaintiff, would
not likely be aware, whether based on warnings, general knowledge, or
otherwise, of the risks of harm;

iii. It was likely that the design or formulation of the flavorings containing
diacetyl and acetyl propionyl in the products would cause harm in light of
their intended and reasonably foreseeable uses, modifications. and
alterations;

 

iv. There were no performance or safety advantages associated with the
design or formulation of the diacetyl and acetyl propionyl; and

v. Indirect Supplier Defendants possessed both the technical and economic
feasibility of using an alternative design or formulation when the diacetyl
and acetyl propiony] left its control.

 

107. At the time of the design, formulation, manufacture, processing, distribution, sale, and/or
use of Indirect Supplier Defendants’ diacetyl and acetyl propionyl, the diacetyl and acetyl propionyl were
defective as designed when put to the use anticipated by Indirect Supplier Defendants due to their capacity
to cause respiratory illnesses and diseases. The products were defective because they were in a condition

that permitted the release of vapors and fumes of toxins capable of causing respiratory injuries to workers

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exposed to those fumes. |

108. Asa result of Indirect Supplier Defendants’ diacetyl and acetyl propionyl’s propensity to
cause respiratory disease, the diacety! and acetyl propionyl were unreasonably dangerous and defective
when put to the intended and reasonably foreseeable use anticipated by Indirect Supplier Defendants.

109. The health risks associated with Indirect Supplier Defendants’ products were not open and
obvious, or of a type that is a matter of common knowledge. Indirect Supplier Defendants knew or should
have known the Plaintiff, as well as other similarly situated employees, did not and would not comprehend
the dangerous condition of the diacetyl and acetyl propionyl.

110. Plaintiff's harm was| not caused by an inherent characteristic of Indirect Supplier
Defendants’ products that was a generic aspect of the diacetyl and acetyl propionyl that could not be
eliminated without substantially compromising the diacetyl and acetyl propionyl’s usefulness or
desirability.

111. A practical and technically feasible alternative design or formulation or packaging was

 

available for the diacetyl and acety! propiony! that would have prevented the harm to the Plaintiff without
substantially impairing the usefulness pr intended purpose of the diacetyl and acetyl propionyl.

112. The diacetyl and acetyl propionyl were in this defective and unreasonably dangerous
condition at the time the products left Indirect Supplier Defendants’ control.

113. The diacetyl and acetyl propionyl were in this defective and unreasonably dangerous
condition when the Plaintiff was exposed to the diacetyl and acetyl propionyl in the ordinary course of
Plaintiff's employment.

114. Plaintiff used the products in a reasonably foreseeable manner in the ordinary course of
Plaintiff's employment for Wise and jfor the purposes for which the diacetyl and acetyl propionyl were
supplied.

115. Asa proximate result|of the condition of the diacetyl and acetyl propionyl and Plaintiff's

exposure to the products, the Plaintiff suffered respiratory injuries, endured pain and suffered, incurred

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necessary medical expenses, sustained lost earnings, and was otherwise injured.
WHEREFORE, Plaintiff demands judgment against Indirect Supplier Defendants in excess of
$50,000.00, costs of this suit, and any| other relief which this Court may deem appropriate.
SEVENTH CAUSE OF ACTION
Strict Liability: Failure to Warn
(Against INDIRECT SUPPLIER DEFENDANTS)

116. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

117. In the ordinary course of its business, Indirect Supplier Defendants designed,
manufactured, labeled, supplied, and distributed diacetyl and acetyl propiony] for use by Direct Supplier
Defendants, who then supplied product containing the diacetyl and acetyl propionyl to Wise. The products
were defective because they were in a condition that permitted the release of vapors and fumes of toxins
capable of causing respiratory injuries to workers exposed to those fumes.

118. Indirect Supplier Defendants knew or should have known at the time of extracting,
formulating, manufacturing, supplying, distributing, and selling diacetyl and acetyl propionyl that diacetyl
and acety! propionyl had risks, such ad being hazardous, toxic, poisonous, and knew or should have known
that prolonged use or repeated exposure by the Plaintiff could lead to serious injury or death.

119. Indirect Supplier Defendants designed, formulated, manufactured, processed, distributed,

marketed, sold, and supplied diacetyl] and acetyl propionyl without adequate instructions on safe use to

 

reduce and/or eliminate exposure thereto, and/or without adequate warnings that the products contained
substances that are dangerous to health and life and cause severe respiratory diseases.
120. Indirect Supplier Defendants failed to provide the post-marketing warnings or instructions

that a manufacturer exercising reasonable care would have provided concerning the risk, in light of the

 

likelihood that the diacetyl and acetyl] propionyl would cause Plaintiff’s injuries and in light of the likely
serious nature of these injuries.

121. No warning was given that the diacetyl and acetyl propiony] were of a highly toxic and

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poisonous nature, should only be usd with specialized protective equipment, would have cumulative
increases in their hazardous, toxic, and poisonous effects with prolonged use or repeated exposure, and
would be highly toxic and poisonous when used as an ingredient for the purposes of making food flavorings
for the food flavoring industry. |

122. Indirect Supplier Defendant failed to comply with 29 CFR 1910.1200 regarding hazard
communications in its safety data sheets and otherwise. Indirect Supplier Defendants failed to comply with
this section by failing to evaluate we chemicals it supplied to Wise, failing to monitor the medical and
scientific literature, failing to include hazard information that it knew or should have known in its safety
data sheets and/or container labeling that were transmitted to Direct Supplier Defendants and Wise, failing

to transmit safety data sheets and/or container labeling to Direct Supplier Defendants and Wise, failing to
timely update the safety data sheets ancllor container labeling it sent to Direct Supplier Defendants and
Wise, and in other ways. |

123. The health risks associated with Indirect Supplier Defendants’ diacetyl and acetyl
propiony! were not open and obvious, or of a type that is a matter of common knowledge. Indirect Supplier
Defendants’ knew or should have known the Plaintiff, as well as other similarly situated employees, did
not and would not comprehend the dangerous condition of the diacetyl and acetyl propionyl.

124. Asa result of Indirect |Supplier Defendants’ failure to adequately instruct and warn of the
dangerous characteristics of the diacetyl and acetyl propionyl, the diacetyl and acetyl propionyl were
defective and unreasonably dangerous when put to the use reasonably anticipated by Indirect Supplier

Defendants.

 

125. The diacetyl and acetyl propionyl were in this defective and unreasonably dangerous
condition at the time the products left Indirect Supplier Defendants’ control.
126. The diacetyl and acetyl propionyl were in this defective and unreasonably dangerous

condition when the Plaintiff was exposed to the diacetyl and acetyl propionyl in the ordinary course of

Plaintiff's employment.

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127. Plaintiff used the diacetyl and acetyl propiony] in a reasonably foreseeable manner in the

ordinary course of Plaintiff's employment for Wise and for the purposes for which the diacetyl and acetyl
propiony! were supplied.

128. As a proximate result of the condition of the diacetyl and acetyl propionyl and Plaintiff's
exposure to the diacetyl and acetyl propionyl, the Plaintiff suffered respiratory injuries, endured pain and
suffered, incurred necessary medical expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Indirect Supplier Defendants in excess of
$50,000.00, costs of this suit, and any other relief which this Court may deem appropriate.

EIGHTH CAUSE OF ACTION

(Against INDIRECT SUPPLIER DEFENDANTS)

 

Negligence

129. Plaintiff incorporates by reference paragraphs 1 through 52 of this Complaint.

 

130. In the ordinary course of its business, Indirect Supplier Defendants designed,
manufactured, labeled, supplied, and distributed diacetyl and acetyl propionyl for use by Direct Supplier

Defendants, who then supplied products containing the diacetyl and acetyl propionyl to Wise.

131. At all times relevant [to this Complaint, Indirect Supplier Defendants had a duty to use

reasonable care in the manufacturing, design, distribution, and sale of the aforesaid diacetyl and acetyl
propiony]. Indirect Supplier Defendants failed to use reasonable care.

132.  Indisregard of the aforesaid duties Indirect Supplier Defendants was guilty of one or more

of the following careless and negligent acts or omissions:

a. Manufacturing, prod cing, processing, promoting, formulating, creating, developing,
designing, selling, and distributing diacetyl and acetyl propiony! without using reasonable
care in adopting a safe plan or design;

b. Manufacturing, producing, processing, promoting, formulating, creating, developing,
designing, selling, and distributing diacetyl and acetyl propionyl without thorough and
adequate testing before the product was in the stream of commerce, and while the product

was in the stream of commerce;

 

c. Failing to undertake sufficient studies and conduct necessary tests to determine whether or

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|
not diacetyl and acetyl propionyl were safe for their intended use;

d. Failing to acquire and maintain the knowledge of an expert to manufacture, produce,
process, promote, formulate, create, develop, design, sell, distribute, and/or supply its

products free from defects and/or latent defects;

e. Failing to disclose and/or adequately warn of product defects and/or hazards, which duty
continued even after the sale of said diacetyl and acetyl propiony];

f. Failing to provide adequate instructions, guidelines, and safety precautions to those whom
it was reasonably foreseeable would use diacetyl and acetyl propiony];

g. Failing to disclose and inform users that there were alternative products or designs;
h, Representing that diacetyl and acetyl propionyl were safe for its intended use when in fact,
Indirect Supplier Defendants knew and/or should have known the product was not safe for

its intended purposes; and/or

i. Continuing to manufacture and sell diacetyl and acetyl propionyl with the knowledge that
diacetyl and acetyl propionyl were unsafe and dangerous;

j. Failing to recall or retrofit diacetyl and acetyl propionyl after it was sold.

k. Failing to comply with 29 CFR 1910.1200 regarding hazard communications in its safety
data sheets and otherwise, failing to evaluate the chemicals it supplied to Direct Supplier
Defendants and Wise, failing to monitor the medical and scientific literature, failing to
include hazard information that it knew or should have known in its safety data sheets and/or

-, container labeling that jwere transmitted to Indirect Supplier Defendants and Wise, failing
to transmit safety data sheets and/or container labeling to Indirect Supplier Defendants and
Wise, failing to timely update the safety data sheets and/or container labeling it sent to
Indirect Supplier Defendants and Wise, and in other ways.

133. Indirect Supplier Defendants failed to use due care under the circumstances and was
thereby negligent in the performance of its duties to the Plaintiff.

134, The diacetyl and acetyl propionyl were used by the Plaintiff in a way that was reasonably
foreseeable and intended by Indirect Supplier Defendants. The products containing diacetyl and acetyl
propionyl were unsafe for the use for which they were intended. The products were unsafe because they
were in a condition that permitted the release of vapors and fumes of toxins capable of causing respiratory
injuries to workers exposed to those fumes and were not accompanied by adequate warnings.

135. It would have been economically feasible for Indirect Supplier Defendants to reduce the

risk of harm by manufacturing an alternative product or design.

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|

136. Asa proximate resull of the condition of the diacetyl and acetyl propiony! and Plaintiff's
exposure to the diacetyl and acetyl propiony!, the Plaintiff suffered respiratory injuries, endured pain and
suffered, incurred necessary medical expenses, sustained lost earnings, and was otherwise injured.

WHEREFORE, Plaintiff demands judgment against Indirect Supplier Defendants in excess of
$50,000.00, costs of this suit, and any other relief which this Court may deem appropriate.

Respectfully Submitted, |

McELDREW YOUNG

Spomse G10 lee

DATE: September 6, 2019 | JAMES J. McELDREW, III, Esquire
DANIEL PURTELL, Esquire
| LAUREN C. FANTINI, Esquire
q
Attomeys for Plaintiff

 

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WERIFICATION

Terry Bethman verifies that she is thd Plaintiff herein, and that the facts set forth in the foregoing
Complaint are true and correct to the best of her knowledge, information and belief. The
undersigned understands that false statements herein are made subject to the penalties of 18 Pa.
C.S. Section 4904 relating to unsworp falsification to authorities.

|

| S?)
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Dated: bet LG, BONG |

 

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James J. McEldrew, IJ, Esquire (Atty ID#: 36411)
123 S. Broad Street, Suite 2250
Philadelphia, PA 19109
(215) 545-8800
Commonwealth of Pennsylvania
In the Court of Common Pleas
Philadelphia County

 

Terry Bethman
Vv.

Case No.:19-09-0703

Bell Flavors and Fragrances, Inc., et al.

 

Commonwealth of Pennsylvania
County of Philadelphia ss

AFFIDAVIT OF CORPORATE SERVICE
I, Dennis Richman, being duly sworn according to the law upon my oath, depose and say, that I am not a party to this action,
am over 18 years of age, and have no direct personal interest in this litigation.
PARTY SERVED: Thermo Fisher Scientific, Inc.
DOCUMENTS SERVED: Complaint
BY LEAVING WITH: Abigail Orozco, Person in Charge
DATE & TIME OF SERVICE: 9/11/2019 11:11 AM

PHYSICAL DESCRIPTION: Age: 40 Weight: 290 Hair: Black
Sex: Female Height: Sitting Race: Other

SERVED ADDRESS: 1601 Cherry Street
Philadelphia, PA 19102

I hereby affirm that the information contained in the Affidavit of Service is true and correct. This affirmation is made subject to
the penalties of 18 PA C.S. 4904 relating to unsworn falsification to authorities.

Ee

Dennis Richman

Dennis Richman's Services for the Professional, Inc
1500 John F. Kennedy Blvd. Suite #1315,
Philadelphia, PA 19102

(215) 977-9393

“a

 

Subscribed and sworn before me, a Notary
Public, this 11th day of September, 2019

chnar)

Regina A“Richman, Notary Public
Falls Twp., Bucks County
My Commission expires on: 12/12/2021

 

   

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FISHKIN LucKs LLP

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afishkin@fishkinlucks.com
slucks@fishkinlucks.com

 

TERRY BETHMAN,
Plaintiff,
VS.

BELL FLAVORS AND FRAGRANCES,
INC., et al.,

Defendants.

 

 

Attorneys for Defendan$, ; ~
Univar USA Ine. Offic
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COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

SEPTEMBER TERM, 2019

NO. 00703

ENTRY OF APPEARANCE

Kindly enter the appearance of the undersigned counsel on behalf of defendant Univar

USA Inc. in the above-captioned matter.

Dated: September 24, 2019

00067169.1

By:

FISHKIN LuckKs LLP

/s/ Andrew P. Fishkin
Andrew P. Fishkin, Esq.
Steven M. Lucks, Esq.
David P. Lodge, Esq.
Attorneys for Defendant
Univar USA Ine.

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that on this date the foregoing Entry of Appearance on
behalf of defendant Univar USA Inc. was filed electronically, whereby notice of this filing is

being electronically sent to all registered parties’ counsel by operation of the Court’s electronic

 

filing system.

Dated: September 24, 2019 /s/ Andrew P. Fishkin
Andrew P. Fishkin, Esq.

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GORDON & REES LLP
BY: William C. Mills, IV, Esquire
Attorney I.D. No. 65796
Kristen F. Mazzeo, Esquire
Attorney I.D. No. 320531
Three Logan Square

1717 Arch Street, Suite 610
Philadelphia, PA 19103
(215) 717-4032
winills@grsm.com
kmazzeo@ersm.com

 

 
 
   
  

NOTICE TQ: PLE:

you are hereby net
enclosed New Mati
(20) days or a judgn:
entered against you.

/s/ Kristen F, Mazzeo

Counsel for Defendant Penta International Corporation,

 

TERRY BETHMAN,
PLAINTIFF,
Vv.

BELL FLAVORS AND FRAGRANCES,
INC., et al.

DEFENDANTS.

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

SEPTEMBER TERM, 2019

NO. 00703

DEFENDANT PENTA INTERNATIONAL CORPORATION’S ANSWER TO
PLAINTIFE’S COMPLAINT WITH NEW MATTER AND REPLY TO ALL
CROSSCLAIMS

Defendant, Penta International

Corporation (hereinafter “Penta” or “Answering

Defendant”), by and through its counsel, Gordon Rees Scully Mansukhani, LLP, hereby responds

to Plaintiff's Complaint as follows:

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COMPLAINT

1. Denied. After reasonable investigation, Answering Defendant is without

sufficient knowledge or information to form a belief as to the truth of the allegation of this

paragraph, and therefore, said allegations are denied.

2. Denied. After reasonable investigation, Answering Defendant is without

sufficient knowledge or information to form a belief as to the truth of the allegation of this

paragraph, and therefore, said allegations are denied.

3. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

4. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

5. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

6. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

7. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

8. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

9. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

10. Denied. The allegations of this paragraph relate to Defendants other than

Answering Defendant, and therefore, no response is required.

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11. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

12. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

13. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

14. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

15. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

16. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

17. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

18. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

19. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

20. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

21. Denied. The allegations of this paragraph relate to Defendants other than

Answering Defendant, and therefore, no response is required.

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22. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

23. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

24. Admitted in part, denied in part. It is admitted only that Answering Defendant is
a New Jersey corporation with its principal place of business in New Jersey. It is specifically
denied that Plaintiff was exposed to any diacetyl, acetyl propionyl, or diacetyl and acetyl
propionyl containing products for which Answering Defendant is liable. Strict proof thereof is
demanded at trial. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. After reasonable investigation, Answering
Defendant is without sufficient knowledge or information to form a belief as to the truth of the
remaining allegations of this paragraph, and therefore, said allegations are denied.

25. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

26. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

27. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required.

28. Denied. The allegations of this paragraph relate to Defendants other than

Answering Defendant, and therefore, no response is required.

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29. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

30. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required.

31. | Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

FACTS COMMON TO ALL COUNTS

32. Admitted.

33. | Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

34. | Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

35. | Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

36. Denied. Answering Defendant denies the allegations of this paragraph regarding

the properties of diacetyl and acetyl propionyl, which constitute expert opinions and

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characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

37. Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

38. Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

39. | Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

40. Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

41. Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the

positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

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42. Denied. Answering Defendant denies the allegations of this paragraph regarding
the properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

43. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the properties of diacetyl and acetyl propionyl, which constitute
expert opinions and characterizations, and mischaracterizes and misrepresents the state of
science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl and
acetyl propionyl and/or diacetyl and acetyl propiony! containing products for which Answering
Defendant is liable.

44. Denied. After reasonable investigation, Answering Defendant is without
sufficient knowledge or information to form a belief as to the truth of the allegation of this
paragraph, and therefore, said allegations are denied.

45. Denied. After reasonable investigation, Answering Defendant is without
sufficient knowledge or information to form a belief as to the truth of the allegation of this
paragraph, and therefore, said allegations are denied.

46. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant specifically denies
that Plaintiff was exposed to diacetyl and acetyl propionyl and/or diacetyl and acetyl propionyl

containing products for which Answering Defendant is liable. After reasonable investigation,

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Answering Defendant is without sufficient knowledge or information to form a belief as to the
truth of the remaining allegations of this paragraph, and therefore, said allegations are denied.

47. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant specifically denies
that Plaintiff was exposed to diacetyl and acetyl propionyl and/or diacetyl and acetyl propiony!
containing products for which Answering Defendant is liable. After reasonable investigation,
Answering Defendant is without sufficient knowledge or information to form a belief as to the
truth of the remaining allegations of this paragraph, and therefore, said allegations are denied.

48. Denied. After reasonable investigation, Answering Defendant is without
sufficient knowledge or information to form a belief as to the truth of the allegation of this
paragraph, and therefore, said allegations are denied.

49. Denied. After reasonable investigation, Answering Defendant is without
sufficient knowledge or information to form a belief as to the truth of the allegation of this
paragraph, and therefore, said allegations are denied.

50. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding its knowledge of the alleged properties of diacetyl and acetyl
propionyl, which constitute expert opinions and characterizations, and mischaracterizes and
misrepresents the state of science as well as the positions of the relevant authoritative bodies, and
are otherwise false and/or inaccurate. Answering Defendant further denies that Plaintiff was
exposed to diacetyl and acetyl propionyl and/or diacetyl and acetyl propionyl containing

products for which Answering Defendant is liable.

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51. | Denied. After reasonable investigation, Answering Defendant is without
sufficient knowledge or information to form a belief as to the truth of the allegation of this
paragraph, and therefore, said allegations are denied.

52. Denied. After reasonable investigation, Answering Defendant is without
sufficient knowledge or information to form a belief as to the truth of the allegation of this
paragraph, and therefore, said allegations are denied.

FIRST CAUSE OF ACTION
Strict Liability: Manufacturing Defect
(Against DIRECT SUPPLIER DEFENDANTS)

53. | Answering Defendant incorporates by reference its responses to the allegations
contained within paragraphs | through 52 of the Complaint as though those responses are set
forth at length herein.

54. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

55. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

56. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

57. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

58. Denied. The allegations of this paragraph relate to Defendants other than

Answering Defendant, and therefore, no response is required.

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59. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

60. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

61. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other
relief the Court deems just and proper.

SECOND CAUSE OF ACTION
Strict Liability: Design Defect
(Against DIRECT SUPPLIER DEFENDANTS)

62. | Answering Defendant incorporates by reference its responses to the allegations
contained within paragraphs 1 through 61 of the Complaint as though those responses are set
forth at length herein.

63. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

64. _(a-b(v)). Denied. The allegations of this paragraph and its subparts relate to
Defendants other than Answering Defendant, and therefore, no response is required.

65. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

66. Denied. The allegations of this paragraph relate to Defendants other than

Answering Defendant, and therefore, no response is required.

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67. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

68. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

69. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

70. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

71. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

72. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

73. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other
relief the Court deems just and proper.

THIRD CAUSE OF ACTION
Strict Liability: Failure to Warn
(Against DIRECT SUPPLIER DEFENDANTS)

74. Answering Defendant incorporates by reference its responses to the allegations

contained within paragraphs | through 73 of the Complaint as though those responses are set

forth at length herein.

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75. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

76. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

77. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

78. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

79. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

80. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

81. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

82. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

83. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

84. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

85. Denied. The allegations of this paragraph relate to Defendants other than

Answering Defendant, and therefore, no response is required.

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86. | Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other
relief the Court deems just and proper.

FOURTH CAUSE OF ACTION

 

Negligence
(Against DIRECT SUPPLIER DEFENDANTS)

87. Answering Defendant incorporates by reference its responses to the allegations
contained within paragraphs 1 through 86 of the Complaint as though those responses are set
forth at length herein d.

88. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

89. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

90. (a-k). Denied. The allegations of this paragraph and its subparts relate to
Defendants other than Answering Defendant, and therefore, no response is required.

91. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

92. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

93. Denied. The allegations of this paragraph relate to Defendants other than

Answering Defendant, and therefore, no response is required.

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94. Denied. The allegations of this paragraph relate to Defendants other than
Answering Defendant, and therefore, no response is required.

WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other
relief the Court deems just and proper.

FIFTH CAUSE OF ACTION
Strict Liability: Manufacturing Defect
(Against INDIRECT SUPPLIER DEFENDANTS)

95. Answering Defendant incorporates by reference its responses to the allegations
contained within paragraphs 1 through 94 of the Complaint as though those responses are set
forth at length herein.

96. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies each and
every allegation contained in this paragraph and strict proof thereof is demanded at trial.
Answering Defendant further denies that Plaintiff was exposed to diacetyl and acetyl propionyl
and/or diacetyl and acetyl propionyl containing products for which Answering Defendant is
liable.

97. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies each and
every allegation contained in this paragraph and strict proof is demanded at trial. Answering
Defendant further denies that Plaintiff was exposed to diacetyl and acetyl propionyl and/or

diacetyl and acetyl propionyl containing products for which Answering Defendant is liable.

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98. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl and
acetyl propionyl and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable.

99. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl] and
acetyl propionyl and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable.

100. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state

of science as well as the positions of the relevant authoritative bodies, and are otherwise false

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and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl and
acetyl propionyl and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable.

101. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl and
acetyl propionyl and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable.

102. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies that Plaintiff
was exposed to diacetyl and acetyl propionyl and/or diacetyl and acetyl propionyl containing
products for which Answering Defendant is liable. After reasonable investigation, Answering
Defendant is without sufficient knowledge or information to form a belief as to the truth of the
remaining allegations of this paragraph, and therefore, said allegations are denied.

103. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies that Plaintiff

was exposed to diacetyl and acetyl propionyl and/or diacetyl and acetyl propionyl containing

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products for which Answering Defendant is liable. After reasonable investigation, Answering
Defendant is without sufficient knowledge or information to form a belief as to the truth of the
remaining allegations of this paragraph, and therefore, said allegations are denied.

WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other
relief the Court deems just and proper.

SIXTH CAUSE OF ACTION
Strict Liability: Design Defect
(Against INDIRECT SUPPLIER DEFENDANTS)

104. Answering Defendant incorporates by reference its responses to the allegations
contained within paragraphs 1 through 103 of the Complaint as though those responses are set
forth at length herein

105. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies each and
every allegation contained in this paragraph and strict proof is demanded at trial. Answering
Defendant further denies that Plaintiff was exposed to diacetyl and acetyl propionyl and/or
diacetyl and acetyl propionyl containing products for which Answering Defendant is liable.

106. (a-b(v)). Denied. To the extent the allegations of this paragraph and its subparts
are conclusions of law, no response is required. To the extent the allegations of this paragraph
and its subparts relate to Defendants other than Answering Defendant, no response is required.
Answering Defendant denies the allegations of this paragraph and its subparts regarding the

alleged properties of diacetyl and acetyl propionyl, which constitute expert opinions and

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characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.

107. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate.

108. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate.

109. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false

and/or inaccurate.

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110. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl and
acetyl propiony! and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable.

111. Denied. Answering Defendant denies the allegations of this paragraph regarding
the alleged properties of diacetyl and acetyl propionyl, which constitute expert opinions and
characterizations, and mischaracterizes and misrepresents the state of science as well as the
positions of the relevant authoritative bodies, and are otherwise false and/or inaccurate.
Answering Defendant further denies each and every remaining allegation contained in this
paragraph and strict proof thereof is demanded at trial.

112. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false

and/or inaccurate.

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113. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl and
acetyl propiony] and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable.

114. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies that Plaintiff
was exposed to diacetyl and acetyl propionyl and/or diacetyl and acetyl propiony! containing
products for which Answering Defendant is liable. After reasonable investigation, Answering
Defendant is without sufficient knowledge or information to form a belief as to the truth of the
remaining allegations of this paragraph, and therefore, said allegations are denied.

115. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies that Plaintiff
was exposed to diacetyl and acetyl propiony] and/or diacetyl and acetyl propiony] containing
products for which Answering Defendant is liable. After reasonable investigation, Answering
Defendant is without sufficient knowledge or information to form a belief as to the truth of the

remaining allegations of this paragraph, and therefore, said allegations are denied.

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WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other
relief the Court deems just and proper.

SEVENTH CAUSE OF ACTION
Strict Liability: Failure to Warn
(Against INDIRECT SUPPLIER DEFENDANTS)

116. Answering Defendant incorporates by reference its responses to the allegations
contained within paragraphs 1 through 115 of the Complaint as though those responses are set
forth at length herein.

117. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies each and
every allegation contained in this paragraph and strict proof is demanded at trial.

118. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding its knowledge of the alleged properties of diacetyl and acetyl
propionyl, which constitute expert opinions and characterizations, and mischaracterizes and
misrepresents the state of science as well as the positions of the relevant authoritative bodies, and
are otherwise false and/or inaccurate.

119. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state

of science as well as the positions of the relevant authoritative bodies, and are otherwise false

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and/or inaccurate. Answering Defendant further denies each and every remaining allegation
contained in this paragraph and strict proof is demanded at trial.

120. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies each and every remaining allegation
contained in this paragraph and strict proof is demanded at trial.

121. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl and
acetyl propionyl and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable.

122. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding its knowledge of the alleged properties of diacetyl and acetyl

propionyl, which constitute expert opinions and characterizations, and mischaracterizes and

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misrepresents the state of science as well as the positions of the relevant authoritative bodies, and
are otherwise false and/or inaccurate. Answering Defendant further denies each and every
remaining allegation contained in this paragraph and strict proof is demanded at trial.

123. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding its knowledge of the alleged properties of diacetyl and acetyl
propionyl, which constitute expert opinions and characterizations, and mischaracterizes and
misrepresents the state of science as well as the positions of the relevant authoritative bodies, and
are otherwise false and/or inaccurate. Answering Defendant further denies that Plaintiff was
exposed to diacetyl and acetyl propionyl and/or diacetyl and acetyl propiony! containing
products for which Answering Defendant is liable.

124. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies each and every remaining allegation
contained in this paragraph and strict proof is demanded at trial.

125. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which

constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state

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of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies each and every remaining allegation
contained in this paragraph and strict proof is demanded at trial.

126. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. Answering Defendant further denies that Plaintiff was exposed to diacetyl and
acetyl propiony] and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable.

127. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. Answering Defendant denies that Plaintiff was exposed to diacetyl and
acetyl propiony] and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable. After reasonable investigation, Answering Defendant is without sufficient
knowledge or information to form a belief as to the truth of the remaining allegations of this
paragraph, and therefore, said allegations are denied.

128. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. Answering Defendant denies that Plaintiff was exposed to diacetyl and
acetyl propionyl and/or diacetyl and acetyl propionyl containing products for which Answering
Defendant is liable. After reasonable investigation, Answering Defendant is without sufficient
knowledge or information to form a belief as to the truth of the remaining allegations of this

paragraph, and therefore, said allegations are denied.

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WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other
relief the Court deems just and proper.

EIGHTH CAUSE OF ACTION
Negligence
(Against INDIRECT SUPPLIER DEFENDANTS)

129. Answering Defendant incorporates by reference its responses to the allegations
contained within paragraphs | through 128 of the Complaint as though those responses are set
forth at length herein.

130. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies each and
every remaining allegation contained in this paragraph and strict proof is demanded at trial.

131. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies each and
every remaining allegation contained in this paragraph and strict proof is demanded at trial.

132. (a-k). Denied. To the extent the allegations of this paragraph and its subparts are
conclusions of law, no response is required. To the extent the allegations of this paragraph and
its subparts relate to Defendants other than Answering Defendant, no response is required.
Answering Defendant denies each and every remaining allegation contained in this paragraph
and its subparts and strict proof is demanded at trial.

133. Denied. To the extent the allegations of this paragraph are conclusions of law, no

response is required. To the extent the allegations of this paragraph relate to Defendants other

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than Answering Defendant, no response is required. Answering Defendant denies each and
every remaining allegation contained in this paragraph and strict proof is demanded at trial.

134. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies the allegations
of this paragraph regarding the alleged properties of diacetyl and acetyl propionyl, which
constitute expert opinions and characterizations, and mischaracterizes and misrepresents the state
of science as well as the positions of the relevant authoritative bodies, and are otherwise false
and/or inaccurate. After reasonable investigation, Answering Defendant is without sufficient
knowledge or information to form a belief as to the truth of the remaining allegations of this
paragraph, and therefore, said allegations are denied.

135. Denied. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies each and
every remaining allegation contained in this paragraph and strict proof is demanded at trial.

136. Denied. To the extent the allegations of this paragraph are conclusions of law, no
response is required. To the extent the allegations of this paragraph relate to Defendants other
than Answering Defendant, no response is required. Answering Defendant denies that Plaintiff
was exposed to diacetyl and acetyl propionyl and/or diacetyl and acetyl propionyl containing
products for which Answering Defendant is liable. After reasonable investigation, Answering
Defendant is without sufficient knowledge or information to form a belief as to the truth of the

remaining allegations of this paragraph, and therefore, said allegations are denied.

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WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other

relief the Court deems just and proper.

NEW MATTER

1. Answering Defendants hereby incorporates by reference its Answers to Plaintiff's
Complaint as if set forth fully herein.

2. Plaintiff's claims are barred, in whole or in part, by the applicable statute of
limitations.

3. Plaintiffs Complaint fails to state a cause of action upon which relief may be
granted against Answering Defendant.

4. This Court lacks subject matter jurisdiction over the matters alleged in Plaintiff's
Complaint.

5. This Court lacks personal jurisdiction, either general, specific, or by consent, over
Answering Defendant.

6. Plaintiff's claims are barred, in whole or in part, by the doctrines of res judicata or
collateral estoppel.

7. Plaintiffs claims are barred, in whole or in part, by the applicable statute of repose.

8. Plaintiff's claims are barred by the doctrine of laches.

9. Plaintiff's claims are barred and/or limited by the principles of contributory and

comparative negligence and Pennsylvania’s Comparative Negligence Statute, 42 Pa.C.S. §7102.
10. Plaintiff's claims are barred, in whole or in part. By the abnormal and/or improper

installation, maintenance, use, misuse and/or alteration of any product of Answering Defendant at

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issue by Plaintiff, other Defendants, and/or other individuals for whom Answering Defendant has
no responsibility or control.

11. Answering Defendant specifically denies negligent, grossly negligent, willful and
wanton, careless, reckless, and outrageous conduct in any respect with regard to the allegations in
Plaintiff's Complaint and that it in any way caused or contributed to Plaintiff's alleged injuries,
damages, and/or losses.

12. Plaintiffs claims are barred, in whole or in part, because Plaintiffs injuries and/or
damages were caused by superseding and intervening causes.

13. Noalleged act or omission of Answering Defendant was the cause of or contributed
to any harm, damage, or loss allegedly sustained by the Plaintiff in this matter. The existence of
said act or omission is expressly denied.

14. Any damages or losses allegedly sustained by Plaintiff were caused by
circumstances over which Answering Defendant had no control or involvement, no duty to act,
and the existence of any said damages and/or losses are expressly denied.

15. The application of delay damages to all or any portion of Plaintiffs claims against
Answering Defendant is violative of the United States and Pennsylvania Constitutions, including
to Pa. Const. Art. V, §10(c) and U.S. Article XIV.

16. Plaintiff's injuries, if any, which are specifically denied, were not caused by acts
and/or omission of Answering Defendant, but were caused, if at all, by the acts and/or omissions
of individuals and/or entities over which Answering Defendant had no control or any duty to
control.

17. Plaintiff’s claims are barred by the doctrine of assumption of the risk.

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18. At no time did Answering Defendant have any duty to control, direct and/or
supervise the Plaintiff, Plaintiff's co-workers, or employers.

19. During the applicable time period, Answering Defendant had no duty to Plaintiff
or Plaintiff's employer as Answering Defendant did not retain or exercise sufficient control over
Plaintiff.

20. ‘If it is determined that Answering Defendant owed Plaintiff a legally recognized
duty of care, which is denied, Answering Defendant denies that it breached any such duty of care.

21. Plaintiffs use of materials that may have contained diacetyl and acetyl propionyl
do not constitute inherently dangerous or ultra-hazardous activity under Pennsylvania or any other
applicable law.

22. A failure of Plaintiff's employer to warn and/or safeguard Plaintiff from any
possible health hazards associated with materials which may have contained diacetyl and acetyl
propionyl, was an intervening and/or superseding cause of Plaintiff's alleged injuries.

23. Plaintiff's claims are barred, in whole or in part, by the Pennsylvania Fair Share
Act.

24. The alleged exposure injuries and damages of which Plaintiff complains were
caused by unauthorized, unattended or improper use of the products allegedly used by the Plaintiff
and as a result of the failure to exercise reasonable and ordinary care for which Answering
Defendant is not legally liable.

25. The design of the subject product of Answering Defendant satisfied all standards,
specifications, and regulations as required by any and all federal, state and local governmental

agency and law.

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26. The design of the subject product of Answering Defendant met the then state of the
art.

27. Plaintiff's claims are barred, in whole or in part, because the dangers and/or risks
of which Plaintiff complains were open and obvious and/or known.

28. Plaintiffs alleged injuries were caused in whole or in part by Plaintiffs misuse or
unauthorized, unanticipated, unforeseen and/or unintended use of the products of Answering
Defendant at issue.

29. Plaintiff's claims are barred because the methods, standards, warnings, and
instructions used in manufacturing and/or marketing the products at issue conformed with the
generally-recognized, reasonably-available, and reliable state of knowledge when the products
was/were manufactured and marketed.

30. If it is determined that Answering Defendant’s products were present in Plaintiff's
workplace, then Answering Defendant’s products were supplied to a learned intermediary which
was sophisticated in the use of the products.

31.  Ifit is determined that Answering Defendant’s products were present in Plaintiff's
workplace, then it is averred that Plaintiff was not in proximity to the use of such products or
exposed to such products with sufficient frequency and regularity for such products to be a cause
of Plaintiff's claimed injuries or damages.

32. At all material times, Answering Defendant was in compliance with the “state of
the art” and the risks, damages and/or injuries alleged by Plaintiff were not foreseeable to
Answering Defendant.

33. To the extent Plaintiff was exposed to a product of Answering Defendant, such

exposure was de minimus and not a substantial factor in causation of her injuries or damages.

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34. The injuries and/or damages complained of by Plaintiff pre-existed the subject
matter of the Complaint.

35. Plaintiff's damages, in whole or in part, are speculative and therefore not
actionable.

36.  Plaintiff’s claims are barred, in whole or in part, by Plaintiff's failure to mitigate
her damages.

37. Plaintiffs claims are barred, in whole or in part, by the doctrine of federal
preemption.

38. Plaintiff's claims are barred, in whole or in part, by the Pennsylvania Workers’
Compensation Act.

39. Plaintiff's claims are barred, in whole or in part, by the Pennsylvania Occupational
Disease Act.

40.  Plaintiff’s claims are barred, in whole or in part, by the doctrine of spoliation.

41. Plaintiff's claims are barred, in whole or in part, because there was no privity
between Plaintiff and Answering Defendant.

42. Answering Defendant owned no duty to Plaintiff or Plaintiff's Employer(s).

43. Plaintiffs claims are barred, in whole or in part, because the products at issue were
designed, manufactured, marketed, and labeled with proper warnings, information, cautions and
instructions in accordance with the state of the art and state of scientific and technological
knowledge and industry custom/usage standards.

44, If Plaintiff's damages were caused by a product distributed or sold by Answering
Defendant, which Answering Defendant denies, said product was only a component part, raw

material, was not inherently dangerous, was substantially changed during the manufacturing

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process, and/or was sold in bulk to a sophisticated buyer, thereby absolving Answering Defendant
of liability.

45. Answering Defendant adopts each and every New Matter of every other Defendant
herein to the extent that any such New Matter is not inconsistent with those set forth herein.

46. | Answering Defendant reserves the right to amend its New Matter to include
additional defenses after completion of discovery.

WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other
relief the Court deems just and proper.

DEFENDANT PENTA INTERNATIONAL CORPORATION’S
ANSWER TO ALL CROSSCLAIMS

Answering Defendant hereby incorporates by reference its Answer to Plaintiff's Complaint
and New Matter and answers all cross-claims filed or to be filed against it by denying that said
cross-claims state a claim upon which relief can be granted. Answering Defendant denies all
averments set forth in all cross-claims and demands strict proof at trial. Answering Defendant
further denies that it is solely liable to Plaintiff, jointly or severally liable to Plaintiff, or liable over
to any Co-Defendants or Additional Defendants and denies that any cross-claiming party is entitled

to either contribution or indemnity against it.

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WHEREFORE, Defendant, Penta International Corporation, hereby demands judgment
in its favor and against Plaintiff and all other parties, together with costs, interest, and such other

relief the Court deems just and proper.

GORDON REES SCULLY MANSUKANI, LLP

By: /s/ Kristen F. Mazzeo
William C. Mills, IV, Esquire
Kristen F. Mazzeo, Esquire
Counsel for Defendant,
Penta International Corporation
Date: October 1, 2019

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ATTORNEY VERIFICATION
I, Kristen F. Mazzeo, attorney for Penta International Corporation, hereby state that the
facts contained in the forgoing Answer with New Matter and Reply to all Cross-claims are true

and correct to the best of my knowledge, information, and belief.

Kristen F. Mazzeo
DATE: October 1, 2019

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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the within Defendant Penta International
Corporation’s Answer to Plaintiffs Complaint with New Matter and Answer to Cross-

Claims, was served upon counsel of record on October 1, 2019 via the Court’s ECF System.

/s/ Kristen F. Mazzeo
Kristen F. Mazzeo, Esq.

DATE: October 1, 2019

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GORDON REES SCULLY MANSUKHANI LLP
BY: William C. Mills, IV, Esquire

Attorney I.D. No. 65796

Kristen F. Mazzeo, Esquire

Attorney LD. No. 320531

 

Three Logan Square
1717 Arch Street, Suite 610 Counsel for Defendant,
Philadelphia, PA 19103 Penta International Corporation

(215) 717-4032
wmills@ersm.com
kmazzeo@grsm.com

 

 

 

TERRY BETHMAN, : COURT OF COMMON PLEAS
: PHILADELPHIA COUNTY
Plaintiff,
Vv. : SEPTEMBER TERM, 2019
BELL FLAVORS AND FRAGRANCES, — : NO. 00703
INC., et al. :
Defendants.

 

PRAECIPE FOR ENTRY OF APPEARANCE
TO THE PROTHONOTARY:

Kindly enter the appearances of William C. Mills, IV and Kristen F. Mazzeo as counsel
on behalf of Defendant, Penta International Corporation, with regard to the above-captioned
matter.

Respectfully,
GORDON REES SCULLY MANSUKHANI LLP

By: /s/ Kristen F. Mazzeo
Kristen F. Mazzeo

Dated: October 2, 2019

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CERTIFICATE OF SERVICE
[hereby certify that on October 2, 2019, a true and correct copy of the within Entry of
Appearance of William C. Mills IV and Kristen F. Mazzeo was served upon counsel of record

via the Court’s Electronic Filing System.

/s/ Kristen F. Mazzeo

1196188/47786952v.1

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MARGOLIS EDELSTEIN

BY: DAWN DEZII, ESQUIRE
Attorney I.D. No.: 54165

BY: JEANINE D. CLARK, ESQUIRE
Attorney I.D. No.: 308966

The Curtis Center, Suite 400E

170 S. Independence Mall West

Philadelphia, PA 19106-3337

Phone: (215) 922-1100

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Attorneys for Defendant:
First Choice Ingredients, Inc.

 

TERRY BETHMAN
Plaintiff,
Vv.

BELL FLAVORS AND FRAGRANCES,

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

CIVIL ACTION

SEPTEMBER TERM, 2019

 

 

INC., et al. NO. 0703
Defendants.
JURY TRIAL DEMANDED
ENTRY OF APPEARANCE
TO THE PROTHONOTARY:

Kindly enter our appearance on behalf of Defendant, First Choice Ingredients, Inc., in the

above-captioned matter.

Dated: October 2, 2019

MARGOLIS EDELSTEIN

/s/ Dawn Dezii

DAWN DEZIL, ESQUIRE
JEANINE D. CLARK, ESQUIRE
Attorneys for Defendant,

First Choice Ingredients, Inc.

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CERTIFICATE OF SERVICE

I, Dawn Dezii, Esquire, do hereby certify that a true and correct copy of the foregoing Entry
of Appearance on Behalf of Defendant, First Choice Ingredients, Inc., was filed this date with the
First Judicial District of Philadelphia Court of Common Pleas Civil Trial Division and served upon
Plaintiff's counsel listed below and all counsel/parties via Civil E-Filing pursuant to PA.R.C.P.
205.4(g)(2)(ii) on October 2, 2019.

James J. McEldrew, III, Esquire
Daniel Purtell, Esquire

Lauren Fantini, Esquire
McELDREW YOUNG

123 South Broad Street, Suite 2250
Philadelphia, PA 19109

Email: jim@mceldrewyoung.com
Email: dpurtell@mceldrewyoung.com
Email: lfantini@meceldrewyoung.com

Counsel for Plaintiff

MARGOLIS EDELSTEIN

BY: //Dawn Dezii
DAWN DEZII, ESQUIRE
JEANINE D. CLARK, ESQUIRE
Attorneys for Defendant,
First Choice Ingredients, Inc.

Dated: October 2, 2019

Case ID: 190900703
Case 2:19-cv-04735-GEKP

Pillinger Miller Tarallo, LLP

By: Emest J. Bernabei, IIT

Attorney ID No: 46359

1880 John F. Kennedy Boulevard
Suite 1803

Philadelphia, PA 19103

(215) 789-6235

(215) 789-6236 Fax

Email: ebernabei@pmtlawfirm.com

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Attorneys for Plaintiff
TERRY BETHMAN, : COURT OF COMMON PLEAS
: PHILADELPHIA COUNTY
Plaintiff,
Vv. SEPTEMBER TERM, 2019

KRAFT HEINZ INGREDIENTS

CORP., et al :
Defendant(s) : NO: 0703

To the Prothonotary:

Ernest J. Bernabei, III, Esquire hereby enters his appearance as counsel for Defendant,

Kraft Heinz Ingredients Corp., in the above matter.

Dated: October 2, 2019

 

PILLINGER MILLER TARALLO, LLP

BY: /s/ Ernest J. Bernabei, Hil
ERNEST J. BERNABET, II
Attorneys for Defendant,
Kraft Heinz Ingredients Corp.

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STRADLEY, RONON, STEVENS & YOUNG, LLP Pile
By: Corey S. D. Norcross (PA LD. No. 316909) Offic
2005 Market Street, Suite 2600 04
Philadelphia, PA 19103
Phone: 215. 564.8000 Attorneys for Defendants
Fax: 215.564.8120 McCormick and Company, Inc.
Terry Bethman,

Plaintiff, : COURT OF COMMON PLEAS

: PHILADELPHIA COUNTY
V.
SEPTEMBER TERM, 2019

BELL FLAVORS AND :
FRAGRANCES, INC., et al., : NO. 00703

Defendants.

ENTRY OF APPEARANCE

TO THE PROTHONTARY:

Kindly enter the appearance of Corey S. D. Norcross on behalf of Defendant, McCormick

and Company, Inc., in the above-referenced matter.

Respectfully submitted,

/s/ Corey §. D. Norcross
Corey S. D. Norcross (PA I.D. No. 316909)
STRADLEY RONON STEVENS & YOUNG, LLP
2005 Market Street, Suite 2600
Philadelphia, PA 19103
Phone: 215.564.8000
Fax: 215.564.8120
Dated: October 4, 2019

Case ID: 190900703
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CERTIFICATE OF SERVICE
I, Corey S. D. Norcross, hereby certify that a true and correct copy of the foregoing Entry
of Appearance was filed this date via the First Judicial District of Philadelphia Court of Common
Pleas Civil Trial Division’s E-Filing System and thereby served on all counsel of record pursuant

to Rule 205.4(g) of the Pennsylvania Rules of Civil Procedure and Local Rule *205.4(f)(7):

James J. McEldrew, II, Esquire Kristen F. Mazzeo
McEldrew Young William C. Mills IV
123 South Broad Street Gordon Rees
Suite 2250 One Commerce Square

2005 Market Street, Suite 2900
Philadelphia, PA 19103
Attorneys for Defendant,

Penta International Corporation

Philadelphia, PA 19109
Attorney for Plaintiff Terry Bethman

Andrew P. Fishkin, Esquire

Jeanine D. Clark

Steven M. Lucks, Esquire Dawn Dexii
David P. Lodge, Esquire Margolis Edelstein
Fishkin Lucks LLP The Curtis Center, Ste. 400E
One Riverfront Plaza, Suite 410 170 S. Independent Mall West
Newark, NJ 07102 Philadelphia, PA 19103

Attorneys for Defendant,
First Choice Ingredients, Inc.

Attorneys for Defendant, Univar USA, Inc

Ernest J. Bernabei III
Pillinger Miller Tarallo
1880 John F. Kennedy Boulevard
Suite 1803
Philadelphia, PA 19103
Attorneys for Defendant,
Kraft Heinz Ingredients Corp.

I further certify that a true and correct copy of the foregoing Entry of Appearance was

mailed, via first class mail, upon the following:

Roha U.S.A., L.L.C. Sensient Colors LLC

c\o Spenserv, Inc. c\o CT Corporation System

1 N. Brentwood Blvd., Suite 1000 301 S. Bedord Street, Suite 1
St. Louis, MO 63105 Madison, WI 53703

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Sensient Technologies Corporation
c\o CT Corporation
2001 Market Street, 5 Floor
Philadelphia, PA 19103

Citrus & Allied Essences, LTD
65 S. Tyson Avenue
Floral Park, NY 11001

Olaughlin Industries
150 Morris Avenue, Suite 207
Springfield, NJ 07081

Emoral, Inc.
F\K\A Polarome International, Inc.
200 Theodore Conrad Drive
Jersey City, NJ 07305

Flavor Consultants, Inc.
2875 Coleman Street
North Las Vegas, NV 89032

Givaudan Flavors Corporation
CT Corporation System
4400 Easton Commons Way, Suite 125
Columbus, OH 43219

Kerry, Inc.
c\o CT Corporation
116 Pine Street, Suite 320
Harrisburg, PA 17101

Berje, Inc.
c\o Kim Bleimann
700 Blair Road
Carteret, NJ 07008

Elan Chemical Co., Inc.
c\o Jocelyn Manship
268 Doremus Avenue
Newark, NJ 07105

Phoenix Aromas and Essential Oils Holdings,
Inc.
17 Algonquin Circle
Airmont, NY 10952-5231

Bell Flavors and Fragrances, Inc.
500 Academy Drive
Northbrook, IL 60062

Thermo Fisher Scientific, Inc.
1601 Cherry Street
Philadelphia, PA 19102

International Flavors and Fragrances, Inc.
2595 Interstate Drive, Suite 103
Harrisburg, PA 17110

Centrome, Inc.
10 Taft Road
Totowa, NJ 07512

/s/ Corey S. D. Norcross
Corey S. D. Norcross

Casgobee: 190900703
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Maria C. Carlucci, Esq.

KELLEY JASONS MCGOWAN
SPINELLI & HANNA, L.L.P.
Attorney Identification No,: 93751
120 Wall Street, 30" Floor

New York, New York 10005
(212) 344-7400
mearlucci@kjmsh.com

  

Attorneys for Defendant,
Citrus & Allied Essences, Ltd.

 

 

 

TERRY BETHMAN, COURT OF COMMON PLEAS
PHILADELPHIA COUNTY
Plaintiff,
SEPTEMBER TERM 2019
v,
NO. 00703
BELL FLAVORS AND FRAGRANCES,
INC,, et al,
Defendants.
ENTRY OF APPEARANCE

Kindly enter the appearance of Maria C. Carlucci, Esq, on behalf of Defendant,

Citrus & Allied Essences, Ltd., in the above-captioned matter.

Dated: October 7, 2019

KELLEY JASONS MCGOWAN
SPINELLI HANNA & REBER, LLP

By: _/s/ Maria C, Carlucci
Maria. C. Carlucci, Esq.

Case ID: 190900703

 
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CERTIFICATION OF COMPLIANCE
I, Maria C,. Carlucci, certify that this filing complies with the provisions of the Public
Access Policy of the Unified Judicial System of Pennsylvania: Case Records of the Appellate and
Trial Courts that require filing confidential information and documents differently than non-

confidential information and documents.

KELLEY JASONS McGOWAN
SPINELLI HANNA & REBER, LLP

{si Maria C, Carlucci

Maria C. Carlucci

LD. No,: 93751

Attorney for Defendant

Citrus & Allied Essences, Ltd.

Dated: October 7, 2019

Case ID: 190900703

 
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CERTIFICATE OF SERVICE

I, Maria C. Carlucci, do hereby certify that a true and correct copy of the
foregoing Entry of Appearance of Maria C. Carlucci, Esq. on behalf of Defendant, Citrus
& Allied Essences, Ltd., was filed via the First Judicial District of Philadelphia Court of
Common Pleas Civil Trial Division’s E-Filing System and thereby deemed served on all
counsel of record pursuant to rule 205.4(g) of the Pennsylvania Rules of Civil Procedure.

Maria, C. Carlucci, Esq.
Date: October 7, 2019

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TERRY BETHMAN,
Plaintiff,
v.

BELL FLAVORS AND FRAGRANCES,
INC., et al.,

Defendants.

 
 
 
 

COURT OF COMMGN
PHILADELPHIA COUN

SEPTEMBER TERM 2019

NO. 00703

 

 

STIPULATION FOR EXTENSION OF TIME

It is hereby stipulated by and between the undersigned counsel that defendant,

Citrus & Allied Essences, Ltd., shall have an extension of time up to and including

November 1, 2019 to answer Plaintiff's Complaint.

Dated: October 4, 2019

/s/ Lauren C. Fantini

Lauren C. Fantini, Esq.

McEldrew Young

123 South Broad Street

Suite 2250

Philadelphia, PA 19109

Telephone: (215) 545-8800

Fax: (215) 545-8805

Email: Ifantini@mceldrewyoung.com
Attorneys for Plaintiff

/s/ Maria C._Carlucci

Maria C. Carlucci, Esq.
Kelley Jasons McGowan Spinelli Hanna &
Reber, LLP

120 Wall Street, 30 Floor
New York, NY 10005
Telephone: (212) 344-7400
Fax: (212) 344-7402

Email: mcarlucci@kjmsh.com
Attorneys for Defendant,
Citrus & Allied Essences, Ltd.

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CERTIFICATE OF SERVICE

I, Maria C. Carlucci, do hereby certify that a true and correct copy of the
foregoing Stipulation For Extension to Answer was filed via the First Judicial District of
Philadelphia Court of Common Pleas Civil Trial Division’s E-Filing System and thereby
deemed served on all counsel of record pursuant to rule 205.4(g) of the Pennsylvania
Rules of Civil Procedure.

/s/ Maria C. Carlucci

Maria. C. Carlucci, Esq.
Date: October 7, 2019

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RAWLE & HENDERSON, tip
By: John J. Snyder, Esquire

Evan S. Eisner, Esquire
Attorney ID. Nos.: 22751 and 39554
The Widener Building, 16" Floor
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Philadelphia, PA 19107
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E-mail: jsnyder@rawle.com

 

 

eeisner@rawle.com
TERRY BETHMAN, : COURT OF COMMON PLEAS
Plaintiff, : PHILADELPHIA COUNTY
VS. SEPTEMBER TERM, 2019

BELL FLAVORS AND FRAGRANCES,

INC., et al.,, :
Defendants. : NO,: 00703

 

ENTRY OF APPEARANCE
Kindly enter the appearances of JOHN J. SNYDER, ESQUIRE, and EVAN S. EISNER,
ESQUIRE, as counsel on behalf of Defendant, International Flavor and Fragrances, Inc. in the
above-captioned matter.
JURY DEMAND
A jury trial of 12 jurors is hereby demanded in the above-captioned action,

RAWLE & HENDERSON, tip

Date: October 8, 2019 By: /s/ Johw J. Snyder
John J. Snyder, Esquire

Date: October 8, 2019 By: /s/ EvawS. Euyner
Evan S. Eisner, Esquire

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing Entries of
Appearance and Jury Demand was served upon the below listed counsel via the Court’s e-filing
system:
Plaintiff's Counsel

James J. McEldrew, III, Esquire
Daniel Purtell, Esquire

Lauren Fantini, Esquire
McEldrew Young

123 S. Broad Street, Suite 2250
Philadelphia, PA 19109

Counsel for Defendant: Univar USA, Inc,

Steven M. Lucks, Esquire
David P. Lodge, Esquire
Fishkin, Lucks LLP

The Legal Center

1 Riverfront Plaza, Suite 410
Newark, NJ 07102

Counsel for Defendant: Penta International Corporation

Kristen F. Mazzeo, Esquire
William C. Mills, 'V, Esquire
Gordon & Rees LLP

Three Logan Square

1717 Arch Street, Suite 610
Philadelphia, PA 19103

Counsel for Defendant: First Choice Ingredients, Inc.

Dawn Dezii, Esquire

Jeanine D. Clark, Esquire
Margolis Edelstein

Curtis Center, Suite 400

170 S. Independence Mall West
Philadelphia, PA 19106

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Counsel for Defendant: Kraft Heinz Ingredients Corporation

Ernest J, Barnabei, III, Esquire
1880 John F. Kennedy Blvd., Suite 1803
Philadelphia, PA 19103

Counsel for Defendant: McCormick and Company, Inc.
Corey S. D. Norcross, Esquire

Stradley Ronon

2005 Market Street, Suite 2600

Philadelphia, PA 19103

Counsel for Defendant: Citrus & Allied Essences, Ltd.
Maria C. Carlucci, Esquire

160 West 71% Street, Apt. 18M

New York, NY 10023

RAWLE & HENDERSON, tip

Date: October 8, 2019 By: /s/ Johw TJ. Snyder
John J, Snyder, Esquire

Counsel for Defendant: International Flavor
and Fragrances, Ine.

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RAWLE & HENDERSON, Lip
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WEINBERG, WHEELER, HUDGINS,
GUNN & DIAL, LLC
By: Shawn D. Scott, Esquire
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nbigman@wwhgd.com

 

 

TERRY BETHMAN,
Plaintiff,
vs.
BELL FLAVORS AND FRAGRANCES,

INC.,, et al.,,
Defendants.

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY
SEPTEMBER TERM, 2019
JURY TRIAL DEMANDED

NO.: 00703

 

INTERNATIONAL FLAVORS & FRAGRANCES INC.’S
ANSWER TO PLAINTIFF’S COMPLAINT WITH NEW MATTER

International Flavors & Fragrances Inc. (hereinafter referred to as “IFF”), by and through

its above-referenced counsel, hereby asserts its Answer to Plaintiff's Complaint as follows:

1, IFF is without information or knowledge sufficient to form a belief as to the truth

of the allegations contained within Paragraph 1 of Plaintiff's Complaint and they are therefore

denied.

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2. IEF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 2 of Plaintiff's Complaint and they are therefore
denied.

3. IEF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 3 of Plaintiff's Complaint and they are therefore
denied.

4, IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 4 of Plaintiff's Complaint and they are therefore
denied.

5. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 5 of Plaintiff's Complaint and they are therefore
denied.

6. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 6 of Plaintiff's Complaint and they are therefore
denied.

7, IFF admits that it is a New York Corporation with its principal place of business
in New York. IFF denies the remaining allegations contained in Paragraph 7 of Plaintiffs
Complaint. IFF further denies the allegations as conclusions of law.

8. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 8 of Plaintiff's Complaint and they are therefore

denied,

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9. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 9 of Plaintiff's Complaint and they are therefore
denied.

10. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 10 of Plaintiffs Complaint and they are therefore
denied.

11.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 11 of Plaintiff's Complaint and they are therefore
denied.

12.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 12 of Plaintiff's Complaint and they are therefore
denied.

13. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 13 of Plaintiffs Complaint and they are therefore
denied.

14. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 14 of Plaintiff's Complaint and they are therefore
denied.

15.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 15 of Plaintiff's Complaint and they are therefore

denied.

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16.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 16 of Plaintiff's Complaint and they are therefore
denied.

17. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 17 of Plaintiffs Complaint and they are therefore
denied.

18.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 18 of Plaintiff's Complaint and they are therefore
denied.

19, IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 19 of Plaintiff's Complaint and they are therefore
denied.

20.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 20 of Plaintiffs Complaint and they are therefore
denied.

21. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 21 of Plaintiff's Complaint and they are therefore
denied.

22. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 22 of Plaintiffs Complaint and they are therefore

denied.

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23.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 23 of Plaintiffs Complaint and they are therefore
denied.

24,  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 24 of Plaintiff's Complaint and they are therefore
denied.

25.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 25 of Plaintiff's Complaint and they are therefore
denied.

26. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 26 of Plaintiff's Complaint and they are therefore
denied.

27. IEF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 27 of Plaintiffs Complaint and they are therefore
denied.

28.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 28 of Plaintiff's Complaint and they are therefore
denied.

29. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 29 of Plaintiffs Complaint and they are therefore

denied.

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30.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 30 of Plaintiff's Complaint and they are therefore
denied.

31.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 31 of Plaintiff's Complaint and they are therefore
denied.

FACTS COMMON TO ALL COUNTS

32. IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 32 of Plaintiff's Complaint and they are therefore
denied.

33,  IFF denies the allegations contained in Paragraph 33 of Plaintiff's Complaint as
they pertain to it.

34,  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 34 of Plaintiff's Complaint and they are therefore
denied.

35,  JEF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 35 of Plaintiff's Complaint and they are therefore
denied.

36,  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 36 of Plaintiffs Complaint and they are therefore

denied,

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37. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 37 of Plaintiff's Complaint and they are therefore
denied.

38.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 38 of Plaintiff's Complaint and they are therefore
denied.

39.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 39 of Plaintiff's Complaint and they are therefore
denied.

40. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 40 of Plaintiff's Complaint and they are therefore
denied.

4].  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 41 of Plaintiff's Complaint and they are therefore
denied.

42.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 42 of Plaintiffs Complaint and they are therefore
denied.

43.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 43 of Plaintiffs Complaint and they are therefore

denied.

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44. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 44 of Plaintiff's Complaint and they are therefore
denied.

45. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 45 of Plaintiff's Complaint and they are therefore
denied.

46.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 46 of Plaintiff's Complaint and they are therefore
denied.

47. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 47 of Plaintiff's Complaint and they are therefore
denied.

48. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 48 of Plaintiff's Complaint and they are therefore
denied.

49. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 49 of Plaintiff’s Complaint and they are therefore
denied.

50.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 50 of Plaintiff's Complaint and they are therefore

denied.

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51.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 51 of Plaintiff's Complaint and they are therefore
denied,

52.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 52 of Plaintiff's Complaint and they are therefore
denied.

FIRST CAUSE OF ACTION

Strict Liability: Manufacturing Defect
Against DIREC PPLIER DEFENDANTS

53. Responding to the allegations of Paragraph 53, wherein Plaintiff incorporates by
reference paragraphs 1 through 52 of the Complaint, IFF responds to said paragraph by
incorporating by reference its responses to the corresponding paragraphs of the Complaint.

54.  IFF specifically denies the allegations contained in Paragraph 54 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

55.  IFF specifically denies the allegations contained in Paragraph 55 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

56.  IFE specifically denies the allegations contained in Paragraph 56 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

57.  IFF specifically denies the allegations contained in Paragraph 57 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

58.  IFF specifically denies the allegations contained in Paragraph 58 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

59,  IFF specifically denies the allegations contained in Paragraph 59 of Plaintiff's

Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

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60.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained in Paragraph 60 of Plaintiff's Complaint and they are therefore
denied. IFF further denies the allegations as conclusions of law.

61.  IFF specifically denies the allegations contained in Paragraph 61 of Plaintiff's
Complaint as they pertain to IFF. IFF explicitly denies that Plaintiff suffered any injury as a
result of exposure to IFF’s Products. By way of further response, IFF explicitly denies that it is
liable to Plaintiff. IFF further denies the allegations as conclusions of law.

IFF specifically denies that Plaintiff is entitled to any relief prayed for in the
“WHEREFORE?” following Paragraph 61 of Plaintiffs Complaint.

WHEREFORE, Answering Defendant IFF respectfully requests this Honorable Court to
enter judgment in its favor and against the Plaintiff together with costs and fees.

SECOND CAUSE OF ACTION

Strict Liability: Design Defect
(Against DIRECT SUPPLIER DEFENDANTS)

62. Responding to the allegations of Paragraph 62, whereby Plaintiff incorporates by
reference paragraphs 1 through 52 of the Complaint, IFF responds to said paragraph by
incorporating by reference its responses to the corresponding paragraphs of the Complaint. IFF
also incorporates by reference its responses to paragraphs 53 through 61 of the Complaint.

63.  IFF specifically denies the allegations contained in Paragraph 63 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

64.  IFF specifically denies the allegations contained in Paragraph 64 and all subparts
of Paragraph 64 of Plaintiff's Complaint as they pertain to it. IFF further denies the allegations

as conclusions of law.

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65.  IFF specifically denies the allegations contained in Paragraph 65 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

66.  IFF specifically denies the allegations contained in Paragraph 66 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

67.  IFF specifically denies the allegations contained in Paragraph 67 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

68.  IFF specifically denies the allegations contained in Paragraph 68 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

69,  IFF specifically denies the allegations contained in Paragraph 69 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

70.  IFF specifically denies the allegations contained in Paragraph 70 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

71.  IFF specifically denies the allegations contained in Paragraph 71 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

72.  IFF is without information of knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 72 of Plaintiff's Complaint and they are therefore
denied. IFF further denies the allegations as conclusions of law.

73.  IFF specifically denies the allegations contained in Paragraph 73 of Plaintiff's
Complaint as they pertain to it. IFF explicitly denies that Plaintiff suffered any injury as a result
of exposure to IFF’s products. By way of further response, IFF explicitly denies that it is liable
to Plaintiff. IFF further denies the allegations as conclusions of law.

IFF specifically denies that Plaintiff is entitled to any relief prayed for in the

“WHEREFORE?” following Paragraph 73 of Plaintiff's Complaint.

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WHEREFORE, Answering Defendant IFF respectfully requests this Honorable Court to

enter judgment in its favor and against the Plaintiff together with costs and fees.

THIRD CAUSE OF ACTION

Strict Liability: Failure to Warn
(Against DIRECT SUPPLIER DEFENDANTS)

74. Responding to the allegations of Paragraph 74, whereby Plaintiff incorporates by
reference paragraphs 1 through 52 of the Complaint, IFF responds to said paragraph by
incorporating by reference its responses to the corresponding paragraphs of the Complaint. IFF
also incorporates by reference its responses to paragraphs 53 through 73 of the Complaint.

75.  IFF specifically denies the allegations contained in Paragraph 75 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

76.  IFF specifically denies the allegations contained in Paragraph 76 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

77.  IFF specifically denies the allegations contained in Paragraph 77 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

78.  IFF specifically denies the allegations contained in Paragraph 78 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

79,  IFF specifically denies the allegations contained in Paragraph 79 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

80.  IFF specifically denies the allegations contained in Paragraph 80 of Plaintiff's

Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

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81,  IFF specifically denies the allegations contained in Paragraph 81 of Plaintiff’ s
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

82.  IFF specifically denies the allegations contained in Paragraph 82 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

83.  IFF specifically denies the allegations contained in Paragraph 83 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

84.  IFF specifically denies the allegations contained in Paragraph 84 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

85.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 85 of Plaintiff's Complaint and they are therefore
denied. IFF further denies the allegations as conclusions of law.

86.  IFF specifically denies the allegations contained in Paragraph 86 of Plaintiff's
Complaint as they pertain to it. IFF explicitly denies that Plaintiff suffered any injury as a result
of exposure to IFF’s products. By way of further response, IFF explicitly denies that it is liable to
Plaintiff. IFF further denies the allegations as conclusions of law.

IFF specifically denies that Plaintiff is entitled to any relief prayed for in the
“WHEREFORE?” following Paragraph 86 of Plaintiff's Complaint.

WHEREFORE, Answering Defendant IFF respectfully requests this Honorable Court to
enter judgment in its favor and against the Plaintiff together with costs and fees.

FOURTH CAUSE OF ACTION

Negligence
(Against DIRECT SUPPLIER DEFENDANTS)

87. Responding to the allegations of Paragraph 87, whereby Plaintiff incorporates by

reference paragraphs 1 through 52 of the Complaint, IFF responds to said paragraph by

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incorporating by reference its responses to the corresponding paragraphs of the Complaint. IFF
also incorporates by reference its responses to paragraphs 53 through 86 of the Complaint.

88,  IFF specifically denies the allegations contained in Paragraph 88 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

89.  IFF specifically denies the allegations contained in Paragraph 89 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

90.  IFF specifically denies the allegations contained in Paragraph 90, and in all
subparts of Paragraph 90 of Plaintiff's Complaint as they pertain to it. IFF further denies the
allegations as conclusions of law.

91.  IFF specifically denies the allegations contained in Paragraph 91 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

92.  IFF specifically denies the allegations contained in Paragraph 92 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

93,  IFF specifically denies the allegations contained in Paragraph 93 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

94,  IFF specifically denies the allegations contained in Paragraph 94 of Plaintiff's
Complaint as they pertain to it. IFF explicitly denies that Plaintiff suffered any injury as a result
of exposure to IFF’s products. By way of further response, IFF explicitly denies that it is liable to
Plaintiff. IFF further denies the allegations as conclusions of law.

IFF specifically denies that Plaintiff is entitled to any relief prayed for in the
“WHEREFORE?” following Paragraph 94 of Plaintiff's Complaint.

WHEREFORE, Answering Defendant IFF respectfully requests this Honorable Court to

enter judgment in its favor and against the Plaintiff together with costs and fees.

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FIFTH CAUSE OF ACTION

Strict Liability: Manufacturing Defect
(Against INDIRECT SUPPLIER DEFENDANTS)

95. Responding to the allegations of Paragraph 95, whereby Plaintiff incorporates by
reference paragraphs 1 through 52 of the Complaint, IFF responds to said paragraph by
incorporating by reference its responses to the corresponding paragraphs of the Complaint. IFF
also incorporates by reference its responses to paragraphs 53 through 94 of the Complaint.

96.  IFF specifically denies the allegations contained in Paragraph 96 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

97. IFF specifically denies the allegations contained in Paragraph 97 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

98,  IFF specifically denies the allegations contained in Paragraph 98 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

99.  IFF specifically denies the allegations contained in Paragraph 99 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

100. IFF specifically denies the allegations contained in Paragraph 100 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

101. IEF specifically denies the allegations contained in Paragraph 101 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

102.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 102 of Plaintiff's Complaint and they are therefore
denied. IFF further denies the allegations as conclusions of law.

103.  IFF specifically denies the allegations contained in Paragraph 103 of Plaintiff's

Complaint as they pertain to it. IFF explicitly denies that Plaintiff suffered any injury as a result

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of exposure to IFF’s products. By way of further response, IFF explicitly denies it is liable to
Plaintiff. IFF further denies the allegations as conclusions of law.
IFF specifically denies that Plaintiff is entitled to any relief prayed for in the
“WHEREFORE?” following Paragraph 103 of Plaintiffs Complaint.
WHEREFORE, Answering Defendant IFF respectfully requests this Honorable Court to
enter judgment in its favor and against the Plaintiff together with costs and fees.
SIXTH CAUSE OF ACTION

Strict Liability: Design Defect
(Against INDIRECT SUPPLIER DEFENDANTS)

104. Responding to the allegations of Paragraph 104, whereby Plaintiff incorporates by
reference paragraphs 1 through 52 of the Complaint, IFF responds to said paragraph by
incorporating by reference its responses to the corresponding paragraphs of the Complaint. IFF
also incorporates by reference its responses to paragraphs 53 through 103 of the Complaint.

105. FF specifically denies the allegations contained in Paragraph 105 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

106. FF specifically denies the allegations contained in Paragraph 106 and all subparts
of Paragraph 106 of Plaintiff's Complaint as they pertain to it. IFF further denies the allegations
as conclusions of law.

107. IFF specifically denies the allegations contained in Paragraph 107 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

108. IFF specifically denies the allegations contained in Paragraph 108 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

109. IFF specifically denies the allegations contained in Paragraph 109 of Plaintiffs

Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

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110. IFF specifically denies the allegations contained in Paragraph 110 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

111. IFF specifically denies the allegations contained in Paragraph 111 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

112. IFF specifically denies the allegations contained in Paragraph 112 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

113. IFF specifically denies the allegations contained in Paragraph 113 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

114.  IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 114 of Plaintiffs Complaint and they are therefore
denied. IFF further denies the allegations as conclusions of law.

115. IFF specifically denies the allegations contained in Paragraph 115 of Plaintiff's
Complaint as they pertain to it. IFF explicitly denies that Plaintiff suffered any injury as a result
of exposure to IFF’s products. By way of further response, IFF explicitly denies that it is liable to
Plaintiff, IFF further denies the allegations as conclusions of law.

IFF specifically denies that Plaintiff is entitled to any relief prayed for in the
“WHEREFORE” following Paragraph 115 of Plaintiffs Complaint. IFF further denies the
allegations as conclusions of law.

WHEREFORE, Answering Defendant IFF respectfully requests this Honorable Court to
enter judgment in its favor and against the Plaintiff together with costs and fees.

SEVENTH CAUSE OF ACTION

Strict Liability: Failure to Warn
(Against INDIRECT SUPPLIER DEFENDANTS)

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116. Responding to the allegations of Paragraph 116, whereby Plaintiff incorporates by
reference paragraphs 1 through 52 of the Complaint, IFF responds to said paragraph by
incorporating by reference its responses to the foregoing paragraphs of the Complaint. IFF also
incorporates by reference its responses to paragraphs 53 through 115 of the Complaint.

117. IEF specifically denies the allegations contained in Paragraph 117 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

118. IFF specifically denies the allegations contained in Paragraph 118 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

‘119. IFF specifically denies the allegations contained in Paragraph 119 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

120. IFF specifically denies the allegations contained in Paragraph 120 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

121. IFF specifically denies the allegations contained in Paragraph 121 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

122. IFF specifically denies the allegations contained in Paragraph 122 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

123. IFF specifically denies the allegations contained in Paragraph 123 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

124. IFF specifically denies the allegations contained in Paragraph 124 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

125. IFF specifically denies the allegations contained in Paragraph 125 of Plaintiff's

Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

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126. IFF specifically denies the allegations contained in Paragraph 126 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

127. _ IFF is without information or knowledge sufficient to form a belief as to the truth
of the allegations contained within Paragraph 127 of Plaintiff's Complaint and they are therefore
denied. IFF further denies the allegations as conclusions of law.

128. IFF specifically denies the allegations contained in Paragraph 128 of Plaintiff's
Complaint as they pertain to it. IFF explicitly denies that Plaintiff suffered any injury as a result
of exposure to IFF’s products. By way of further response, IFF explicitly denies that it is liable to
Plaintiff. IFF further denies the allegations as conclusions of law.

IFF specifically denies that Plaintiff is entitled to any relief prayed for in the
“WHEREFORE” following Paragraph 128 of Plaintiff's Complaint. IFF further denies the
allegations as conclusions of law.

WHEREFORE, Answering Defendant IFF respectfully requests this Honorable Court to
enter judgment in its favor and against the Plaintiff together with costs and fees.

EIGHTH CAUSE OF ACTION

Negligence
(Against INDIRECT SUPPLIER DEFENDANTS)

129. Responding to the allegations of Paragraph 129, whereby Plaintiff incorporates by
reference paragraphs 1 through 52 of the Complaint, IFF responds to said paragraph by
incorporating by reference its responses to the foregoing paragraphs of the Complaint. IFF also
incorporates by reference its responses to paragraphs 53 through 128 of the Complaint.

130. IFF specifically denies the allegations contained in Paragraph 130 of Plaintiff's

Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

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131. IFF specifically denies the allegations contained in Paragraph 131 of Plaintiffs
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

132. IEF specifically denies the allegations contained in Paragraph 132 and all subparts
of Paragraph 132 of Plaintiff's Complaint as they pertain to it. IFF further denies the allegations
as conclusions of law.

133. IFF specifically denies the allegations contained in Paragraph 133 of Plaintiff's
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

134. IFF is without information or knowledge sufficient to forma belief as to the truth
of the allegations contained within Paragraph 134 of Plaintiff's Complaint and they are therefore
denied. IFF further denies the allegations as conclusions of law.

135, IFF specifically denies the allegations contained in Paragraph 135 of Plaintiff’ s
Complaint as they pertain to it. IFF further denies the allegations as conclusions of law.

136. IFF specifically denies the allegations contained in Paragraph 136 of Plaintiff's
Complaint as they pertain to it. IFF explicitly denies that Plaintiff suffered any injury as a result
of exposure to IFF’s products. By way of further response, IFF explicitly denies that it is liable to
Plaintiff. IFF further denies the allegations as conclusions of law.

IFF specifically denies that Plaintiff is entitled to any relief prayed for in the
“WHEREFORE” following Paragraph 136 of Plaintiffs Complaint. IFF further denies the
allegations as conclusions of law.

WHEREFORE, having fully answered, IFF prays that Plaintiff's Complaint be dismissed
with prejudice, at Plaintiffs cost, or that judgment be entered in favor of IFF at Plaintiff's cost,
and that the Court order such further relief in favor of IFF as is just and proper under

Pennsylvania law.

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NEW MATTER

1. If Plaintiff has sustained any injuries or incurred any expenses, such were not
proximately caused by IFF, but were caused solely by the acts or omissions of others, whether
individual, corporate, or otherwise, whether named or unnamed in Plaintiff's Complaint, for
whose conduct IFF is not responsible.

2. If Plaintiff has sustained any injuries or expenses, such were the result of
intervening or superseding events, factors, occurrences, or conditions, and were not proximately
caused by IFF.

3. Plaintiff may not recover from IFF because the methods, standards, or techniques
of designing, manufacturing, and labeling of the IFF’s product(s) complied with and were in
conformity with the generally recognized state of the art at the time the product(s) was designed,
manufactured, and labeled, and no practical and technically feasible alternative design,
manufacturing practice, or labeling was available at the time that would reduce the alleged risk
of harm without compromising the usefulness of the product(s).

4, Plaintiff's claims are barred, in whole or in part, by the applicable statutes of
limitations and/or repose.

5. Plaintiff's claims are barred, in whole or in part, by the doctrines of laches,
waiver, unclean hands, estoppel and/or ratification.

6. The damages allegedly sustained by Plaintiff were caused or contributed to by the
acts, omissions, or fault of Plaintiff, including contributory negligence, contributory fault,
comparative fault, assumption of the risk, misuse or abuse of any products manufactured by IFF,

failure to mitigate damages, or any other “fault”: and that such acts, omissions, or fault bar

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recovery by Plaintiff or, in the alternative, diminish Plaintiff's right to recover in an amount

based upon the relative degree of fault of Plaintiff.

7. Plaintiffs claims are preempted, in whole or in part, by federal laws and/or
regulations.
8. Plaintiff's claims are barred as Plaintiff had knowledge of facts from which

Plaintiff either knew, or should have known, the risk involved, and thereafter Plaintiff voluntarily
and unreasonably chose to accept said risk, and further engaged in highly reckless conduct.

9. IFF denies any and all culpability and liability, but if IFF is ultimately found to be
liable, then the liability of IFF, if any, to Plaintiff for non-economic loss is limited to its equitable
share, determined in accordance with the relative culpability of all persons or entities
contributing to the total liability for non-economic loss, including named parties and others over
whom Plaintiff could have obtained personal jurisdiction with due diligence.

10. In the event of a determination that this action, or some part thereof, is governed
by the substantive law of a state other than Pennsylvania, IFF reserves its right to assert other or
related defenses available under such state's common law, product liability acts, and/or consumer
protection statutes.

11. Any exposure by Plaintiff to IFF’s products is so minimal as to not be a proximate
or legal cause of Plaintiff's claimed injuries.

12. Plaintiff's damages, if any, are eliminated or reduced by Plaintiff's failure to
mitigate damages.

13. The Complaint fails to state a claim against IFF upon which relief can be granted.

14. Plaintiffs claims are barred because of their failure to join necessary and

indispensable parties.

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15. This Court may not exercise personal jurisdiction over IFF.

16. This Court does not have subject-matter jurisdiction over this case.

17. Venue is improper in this Court.

18.  IFF adopts and incorporates by reference all affirmative defenses asserted by or
on behalf of all Co-Defendants.

19.  IFF reserves the right to assert additional affirmative defenses that may become
known through the course of discovery.

20. Plaintiff's claims are barred, in whole or in part, by the Learned-Intermediary
Doctrine.

21. Plaintiffs claims are barred, in whole or in part, by the Bulk-Supplier Doctrine.

22. Plaintiffs claims are barred, in whole or in part, by the Sophisticated-Purchaser
Doctrine.

23. Plaintiffs claims are barred, in whole or in part, by the Component Parts
Doctrine.

24, Plaintiffs claims are barred by the state of the art doctrine.

25. Plaintiffs claims are barred by the doctrines of accord and satisfaction and
release.

26. The application of delay damages to all or any portion of Plaintiff's claims against
Answering Defendant is violative of the United States and Pennsylvania Constitutions, including
Pa. Const. Art. V. §10(c) and U.S. Article XIV.

27. At no time did Answering Defendant have any duty to control, direct, and/or

supervise Plaintiff, Plaintiffs co-workers, or employers.

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28. During the applicable time period, Answering Defendant had no duty to Plaintiff
or Plaintiff's employer as Answering Defendant did not retain or exercise sufficient control over
Plaintiff.

29, A failure of Plaintiff's employer to warn and/or safeguard Plaintiff from any
possible health hazards associated with materials which may have contained diacetyl and acetyl
propiony! was an intervening and/or superseding cause of Plaintiffs alleged injuries.

30. Plaintiff's claims are barred, in whole or in part, by the Pennsylvania Fair Share
Act.

31. The design of the subject product of Answering Defendant satisfied all standards,
specifications, and regulations as required by any and all federal, state, and local governmental
agency and law.

32. If itis determined that Answering Defendant’s products were present in Plaintiff's
workplace, then it is averred that Plaintiff was not in proximity to the use of such products or
exposed to such products with sufficient frequency and regularity for such products to be a cause
of Plaintiff's claimed injuries or damages.

33. To the extent Plaintiff was exposed to a product of Answering Defendant, such
exposure was de minimus and not a substantial factor in causation of Plaintiff's injuries or
damages.

34. Plaintiff's claims are barred, in whole or in part, by the Pennsylvania Workers’
Compensation Act.

35. Plaintiffs claims are barred, in whole or in part, by the Pennsylvania

Occupational Disease Act.

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36. | Answering Defendant adopts each and every New Matter of every other

Defendant herein to the extent any such New Matter is consistent with those set forth in this

Defendant’s New Matter.

37. Answering Defendant reserves the right to amend its New Matter to include

additional defenses after completion of discovery.

WHEREFORE, Defendant International Flavors & Fragrances Inc. hereby demands

judgment in its favor and against Plaintiff, together with costs, interest, and such other relief the

Court deems just and proper.

This 8" day of October, 2019

Date: October 8, 2019 By:
Date: October 8, 2019 By:
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RAWLE & HENDERSON, tip

/si John J. Srwder
John J. Snyder, Esquire

Isl Evaw §. Eiuner
Evan S. Eisner, Esquire

WEINBERG, WHEELER, HUDGINS,
GUNN & DIAL, LLC

/si ShawwD. Scott
Shawn D. Scott, Esq. (pro hac vice to be filed)
Nicole M. Bigman, Esq. (pro hac vice to be filed)
3344 Peachtree Road, NE, Suite 2400
Atlanta, GA 30326
P: 404.876.2700
Email: sscott@wwhgd.com

nbigman@wwhed.com

Counsel for Defendant: International Flavors
& Fragrances Inc.

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CERTIFICATE OF SERVICE
] do hereby certify that a true and correct copy of the foregoing INTERNATIONAL
FLAVORS & FRAGRANCES INC.’S ANSWER TO PLAINTIFF’S COMPLAINT WITH
NEW MATTER was served upon counsel of record on October 8, 2019 via the Court’s ECF
System:
Plaintiff's Counsel

James J. McEldrew, II], Esquire
Daniel Purtell, Esquire

Lauren Fantini, Esquire
McEldrew Young

123 S. Broad Street, Suite 2250
Philadelphia, PA 19109

Counsel for Defendant: Univar USA, Inc,

Steven M. Lucks, Esquire
David P. Lodge, Esquire
Fishkin, Lucks LLP

The Legal Center

1 Riverfront Plaza, Suite 410
Newark, NJ 07102

Counsel for Defendant: Penta International Corporation

Kristen F. Mazzeo, Esquire
William C. Mills, 1V, Esquire
Gordon & Rees LLP

Three Logan Square

1717 Arch Street, Suite 610
Philadelphia, PA 19103

Counsel for Defendant: First Choice Ingredients, Inc.

Dawn Dezii, Esquire

Jeanine D. Clark, Esquire
Margolis Edelstein

Curtis Center, Suite 400

170 S, Independence Mall West
Philadelphia, PA 19106

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Counsel for Defendant: Kraft Heinz Ingredients Corporation

Ernest J. Barnabei, HI, Esquire
1880 John F. Kennedy Blvd., Suite 1803
Philadelphia, PA 19103

Counsel for Defendant: McCormick and Company, Inc.

Corey S. D. Norcross, Esquire
Stradley Ronon

2005 Market Street, Suite 2600
Philadelphia, PA 19103

Counsel for Defendant: Citrus & Allied Essences, Ltd.
Maria C. Carlucci, Esquire

160 West 71" Street, Apt. 18M

New York, NY 10023

RAWLE & HENDERSON, tip

Date: October 8, 2019 By: /s/ Jomw J. Snyder
John J. Snyder, Esquire

Counsel for Defendant: International Flavor
and Fragrances, Inc.

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ATTORNEY VERIFICATION
I, John J. Snyder, attorney for International Flavors & Fragrances Inc., hereby states that
the facts contained in the foregoing INTERNATIONAL FLAVORS & FRAGRANCES INC.’S
ANSWER TO PLAINTIFF’S COMPLAINT WITH NEW MATTER are true and correct to the
best of my knowledge, information, and belief.

RAWLE & HENDERSON, tip

Date: October 8, 2019

 

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EXHIBIT C
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TERRY BETHMAN )
Plaintiff,
Vv. 5 Case No.
BELL FLAVORS AND FRAGRANCES, 5
INC., et al. )
Defendants. 5

DECLARATION OF JASON H. NASH IN SUPPORT OF
DEFENDANTS’ JOINT NOTICE OF REMOVAL

I, Jason H. Nash, declare:

1. I am an attorney licensed to practice in the State of Illinois. I am a partner at
Hinkhouse Williams Walsh LLP, attorneys for Thermo Fisher Scientific Inc. (“Thermo Fisher
Scientific’’) in this action.

2. I make this declaration based on my personal knowledge in support of Defendants’
Joint Notice of Removal of the case styled Terry Bethman vy. Bell Flavors and Fragrances, Inc., et
al., in the Court of Common Pleas of Philadelphia County, State of Pennsylvania, under Case I.D.
No. 190900703 (the “State Court Action”) to this Court.

3. Plaintiff's Complaint with Notice to Defend in the State Court Action was filed on
September 6, 2019. See Exhibit A to Defendants’ Joint Notice of Removal.

4, Plaintiffs Complaint with Notice to Defend in the State Court Action was served
on Thermo Fisher Scientific at its office in Philadelphia, Pennsylvania on September !1, 2019.

5. Thermo Fisher Scientific is, and at the time of the filing of the State Court Action
was, a corporation organized and existing under the laws of the State of Delaware, with its principal

place of business in Waltham, Massachusetts.
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6. I have reviewed reports of verdicts and settlements in cases in this judicial district
and in actions claiming injuries of the nature alleged by Plaintiff. Based on that review and on my
experience in litigation of lawsuits involving Plaintiff’s claimed injury of bronchiolitis obliterans,
it is reasonable to believe that if Plaintiff succeeds in proving all of the allegations in this action,
she would recover in excess of $75,000, exclusive of interest and costs.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Date: October fo. 2019 AL.

JASON B/NASH
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EXHIBIT D
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TERRY BETHMAN )
Plaintiff,
v. Case No.
BELL FLAVORS AND FRAGRANCES,
INC., et al. )
Defendants. 5

DECLARATION OF ERNEST J. BERNABETL IJ IN SUPPORT OF
DEFENDANTS’ JOINT NOTICE OF REMOVAL

I, Emest J. Bernabei, Ill, declare:

1. I am an attorney licensed to practice in the State of Pennsylvania. I am a partner
at Pillinger Miller Tarallo, LLP, attorneys for Kraft Heinz Ingredients Corp. (“Kraft Heinz
Ingredients”) in this action.

2. I make this declaration based on my personal knowledge in support of
Defendants’ Joint Notice of Removal of the case styled Terry Bethman v. Bell Flavors and
Fragrances, Inc., et al., in the Court of Common Pleas of Philadelphia County, State of
Pennsylvania, under Case I.D. No. 190900703 (the “State Court Action”) to this Court.

3. Plaintiff's Complaint with Notice to Defend in the State Court Action was filed
on September 6, 2019, See Exhibit A to Defendants’ Joint Notice of Removal.

4. Kraft Heinz Ingredients filed its appearance in the State Court Action on October
2, 2019,

5. Kraft Heinz Ingredients is, and at the time of the filing of the State Court Action
was, a corporation organized and existing under the laws of the State of Delaware, with its

principal place of business in Glenview, Illinois.
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I declare under penalty of perjury under the laws of the United States of America that the

forgoing is true and correct.

Date: October 7 , 2019 LEE

ERNEST J. BERNABEL It
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Note:

This Designation Form must be signed before
submission to the Clerk’s Office or a case
number will not be assigned.
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Note:

This Designation Form must be signed before
submission to the Clerk’s Office or a case
number will not be assigned.
